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                                  UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NEW JERSEY
                                          TRENTON DIVISION

   In re:                                          §    Case No. 13-16743-MBK
                                                   §
   Birdsall Services Group, Inc.                   §
                                                   §
                                                   §
                       Debtor(s)                   §

            CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
            CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                       AND APPLICATION TO BE DISCHARGED (TDR)

           Edwin H. Stier, chapter 7 trustee, submits this Final Account, Certification that the
   Estate has been Fully Administered and Application to be Discharged.

        1)       All funds on hand have been distributed in accordance with the Trustee’s Final
 Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
 administered and all assets and funds which have come under the trustee’s control in this case
 have been properly accounted for as provided by law. The trustee hereby requests to be
 discharged from further duties as a trustee.

        2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
 claims discharged without payment, and expenses of administration is provided below:



  Assets Abandoned:             $3,429,055.39          Assets Exempt:        NA
  (without deducting any secured claims)



  Total Distributions to                               Claims Discharged
  Claimants:                       $5,413,702.01       Without Payment:      NA

  Total Expenses of
  Administration:                  $6,615,186.10


        3)      Total gross receipts of $12,947,508.75 (see Exhibit 1), minus funds paid to the
 debtor(s) and third parties of $918,620.64 (see Exhibit 2), yielded net receipts of $12,028,888.11
 from the liquidation of the property of the estate, which was distributed as follows:




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                                    CLAIMS           CLAIMS             CLAIMS               CLAIMS
                                  SCHEDULED         ASSERTED           ALLOWED                PAID
   Secured Claims
   (from Exhibit 3)                      $0.00        $821,412.35               $0.00                $0.00
   Priority Claims:
       Chapter 7
       Admin. Fees and                     NA        $4,317,681.34      $4,366,859.61       $4,366,859.61
       Charges
        (from Exhibit 4)
       Prior Chapter
       Admin. Fees and                     NA        $2,438,957.09      $2,248,326.49       $2,248,326.49
       Charges (from
       Exhibit 5)
       Priority
       Unsecured                         $0.00       $4,045,765.95      $2,857,482.57       $2,857,482.57
       Claims
       (From Exhibit 6)
   General Unsecured
   Claims (from                          $0.00      $75,909,573.59      $7,306,100.98       $2,556,219.44
   Exhibit 7)
            Total
      Disbursements                      $0.00      $87,665,836.64    $16,778,769.65       $12,028,888.11

        4). This case was originally filed under chapter 11 on 03/29/2013. The case was
   converted to one under Chapter 7 on 08/14/2013. The case was pending for 97 months.

        5). All estate bank statements, deposit slips, and canceled checks have been submitted to
   the United States Trustee.

         6). An individual estate property record and report showing the final accounting of the
   assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
   each estate bank account, showing the final accounting of the receipts and disbursements of
   estate funds is attached as Exhibit 9.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
   foregoing report is true and correct.

          Dated: 12/03/2021                               By: /s/ Edwin H. Stier
                                                          /Ed Trustee
                                                          win
                                                          H.
                                                          Stie
                                                          r

   STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
   Act exemption 5 C.F.R. § 1320.4(a)(2) applies.



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                                                   EXHIBITS TO
                                                  FINAL ACCOUNT

  EXHIBIT 1 – GROSS RECEIPTS

                         DESCRIPTION                                     UNIFORM                          AMOUNT
                                                                        TRAN. CODE                       RECEIVED
 Metropolitan Life Insurance Dividends - U                                 1123-000                         $1,320.00
 BSG Advances/Deposits (U)                                                 1124-000                                $0.00
 100047 Demand Deposit-Medical Claims                                      1129-000                        $20,209.72
 160005 CSV - Life Ins Policy                                              1129-000                     $3,051,385.26
 170060 Investment - Jungle Lasers, LLC                                    1129-000                            $39.57
 170080 Investment- MetLife Shares                                         1129-000                        $78,378.44
 Bad Debt Recoveries (U)                                                   1221-000                       $334,763.81
 BSG Dividends - (U)                                                       1223-000                            $36.32
 Remnant Assets                                                            1229-000                         $5,000.00
 Directors & Officers Litigation Settlement - U                            1249-000                     $4,237,500.00
 T&M Settlement proceeds                                                   1249-000                     $1,520,000.00
 Interest earned                                                           1270-000                         $2,072.47
 Commissions received                                                      1280-000                         $2,039.57
 100001 Operating Account - BSG 9116                                       1290-000                     $1,564,472.08
 100002 Operating Account - BEI - #5656                                    1290-000                         $6,665.79
 100006 Operating Account - PMK #1767                                      1290-000                           $166.00
 100007 Petty Cash Chkg - Eatown #0178                                     1290-000                         $1,305.74
 100017 Petty Cash - Voorhees-4713                                         1290-000                           $643.52
 100022 Flex Spending Account #3070                                        1290-000                        $20,901.91
 100024 BSG - CMX Acquisition (NJ)-1958                                    1290-000                         $5,050.04
 100045 Short Term Invest-Premium-6664                                     1290-000                       $200,195.12
 100046 RFH Bank - CD                                                      1290-000                       $121,695.49
 100055 BOA Operating Acct - LGA-8216                                      1290-000                        $36,674.51
 100070 State of New Jersey Escrow#7261                                    1290-000                     $1,000,000.00
 BSG Contribution Receivable (U)                                           1290-000                            $86.00
 BSG Insurance Plan Change - refund (u)                                    1290-000                        $43,220.40
 BSG PNC - Operating Account (U)                                           1290-000                       $241,166.43
 BSG PNC Petty Cash Checking-White Plans (U)                               1290-000                           $491.00
 Due from Insured                                                          1290-000                         $6,394.52
 Metropolitan Life Insurance Interest - U                                  1290-000                                $2.46
 Refunds from vendors relating to pre-petition checks written              1290-000                        $16,831.28
 Various insurance Refunds (U)                                             1290-000                        $95,827.37
 Voided pre-petition checks added back                                     1290-000                        $31,487.83
 Investors Savings Bank - Money Market account                             1290-010                       $301,486.10
 TOTAL GROSS RECEIPTS                                                                                  $12,947,508.75

  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

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  EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                  PAYEE                               DESCRIPTION                       UNIFOR               AMOUNT
                                                                                           M                    PAID
                                                                                         TRAN.
                                                                                         CODE
 JP Morgan Chase                         Funds to Third Parties                         8500-000              $5,500.00
 Unknown                                 Funds to Third Parties                         8500-000               ($30.75)
 JP Morgan Chase                         Funds to Third Parties                         8500-002             $27,477.56
 Maser Consulting P.A.                   Funds to Third Parties                         8500-002             $28,307.82
 Partner Engineering And Science, Inc. Funds to Third Parties                           8500-002             $96,392.01
 Partner Engineering and Science,        Funds to Third Parties                         8500-002            $760,974.00
 Incorp.
 TOTAL FUNDS PAID TO                                                                                        $918,620.64
 DEBTOR AND THIRD PARTIES


  EXHIBIT 3 – SECURED CLAIMS
  NONE
   CLAIM      CLAIMANT     UNIFORM                       CLAIMS                 CLAIMS   CLAIMS              CLAIMS
  NUMBER                  TRAN. CODE                  SCHEDULED               ASSERTED ALLOWED                 PAID
    3BSG       Hunter Roberts        4110-000                     $0.00       $286,350.00          $0.00         $0.00
               Construction
               Group LLC
      31       Monmouth Beach        4110-000                     $0.00         $33,444.35         $0.00         $0.00
               Bath and Tennis
               Club
      63       Mack-Cali             4110-000                     $0.00       $172,500.00          $0.00         $0.00
               Building V
               Associates, LLC
      75       Hunter Roberts        4110-000                     $0.00       $286,350.00          $0.00         $0.00
               Construction
               Group LLC
      91       Quaker                4110-000                     $0.00         $21,384.00         $0.00         $0.00
               Commercial
               Properties-One
               LP
      92       Quaker                4110-000                     $0.00         $21,384.00         $0.00         $0.00
               Commercial
               Properties-One
               LP
 TOTAL SECURED CLAIMS                                             $0.00       $821,412.35          $0.00         $0.00


  EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

        PAYEE               UNIFORM               CLAIMS               CLAIMS            CLAIMS              CLAIMS
                           TRAN. CODE          SCHEDULED             ASSERTED          ALLOWED                 PAID
 Edwin H Stier,               2100-000                    NA         $411,614.48       $411,614.48         $411,614.48
 Trustee
 International Sureties       2300-000                    NA              $3,229.58      $3,229.58           $3,229.58
 Ltd
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 International Sureties,      2300-000           NA         $36.80        $36.80        $36.80
 Ltd
 international Sureties,      2300-000           NA      $15,435.24    $15,435.24    $15,435.24
 LTD.
 International Surities       2300-000           NA       $1,225.00     $1,225.00     $1,225.00
 Ltd
 InfoStore                    2410-000           NA       $9,445.85    $44,538.12    $44,538.12
 Public Storage               2410-000           NA       $9,928.52     $9,928.52     $9,928.52
 Partner Assessment           2500-000           NA      $12,141.00    $12,141.00    $12,141.00
 Corporation
 Signature Bank               2600-000           NA     $153,598.34   $153,598.34   $153,598.34
 ADP, Inc.                    2690-000           NA      $30,817.64    $30,817.64    $30,817.64
 United States Treasury       2810-000           NA        $738.00       $738.00       $738.00
 ADP, Inc.                    2820-000           NA         $94.60        $94.60        $94.60
 City of Philadelphia         2820-000           NA       $2,417.00     $2,417.00     $2,417.00
 NJ CBT                       2820-000           NA       $1,000.00     $1,000.00     $1,000.00
 NYC Dept. of Finance         2820-000           NA        $809.00       $809.00       $809.00
 NYS Department of            2820-000           NA           $0.00       $25.00        $25.00
 Taxation
 NYS Dept. of Finance         2820-000           NA       $1,242.00     $1,242.00     $1,242.00
 PA Department of             2820-000           NA        $427.00       $427.00       $427.00
 Revenue
 State of New Jersey          2820-000           NA        $375.00       $375.00       $375.00
 State of New Jersey          2820-000           NA       $2,867.90    $24,471.40    $24,471.40
 State of New Jersey -        2820-000           NA       $2,699.22     $2,699.22     $2,699.22
 CBT
 State of Vermont             2820-000           NA         $50.00        $50.00        $50.00
 US Trustee                   2950-000           NA       $6,500.00     $6,500.00     $6,500.00
 US Trustee Payment           2950-000           NA       $6,500.00      $325.00       $325.00
 Center
 ADP Inc                      2990-000           NA        $573.15       $573.15       $573.15
 ADP, Inc.                    2990-000           NA      $25,205.33    $25,205.33    $25,205.33
 Bank of America              2990-000           NA       $2,020.34     $2,020.34     $2,020.34
 Bill Barron                  2990-000           NA        $600.00       $600.00       $600.00
 BMC Group                    2990-000           NA       $2,616.99     $2,616.99     $2,616.99
 Information
 Management
 Cigna-CHLIC                  2990-000           NA        $857.22       $857.22       $857.22
 Investors Savings            2990-000           NA         $35.00        $35.00        $35.00
 Bank
 Koerner & Associates,        2990-000           NA           $0.00      $487.50       $487.50
 LLC
 NJ CAR100                    2990-000           NA        $175.00       $175.00       $175.00
 NJ Division of               2990-000           NA        $225.00       $225.00       $225.00
 Taxation
 NYS Dept. of Finance         2990-000           NA        $100.00       $100.00       $100.00

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 Public Storage               2990-000           NA         $25.00        $25.00        $25.00
 Signature Bank               2990-000           NA           $0.50         $0.50         $0.50
 State of New Jersey          2990-000           NA        $100.50       $100.50       $100.50
 State of New Jersey -        2990-000           NA        $277.50       $277.50       $277.50
 CBT
 Titan Mobile                 2990-000           NA        $380.00       $380.00       $380.00
 Shredding, LLC
 Toppan Vite New              2990-000           NA       $5,849.71     $5,849.71     $5,849.71
 York
 Treasurer, State of          2990-000           NA        $200.00       $200.00       $200.00
 New Jersey
 TSG Reporting, Inc.          2990-000           NA        $947.45       $947.45       $947.45
 Unknown                      2990-000           NA         ($8.85)       ($8.85)       ($8.85)
 USI Mid Atlantic, Inc.       2990-000           NA       $2,037.50     $2,037.50     $2,037.50
 Wasserman, Jurista &         3110-000           NA           $0.00         $0.00         $0.00
 Stolz, PC, Attorney
 for Trustee
 Brown, Moskowitz &           3210-000           NA     $133,692.81   $133,692.81   $133,692.81
 Kallen, Attorney for
 Trustee
 Gibbons P.C.,                3210-000           NA      $46,522.30    $46,522.30    $46,522.30
 Attorney for Trustee
 Glenn Bergenfield,           3210-000           NA      $24,000.00    $24,000.00    $24,000.00
 P.C., Attorney for
 Trustee
 Law Offices of               3210-000           NA      $36,873.38    $36,873.38    $36,873.38
 Mitchell J. Malzberg
 LLC, Attorney for
 Trustee
 Mitnick & Malzberg           3210-000           NA       $7,642.86     $7,642.86     $7,642.86
 PC fees, Attorney for
 Trustee
 Mitnick & Malzberg,          3210-000           NA      $30,961.00    $30,961.00    $30,961.00
 PC, Attorney for
 Trustee
 Nagel Rice, Attorney         3210-000           NA      $86,705.21    $86,705.21    $86,705.21
 for Trustee
 Pepper Hamilton,             3210-000           NA     $905,390.14   $905,390.14   $905,390.14
 LLP, Attorney for
 Trustee
 Walder, Hayden &             3210-000           NA      $17,960.12    $17,960.12    $17,960.12
 Brogan, PA, Attorney
 for Trustee
 WASSERMAN                    3210-000           NA     $696,010.99   $696,010.99   $696,010.99
 JURISTA & STOLZ,
 Attorney for Trustee
 Wasserman, Jurista &         3210-000           NA     $175,000.00   $175,000.00   $175,000.00
 Stolz, PC, Attorney
 for Trustee
 Mercadien, PC CPA's,         3310-000           NA           $0.00         $0.00         $0.00

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 Accountant for
 Trustee
 Mercadien,                   3410-000           NA    $1,341,519.45   $1,341,519.45   $1,341,519.45
 Accountant for
 Trustee
 MERCADIEN PC                 3410-000           NA      $68,513.40      $68,513.40      $68,513.40
 CPAS, Accountant for
 Trustee
 Mercadien, P.C.,             3410-000           NA           $0.00           $0.00           $0.00
 CPAs, Accountant for
 Trustee
 Mercadien, PC CPAs,          3410-000           NA          $69.02          $69.02          $69.02
 Accountant for
 Trustee
 Anthony Sodono, III,         3721-000           NA       $1,791.65       $1,791.65       $1,791.65
 Arbitrator/Mediator
 for Trustee
 JAMS,                        3721-000           NA       $9,600.00       $9,600.00       $9,600.00
 Arbitrator/Mediator
 for Trustee
 JAMS, Inc.,                  3721-000           NA      $10,762.50      $10,762.50      $10,762.50
 Arbitrator/Mediator
 for Trustee
 Peter Broege,                3721-000           NA       $3,710.00       $1,855.00       $1,855.00
 Arbitrator/Mediator
 for Trustee
 ElevenX LLC,                 3731-000           NA       $4,125.00       $4,125.00       $4,125.00
 Consultant for Trustee
 Novins, York, &              3991-000           NA       $1,422.00       $1,422.00       $1,422.00
 Jacobus, Other
 Professional
 TOTAL CHAPTER 7 ADMIN. FEES AND                 NA    $4,317,681.34   $4,366,859.61   $4,366,859.61
 CHARGES


  EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

          PAYEE                UNIFORM           CLAIMS   CLAIMS            CLAIMS           CLAIMS
                              TRAN. CODE      SCHEDULED ASSERTED          ALLOWED              PAID
 Edwin H. Stier,                  6101-000            NA $349,837.00     $349,837.00     $349,837.00
 Trustee
 Brown, Moskowitz &               6210-000            NA $245,333.08     $245,333.08     $245,333.08
 Kallen, Attorney for
 Trustee/D-I-P
 Gibbons P.C.,                    6210-000            NA $273,696.48     $225,696.48     $225,696.48
 Attorney for
 Trustee/D-I-P
 Walder, Hayden &                 6210-000            NA $196,421.28     $196,421.28     $196,421.28
 Brogan, PA, Attorney
 for Trustee/D-I-P
 Wasserman, Jurista &             6210-000            NA $356,830.90     $356,830.90     $356,830.90

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 Stolz, PC, Attorney for
 Trustee/D-I-P
 Wilentz Goldman &                6210-000            NA $128,871.32     $60,000.00    $60,000.00
 Spitzer, Attorney for
 Trustee/D-I-P
 Mercadien,                       6410-000            NA $390,028.15    $390,028.15   $390,028.15
 Accountant for
 Trustee/D-I-P
 Mercadien, PC CPA's,             6410-000            NA    $4,658.00     $4,658.00     $4,658.00
 Accountant for
 Trustee/D-I-P
 England Securities,              6700-000            NA $252,318.74    $152,318.74   $152,318.74
 LLC, Other
 Professional
 Schiller & Pittenger,            6700-000            NA    $5,378.40     $5,378.40     $5,378.40
 Other Professional
 Teich Groh, Other                6700-000            NA   $24,400.00    $24,400.00    $24,400.00
 Professional
 Thacher Associates,              6700-000            NA    $7,271.09     $7,271.09     $7,271.09
 LLC, Other
 Professional
 Winning Strategies,              6700-000            NA    $6,730.48     $6,730.48     $6,730.48
 Other Professional
 Land Resource                    6910-000            NA       $0.00      $5,055.75     $5,055.75
 Consultants Inc.,
 Trade debt ( Chapter
 11
 Thomas C Merritts                6910-000            NA       $0.00      $1,070.00     $1,070.00
 Land Surveyors, Trade
 debt ( Chapter 11
 611 Industrial Way               6920-000            NA    $9,879.21     $9,879.21     $9,879.21
 LLC, Admin. Rent
 (post-petition storage
 InfoStore, Admin.                6920-000            NA   $23,559.92    $23,559.92    $23,559.92
 Rent (post-petition
 storage
 International Dev.               6920-000            NA    $2,462.00     $2,462.00     $2,462.00
 Corp., Admin. Rent
 (post-petition storage
 Mamaroneck Avenue                6920-000            NA       $0.00      $8,361.75         $0.00
 LLC
 Quaker Commercial                6920-000            NA   $74,991.02    $74,991.02    $74,991.02
 Properties-One, LP,
 Admin. Rent (post-
 petition storage
 Clerk, US Bankruptcy             6920-001            NA       $0.00          $0.00     $8,361.75
 Court (Claim
 No.2000BSG;

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 Mamaroneck Avenue
 LLC)
 ADP, Inc., Other                 6950-000            NA    $9,527.84    $9,527.84     $9,527.84
 Operating
 American Express,                6950-000            NA   $13,016.37   $13,016.37    $13,016.37
 Other Operating
 Andrew Raichle,                  6950-000            NA    $1,602.37    $1,602.37     $1,602.37
 Other Operating
 Angelica Augustyniak,            6950-000            NA     $231.04      $231.04       $231.04
 Other Operating
 Anthony Larosa, Other            6950-000            NA    $1,331.11    $1,331.11     $1,331.11
 Operating
 Arlene McFeely,                  6950-000            NA     $162.15      $162.15       $162.15
 Other Operating
 Arthur J. Sorian, Other          6950-000            NA     $283.83      $283.83       $283.83
 Operating
 Bei Jiang, Other                 6950-000            NA      $92.89       $92.89        $92.89
 Operating
 Charles J. Holloway,             6950-000            NA    $1,374.82    $1,374.82     $1,374.82
 Other Operating
 Christopher Wetzel,              6950-000            NA     $150.28      $150.28       $150.28
 Other Operating
 Colleen Gagliano,                6950-000            NA     $334.97      $334.97       $334.97
 Other Operating
 Court Registry                   6950-000            NA     $856.50      $856.50         $0.00
 Daniel Gagliardo,                6950-000            NA    $1,013.76    $1,013.76     $1,013.76
 Other Operating
 David Testa, Other               6950-000            NA    $1,056.07    $1,056.07     $1,056.07
 Operating
 David Wilber, Other              6950-000            NA     $522.05      $522.05       $522.05
 Operating
 Dawn Funk, Other                 6950-000            NA     $210.87      $210.87       $210.87
 Operating
 Debby M. De Jong,                6950-000            NA    $1,027.31    $1,027.31     $1,027.31
 Other Operating
 Denise Manson, Other             6950-000            NA     $169.26      $169.26       $169.26
 Operating
 Douglas Miller, Other            6950-000            NA    $1,050.70    $1,050.70     $1,050.70
 Operating
 Francis Miskovich,               6950-000            NA     $200.88      $200.88       $200.88
 Other Operating
 Frank Barlowski, Jr.,            6950-000            NA      $44.77       $44.77        $44.77
 Other Operating
 Frederick Fastiggi               6950-000            NA    $1,126.09    $1,126.09     $1,126.09
 (payroll), Other
 Operating

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 Gary Fellers, Other              6950-000            NA    $605.46     $605.46       $605.46
 Operating
 Gary Wogisch, Other              6950-000            NA    $526.03     $526.03       $526.03
 Operating
 Hanif A. Johnson,                6950-000            NA    $318.27     $318.27       $318.27
 Other Operating
 James O'Neill, Other             6950-000            NA     $75.50      $75.50        $75.50
 Operating
 Jigesh R. Shah, Other            6950-000            NA    $709.56     $709.56       $709.56
 Operating
 John Dandeo, Other               6950-000            NA    $312.72     $312.72       $312.72
 Operating
 John W. Kendall,                 6950-000            NA    $130.98     $130.98       $130.98
 Other Operating
 Jose Rober Pinzon,               6950-000            NA    $140.66     $140.66       $140.66
 Other Operating
 Kenneth Sisk, Other              6950-000            NA    $689.26     $689.26       $689.26
 Operating
 Kimberly Wertswa,                6950-000            NA     $28.42      $28.42        $28.42
 Other Operating
 Laszlo Matsay, Other             6950-000            NA    $596.76     $596.76       $596.76
 Operating
 Laurie Colatrella,               6950-000            NA      $6.61       $6.61         $6.61
 Other Operating
 Margaret DeRosa,                 6950-000            NA    $515.96     $515.96       $515.96
 Other Operating
 Mark L. Reber, Other             6950-000            NA     $13.22      $13.22        $13.22
 Operating
 Mary Dender, Other               6950-000            NA     $55.37      $55.37        $55.37
 Operating
 Michael Soltys, Other            6950-000            NA    $141.53     $141.53       $141.53
 Operating
 Mohammed Sidhoum,                6950-000            NA    $490.13     $490.13       $490.13
 Other Operating
 Monmouth Telecom,                6950-000            NA   $2,258.16   $2,258.16     $2,258.16
 Other Operating
 National                         6950-000            NA   $8,446.49   $8,446.49     $8,446.49
 Reprographics, Inc.,
 Other Operating
 Olga Kouka, Other                6950-000            NA      $8.07       $8.07         $8.07
 Operating
 Patrick Guilmette,               6950-000            NA   $1,050.84   $1,050.84     $1,050.84
 Other Operating
 Patrick Lorimer, Other           6950-000            NA   $1,532.21   $1,532.21     $1,532.21
 Operating
 Paul Nolan, Other                6950-000            NA   $1,451.26   $1,451.26     $1,451.26

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 Operating
 Pedro Faria (payroll),           6950-000            NA     $560.16      $560.16       $560.16
 Other Operating
 Qdabra Software,                 6950-000            NA     $637.50      $637.50       $637.50
 Other Operating
 Ralph Rocco, Other               6950-000            NA     $356.68      $356.68       $356.68
 Operating
 Rochelle A. Trembly,             6950-000            NA     $435.90      $435.90       $435.90
 Other Operating
 Samuel Krawet, Other             6950-000            NA      $20.19       $20.19        $20.19
 Operating
 Sanyogita Chavan,                6950-000            NA     $318.27      $318.27       $318.27
 Other Operating
 Sunita Dhar, Other               6950-000            NA     $721.13      $721.13       $721.13
 Operating
 Thomas Brys, Other               6950-000            NA    $1,281.43    $1,281.43     $1,281.43
 Operating
 Tiffany Medley, Other            6950-000            NA     $636.03      $636.03       $636.03
 Operating
 Timothy J. Rioux,                6950-000            NA    $1,594.30    $1,594.30     $1,594.30
 Other Operating
 Timothy Rioux, Other             6950-000            NA    $2,655.00    $2,655.00     $2,655.00
 Operating
 United Parcel Service            6950-000            NA     $960.19      $960.19         $0.00
 Wickam W. Dobson,                6950-000            NA     $199.12      $199.12       $199.12
 Other Operating
 Clerk, US Bankruptcy             6950-001            NA       $0.00        $0.00       $960.19
 Court (Claim No.53a;
 United Parcel Service)
 Clerk, US Bankruptcy             6950-001            NA       $0.00        $0.00       $856.50
 Court (Court Registry)
 Aetna, Inc.                      6990-000            NA   $13,081.94    $4,503.62        $0.00
 Brewer Associates,               6990-000            NA     $234.92      $234.92       $234.92
 Other Prior Chapter
 Administrative
 COMCAST, Other                   6990-000            NA     $170.75      $170.75       $170.75
 Prior Chapter
 Administrative
 Granite                          6990-000            NA    $1,136.08    $1,136.08     $1,136.08
 Telecommunications,
 Other Prior Chapter
 Administrative
 Hampton-Clarke/Veri              6990-000            NA    $2,096.00    $2,096.00     $2,096.00
 tech, Other Prior
 Chapter
 Administrative
 Lexington Insurance              6990-000            NA       $0.00    $20,331.54    $20,331.54
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 Company., Other Prior
 Chapter
 Administrative
 Maco Office Source,              6990-000             NA         $37.43          $37.43           $37.43
 Other Prior Chapter
 Administrative
 Winning Strategies,              6990-000             NA       $2,884.49       $2,884.49       $2,884.49
 Other Prior Chapter
 Administrative
 Clerk, US Bankruptcy             6990-001             NA           $0.00          $0.00        $4,503.62
 Court (Claim No.169;
 Aetna, Inc.)
 Napco Copy, Other                6990-002             NA        $783.11         $783.11          $783.11
 Prior Chapter
 Administrative
 TOTAL PRIOR CHAPTER ADMIN. FEES                      NA $2,438,957.09 $2,248,326.49 $2,248,326.49
 AND CHARGES


  EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

   CLAIM         CLAIMANT             UNIFORM        CLAIMS        CLAIMS         CLAIMS         CLAIMS
  NUMBER                             TRAN. CODE   SCHEDULED      ASSERTED       ALLOWED            PAID
    1BSG       Department of the       5800-000         $0.00      $72,562.27         $0.00          $0.00
               Treasury -
               Internal Revenue
               Serv
   1bBSG       INTERNAL                5800-000         $0.00           $0.00         $0.00          $0.00
               REVENUE
               SERVICE
    8BSG       Department of the       5800-000         $0.00      $80,776.24    $80,776.24     $80,776.24
               Treasury -
               Internal Revenue
               Serv
      71       Margaret DeRosa         5300-000         $0.00       $9,832.80      $506.11        $506.11
      85       Timothy Rioux           5300-000         $0.00      $77,733.10     $5,393.75      $5,393.75
     107       STATE OF NEW            5800-000         $0.00     $138,329.68   $138,329.68    $138,329.68
               JERSEY
     129       Charles J.              5300-000         $0.00       $3,399.42      $685.70        $685.70
               Holloway
     131       Douglas Miller          5300-000         $0.00       $4,580.25     $1,811.25      $1,811.25
     137       Colleen M.              5300-000         $0.00       $2,776.92         $0.00          $0.00
               Gagliano
     138       New York State          5800-000         $0.00      $55,778.64         $0.00          $0.00
               of Dept.
     145       Andrew W.               5300-000         $0.00     $901,930.30     $6,829.33      $6,829.33
               Raichle
     158       Patrick Lorimer         5300-000         $0.00      $90,513.75     $3,584.13      $3,584.13
     161       CITY OF                 5800-000         $0.00       $4,698.71     $4,698.71      $4,698.71
               PHILADELPHIA

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               , LAW
               DEPARTMENT
               TAX UNIT
    1002       Chris Sawitsky        5300-000          $0.00         $0.00         $0.00          $0.00
    1003       Christopher           5300-000          $0.00         $0.00         $0.00          $0.00
               Wetzel
    1004       David Applegate       5300-000          $0.00         $0.00         $0.00          $0.00
    1005       David Eareckson       5300-000          $0.00         $0.00         $0.00          $0.00
    1006       Eileen Kuhfahl        5300-000          $0.00         $0.00         $0.00          $0.00
    1007       James Priolo          5300-000          $0.00         $0.00         $0.00          $0.00
    1008       Paul Calabrese        5300-000          $0.00         $0.00         $0.00          $0.00
    1009       Richard Maloney       5300-000          $0.00         $0.00         $0.00          $0.00
    1010       Scott MacFadden       5300-000          $0.00         $0.00         $0.00          $0.00
    1011       Sean Savage           5300-000          $0.00         $0.00         $0.00          $0.00
    1012       Steve Kamin -         5600-000          $0.00         $0.00     $2,850.00      $2,850.00
               deposit
    1329       Pedro Faria           5300-000          $0.00         $0.00        $31.25          $2.60
    1330       Daniel Gagliardo      5300-000          $0.00         $0.00     $1,968.89      $1,968.89
    1332       Ralph Rocco           5300-000          $0.00         $0.00        $22.00         $22.00
  2004BSG      Thomas Brys           5300-000          $0.00         $0.00     $1,478.36      $1,478.36
  2005BSG      Debby DeJong          5300-000          $0.00         $0.00      $327.34         $327.34
  2007BSG      Sunita Dhar           5300-000          $0.00         $0.00        $38.15         $38.15
  2008BSG      Wickam Dobson         5300-000          $0.00         $0.00      $380.12         $380.12
  2009BSG      Gary Fellers          5300-000          $0.00         $0.00      $636.81         $636.81
  2010BSG      Patrick Guilmette     5300-000          $0.00         $0.00      $107.15         $107.15
  2012BSG      Patrick Hughes        5300-000          $0.00         $0.00        $21.00         $21.00
  2013BSG      John Kendall          5300-000          $0.00         $0.00     $1,066.62      $1,066.62
  2015BSG      Laszlo Matsay         5300-000          $0.00         $0.00      $216.72         $216.72
  2016BSG      Tiffany Medley        5300-000          $0.00         $0.00      $401.50         $401.50
  2017BSG      Frank Miskovich       5300-000          $0.00         $0.00        $12.02         $12.02
  2020BSG      Michael Sinnema       5300-000          $0.00         $0.00     $1,131.75      $1,131.75
  2021BSG      David Testa           5300-000          $0.00         $0.00      $254.26         $254.26
  2022BSG      Gary Wogisch          5300-000          $0.00         $0.00      $331.88         $331.88
  2023BSG      John Woolley          5300-000          $0.00         $0.00      $401.44          $75.20
  2025BSG      Nolan, Paul           5300-000          $0.00         $0.00      $336.54         $336.54
               Clerk, United         5300-001          $0.00         $0.00         $0.00        $326.24
               States Bankruptcy
               Court
               Clerk, United         5300-001          $0.00         $0.00         $0.00         $28.65
               States Bankruptcy
               Court
               Division of           5800-000          $0.00   $100,000.00   $100,000.00    $100,000.00
               Criminal Justice
               Division of           5800-000          $0.00 $1,500,000.00 $1,500,000.00   $1,500,000.00
               Criminal Justice
               Division of           5800-000          $0.00   $999,720.00   $999,720.00    $999,720.00

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               Criminal Justice
               STATE OF NEW          5800-000          $0.00         $759.31      $759.31         $759.31
               JERSEY
               STATE OF NEW          5800-000          $0.00          $66.72       $66.72          $66.72
               JERSEY
               United States         5800-000          $0.00          $23.00       $23.00          $23.00
               Treasury
               United States         5800-000          $0.00         $293.26      $293.26         $293.26
               Treasury
               United States         5800-000          $0.00         $144.84      $144.84         $144.84
               Treasury
               United States         5800-000          $0.00       $1,846.74     $1,846.74      $1,846.74
               Treasury
 TOTAL PRIORITY UNSECURED CLAIMS                       $0.00 $4,045,765.95 $2,857,482.57     $2,857,482.57


  EXHIBIT 7 – GENERAL UNSECURED CLAIMS

   CLAIM         CLAIMANT           UNIFORM        CLAIMS         CLAIMS         CLAIMS          CLAIMS
  NUMBER                           TRAN. CODE   SCHEDULED       ASSERTED       ALLOWED             PAID
   1aBSG       Department of the     7100-000         $0.00       $5,205.83          $0.00          $0.00
               Treasury -
               Internal Revenue
               Serv
      1        Marlin Leasing        7100-000         $0.00     $153,732.88    $153,732.88     $53,794.69
               Corporation
    2BSG       CHIRU                 7100-000         $0.00      $17,629.80          $0.00          $0.00
               Consulting, LLC
      2        Robert M. Gerard      7100-000         $0.00    $1,313,183.58         $0.00          $0.00
      3        Ralph J.              7100-000         $0.00     $339,885.00    $339,885.00    $118,933.63
               D'Apuzzo
      4        Joseph A.             7100-000         $0.00     $390,285.19    $390,285.19    $136,569.82
               Henderson, Jr.
    4BSG       Joseph A. Maria,      7100-000         $0.00     $111,844.34          $0.00          $0.00
               Receiver
      5        Joseph J. Keller      7100-000         $0.00     $376,937.46          $0.00          $0.00
      5        Joseph J. Keller      7100-000         $0.00     $124,389.46    $124,389.46     $43,526.75
    5BSG       Oaks                  7100-000         $0.00     $100,000.00          $0.00          $0.00
               Development
               Corp.
      6        Integrated            7100-000         $0.00      $53,901.94     $14,333.90      $5,015.76
               Geotechnical
               Solutions, Inc.
    6BSG       New York State        7100-000         $0.00         $800.00          $0.00          $0.00
               Dept. of
      7        Paul P. Panzarino     7100-000         $0.00    $1,115,233.13   $368,027.13    $128,781.21
      8        Suarex & Suarez       7100-000         $0.00      $64,215.04     $64,215.04     $22,470.33
    9BSG       New York State        7100-000         $0.00       $1,000.00      $1,000.00          $0.00
               Dept. of


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      9        Systems Design       7100-000         $0.00     $41,470.00     $41,470.00     $14,511.31
               & Analysis, Inc.
      10       Gabel Associates,    7100-000         $0.00    $148,964.37     $75,000.00     $26,244.24
               Inc.
      11       Jersey Central       7100-000         $0.00     $11,673.35          $0.00          $0.00
               Power & Light
      12       James Johnston,      7100-000         $0.00   $2,115,739.65         $0.00          $0.00
               P.E.
      13       Building             7100-000         $0.00      $3,300.00      $3,300.00      $1,154.75
               Evaluations, Inc.
      14       Remediation          7100-000         $0.00     $49,560.00     $49,560.00     $17,342.19
               Specialists, Inc.
      15       General Borings,     7100-000         $0.00     $73,210.50     $73,210.50     $25,618.05
               Inc.
      16       Richard Denny        7100-000         $0.00    $116,956.43          $0.00          $0.00
      16       Richard Denny        7100-000         $0.00    $106,748.97    $106,748.97     $37,353.94
      17       Sea Girt Center,     7100-000         $0.00    $237,035.76    $187,035.76     $65,448.15
               LLC
      18       Sonnenfeld &         7100-000         $0.00     $57,267.50          $0.00          $0.00
               Trocchia
               Architects, P.A.
      19       Alan P. Hilla, Sr.   7100-000         $0.00   $1,021,171.18         $0.00          $0.00
      20       Alan P. Hilla, Sr.   7100-000         $0.00    $584,641.39          $0.00          $0.00
      21       Soil Borings Inc.    7100-000         $0.00     $34,200.00     $34,200.00     $11,967.37
      22       Jennifer C.          7100-000         $0.00    $107,390.00    $107,390.00     $37,578.25
               Beahm
      23       Monmouth             7100-000         $0.00      $2,258.15      $2,258.15       $790.18
               Telecom
      24       Prime                7100-000         $0.00    $100,778.30    $100,778.30          $0.00
               Environmental,
               Inc.
               Clerk, United        7100-001         $0.00          $0.00          $0.00     $35,264.66
               States Bankruptcy
               Court (Claim No.
               24; Prime
               Environmental,
               Inc.)
      25       Cone Tec, Inc.       7100-000         $0.00      $6,990.00      $6,990.00      $2,445.96
      26       Delaware Valley      7100-000         $0.00      $4,060.00      $4,060.00      $1,420.69
               Data Collection
               LLC
      27       Eric Ballou          7100-000         $0.00     $30,000.00          $0.00          $0.00
      28       Novins, York &       7100-000         $0.00      $4,870.62          $0.00          $0.00
               Jacobus
      29       Siemens Industry,    7100-000         $0.00      $7,451.22      $7,451.22      $2,607.35
               Inc.
      30       Robert McCarthy      7100-000         $0.00     $70,895.07     $70,895.07     $24,807.83
     31a       Monmouth Beach       7100-000         $0.00     $36,472.16          $0.00          $0.00
               Bath and Tennis

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               Club
      32       AVA Consulting,        7100-000         $0.00     $10,875.00     $10,875.00      $3,805.41
               LLC
      33       InterGEO               7100-000         $0.00     $37,500.00     $37,500.00     $13,122.12
               Services
      34       Hampton-               7100-000         $0.00     $15,045.50     $15,045.50      $5,264.77
               Clarke/Veri tech
      35       Hatch Mott             7100-000         $0.00     $26,898.79     $21,775.00      $7,619.58
               MacDonald, LLC
      36       Premier Plus           7100-000         $0.00      $7,878.75      $7,878.75      $2,756.96
      37       Asbury Park            7100-000         $0.00        $832.00          $0.00          $0.00
               Press
      38       Lori Petrillo          7100-000         $0.00     $11,545.83          $0.00          $0.00
      39       County of              7100-000         $0.00 $13,290,000.00          $0.00          $0.00
               Hudson
      40       Keystone               7100-000         $0.00      $2,550.87      $2,550.87       $892.61
               Precision
               Instruments
      41       Qdabra Software        7100-000         $0.00      $6,507.50      $6,507.50      $2,277.12
      42       Ralph R. Johnson       7100-000         $0.00    $525,177.72    $525,177.72    $183,771.84
      43       William Schindler      7100-000         $0.00     $47,653.24     $47,653.24     $16,674.97
      44       Gerald Freda           7100-000         $0.00    $740,263.54    $740,263.54    $259,035.35
      45       John C. Morris,        7100-000         $0.00     $12,475.00          $0.00          $0.00
               Jr.
     45a       John C. Morris,        7100-000         $0.00    $412,530.00    $444,432.00    $155,517.05
               Jr.
      46       Edna Morris            7100-000         $0.00     $12,475.00          $0.00          $0.00
     46a       Edna Morris            7100-000         $0.00    $412,530.00          $0.00          $0.00
      47       Pine                   7100-000         $0.00     $31,394.08          $0.00          $0.00
               Environmental
               Service Inc.
      48       TestAmerica            7100-000         $0.00      $1,185.00      $1,185.00       $414.66
               Laboratories, Inc.
      49       Waste                  7100-000         $0.00        $888.01       $838.30        $293.34
               Management
      50       Potenta                7100-000         $0.00     $30,506.30     $30,506.30     $10,674.86
               Environmental
               Consultants LLC
      51       Gannett Fleming,       7100-000         $0.00      $4,500.00          $0.00          $0.00
               Inc.
      53       United Parcel          7100-000         $0.00        $491.85       $491.85           $0.00
               Service
               Clerk, United          7100-001         $0.00          $0.00          $0.00       $172.11
               States Bankruptcy
               Court (Claim No.
               53; United Parcel
               Service)
      54       611 Industrial         7100-000         $0.00   $4,367,133.52   $260,829.13     $91,270.15
               Way LLC

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      55       Avenir                 7100-000         $0.00      $2,000.00      $2,000.00       $699.85
               Publishing, Inc.
      57       Amicus Energy          7100-000         $0.00      $9,945.00      $9,945.00      $3,479.99
               Solutions
      58       WW Grainger,           7100-000         $0.00      $1,235.12      $1,235.12       $432.20
               Inc.
      59       Keystone               7100-000         $0.00     $69,054.09     $69,054.09     $24,163.62
               Engineering
               Group, Inc.
      60       Matrix Realty,         7100-000         $0.00    $175,000.00          $0.00          $0.00
               Inc.(a/k/a Matrix
               Development
               Group
      61       The Louis Berger       7100-000         $0.00    $109,096.05          $0.00          $0.00
               Group, Inc.
      62       Richard E. Yard        7100-000         $0.00          $0.00          $0.00          $0.00
               Plumbing &
               Heating, Inc.
     63a       Mack-Cali              7100-000         $0.00    $506,905.08    $506,905.08    $177,377.82
               Building V
               Associates, LLC
      64       Yezzi Associates,      7100-000         $0.00   $2,000,000.00         $0.00          $0.00
               LLC
      65       Aqua Pro-Tech          7100-000         $0.00    $147,896.80    $147,896.80     $51,752.51
               Laboratories
      66       Aqua Pro-Tech          7100-000         $0.00     $21,277.50     $21,277.50      $7,445.49
               Laboratories
      67       Thomas K.              7100-000         $0.00   $6,147,200.00         $0.00          $0.00
               Rospos
      68       Mark                   7100-000         $0.00      $3,000.00          $0.00          $0.00
               Worthington
     68a       Mark                   7100-000         $0.00    $106,726.00          $0.00          $0.00
               Worthington
      69       New Jersey             7100-000         $0.00      $4,694.78      $3,577.48      $1,251.84
               Natural Gas
      70       True North             7100-000         $0.00    $140,554.40    $140,554.40     $49,183.24
               Emergency
               Management,
               LLC
      72       CHIRU                  7100-000         $0.00     $17,629.80     $17,629.80      $6,169.08
               Consulting, LLC
      73       ACE American           7100-000         $0.00          $0.00          $0.00          $0.00
               Insurance
               Company
      74       Illinois Union         7100-000         $0.00          $0.00          $0.00          $0.00
               Insurance
               Company
      76       Carrier Clinic         7100-000         $0.00     $40,000.00          $0.00          $0.00
      77       Conner Strong &        7100-000         $0.00      $2,073.83      $2,073.83       $725.68
               Buckelew


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      78       Quaker                7100-000         $0.00      $2,182.12         $0.00          $0.00
               Commercial
               Properties-One
               LP
      79       Daniel Swayze         7100-000         $0.00          $0.00         $0.00          $0.00
      80       Daniel Swayze         7400-000         $0.00      $5,000.00         $0.00          $0.00
      81       County of             7100-000         $0.00 $20,164,446.32   $400,000.00    $139,969.26
               Middlesex
      82       James Giurintano      7400-000         $0.00      $1,200.00         $0.00          $0.00
     82a       James Giurintano      7400-000         $0.00     $27,200.00         $0.00          $0.00
      83       Pearse Mackle         7400-000         $0.00     $32,100.00         $0.00          $0.00
      84       Timothy Kinsella      7400-000         $0.00    $340,000.00         $0.00          $0.00
      86       American              7100-000         $0.00          $0.00    $45,159.75     $15,802.44
               International
               Group, Inc.
      87       Geovation             7100-000         $0.00      $3,000.00         $0.00          $0.00
               Engineering, PC
      88       Joseph A. Maria,      7100-000         $0.00     $96,650.84         $0.00          $0.00
               Receiver
      89       The RBA Group,        7100-000         $0.00    $300,000.00         $0.00          $0.00
               Inc.
      90       Bashar Assadi         7400-000         $0.00     $28,800.00         $0.00          $0.00
     91a       Quaker                7100-000         $0.00     $46,529.65         $0.00          $0.00
               Commercial
               Properties-One
               LP
     92a       Quaker                7100-000         $0.00    $170,544.36   $170,544.36     $59,677.42
               Commercial
               Properties-One
               LP
      93       Adams Place           7100-000         $0.00      $4,969.46         $0.00          $0.00
               Neighbors
      94       Pitney Bowes          7100-000         $0.00      $1,038.70         $0.00          $0.00
               Global Financial
               Services LLC
      95       EnviroPhysics,        7100-000         $0.00     $18,000.00    $18,000.00      $6,298.62
               Inc.
      96       Morehouse             7100-000         $0.00     $18,134.40    $18,134.40      $6,345.65
               Engineering Inc.
      97       Chapman, Inc.         7100-000         $0.00      $1,800.53         $0.00          $0.00
      98       SignSource            7100-000         $0.00      $2,073.95     $2,073.95       $725.72
      99       Scoles Floorshine     7100-000         $0.00      $1,874.64     $1,874.64       $655.98
               Ind.
     100       Larrison Coal &       7100-000         $0.00        $177.00      $177.00         $61.94
               Fuel
     101       Amy Greene            7100-000         $0.00     $10,973.20    $10,973.20      $3,839.78
               Environmental
               Consultants
     102       Hager-Richter         7100-000         $0.00     $17,835.00    $17,835.00      $6,240.88

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               Geoscience, Inc.
     103       Premier Plus          7100-000         $0.00     $7,878.75         $0.00          $0.00
     104       Harold D. Harris      7100-000         $0.00   $178,484.80   $178,484.80     $62,455.96
     105       Andrew A.             7100-000         $0.00     $3,100.00     $3,100.00      $1,084.76
               Kayser, P.E.
     106       Cablevision           7100-000         $0.00     $5,466.48         $0.00          $0.00
               Lightpath, Inc.
     108       Patty Hinze           7100-000         $0.00     $1,800.53         $0.00          $0.00
     109       Sonnenfeld &          7100-000         $0.00     $6,420.00         $0.00          $0.00
               Trocchia
               Architects PA
     110       Montclair State       7100-000         $0.00    $32,150.00         $0.00          $0.00
               University
     111       Avogadro              7100-000         $0.00     $9,922.00     $9,922.00          $0.00
               Environmental
               Corp.
               Clerk, United         7100-001         $0.00         $0.00         $0.00      $3,471.94
               States Bankruptcy
               Court (Claim No.
               111; Avogadro
               Environmental
               Corp.)
     112       Asbury Park           7100-000         $0.00      $832.60          $0.00          $0.00
               Press
     113       Nor East              7100-000         $0.00    $33,130.00    $29,105.00     $10,184.51
               Mapping Inc.
     114       USA Architects        7100-000         $0.00   $302,157.29         $0.00          $0.00
               Planners
     115       Academy Hill,         7100-000         $0.00    $26,100.00         $0.00          $0.00
               Inc.
     116       Sor Testing           7100-000         $0.00     $7,272.50     $7,272.50      $2,544.82
               Laboratories, Inc.
     117       Harold D. Harris      7100-000         $0.00     $3,357.00         $0.00          $0.00
     118       Aramark               7100-000         $0.00      $757.04       $757.04        $264.91
     119       Sussex County         7100-000         $0.00      $632.00          $0.00          $0.00
               Chamber of
               Commerce
     120       Sussex County         7100-000         $0.00      $500.00          $0.00          $0.00
               Chamber of
               Commerce
     121       AWT                   7100-000         $0.00    $22,716.45    $22,716.45      $7,949.01
               Environmental
               Services, Inc.
     122       Frederic Rosen,       7100-000         $0.00     $5,700.00     $5,700.00          $0.00
               AIA
               Clerk, United         7100-001         $0.00         $0.00         $0.00      $1,994.56
               States Bankruptcy
               Court (Claim No.
               122; Frederic
               Rosen, AIA)

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     123       Ralph J. Orlando      7100-000         $0.00      $7,017.34         $0.00         $0.00
     124       Harold D. Harris      7100-000         $0.00    $594,000.00         $0.00         $0.00
     125       Asbury Park           7100-000         $0.00        $832.60         $0.00         $0.00
               Press
     126       Fred Fastiggi         7400-000         $0.00     $53,138.53         $0.00         $0.00
     127       John Wuestneck        7100-000         $0.00   $3,961,940.92        $0.00         $0.00
     128       Oaks                  7100-000         $0.00    $100,000.00         $0.00         $0.00
               Development
               Corp.
     130       Fastenal              7100-000         $0.00        $945.95      $945.95        $331.01
               Company
     132       KEEGAN                7100-000         $0.00      $9,179.00     $7,515.00      $2,629.67
               TECHNOLOGY
               AND TESTING
               ASSOCIATES,
               INC.
     133       D&M Carpet            7100-000         $0.00      $6,007.00     $6,007.00      $2,101.99
               Dyeing &
               Cleaning Co.
     134       National              7100-000         $0.00     $27,286.28    $27,286.28      $9,548.10
               Reprographics,
               Inc.
     136       CHIRU                 7100-000         $0.00     $17,629.80         $0.00         $0.00
               Consulting, LLC
     139       Alan P. Hilla, Jr.    7400-000         $0.00    $223,129.84         $0.00         $0.00
     140       John Hess             7100-000         $0.00    $960,419.96         $0.00         $0.00
     141       De Lage Landen        7100-000         $0.00     $86,870.99         $0.00         $0.00
               Financial Services
     142       Brewer                7100-000         $0.00      $5,007.34     $5,007.34      $1,752.18
               Associates
     143       William Barron        7100-000         $0.00    $330,073.17         $0.00         $0.00
     144       CL Solutions,         7100-000         $0.00      $9,259.67     $9,259.67      $3,240.17
               LLC
     146       Micahel Giuliano      7100-000         $0.00   $1,301,777.00        $0.00         $0.00
               Jr.
     147       Diane Seymour         7100-000         $0.00    $627,011.32         $0.00         $0.00
     148       John C. Morris,       7100-000         $0.00   $3,937,180.90        $0.00         $0.00
               III
     149       Clare Broderick       7100-000         $0.00   $2,677,207.00        $0.00         $0.00
     150       Richard A.            7400-000         $0.00    $138,926.00         $0.00         $0.00
               Erickson, Jr.
     154       Hess Energy           7100-000         $0.00          $0.00         $0.00         $0.00
               Marketing, LLC
     155       Township of           7100-000         $0.00    $101,736.64         $0.00         $0.00
               Marlboro
     156       Pallante Design       7100-000         $0.00      $9,995.69     $9,995.69         $0.00
               Clerk, United         7100-001         $0.00          $0.00         $0.00      $3,497.72
               States Bankruptcy
               Court (Claim No.

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               156; Pallante
               Design)
     157       S2C2 Inc.             7100-000         $0.00   $39,200.00   $39,200.00     $13,716.99
     159       Koerner and           7100-000         $0.00   $21,264.00   $21,264.00      $7,440.77
               Associates, LLC
     160       Kenneth Dressler      7100-000         $0.00    $1,656.49        $0.00          $0.00
               d/b/a
     163       Winning               7100-000         $0.00   $19,000.00   $19,000.00      $6,648.54
               Strategies Public
     164       New Jersey            7100-000         $0.00    $2,065.00        $0.00          $0.00
               Department of
               Environmental
               Protection
     165       Brookfield Water      7100-000         $0.00    $5,000.00    $5,000.00      $1,749.62
               Pollution
     166       Morehouse             7100-000         $0.00   $18,134.40        $0.00          $0.00
               Engineering Inc.
     167       SSP Architectural     7100-000         $0.00        $0.00        $0.00          $0.00
               Grp., Inc.
     168       USA Architects        7100-000         $0.00        $0.00        $0.00          $0.00
               Planners
     170       Certified             7100-000         $0.00    $1,955.00    $1,700.00       $594.87
               Irrigation Designs
               Danny C. Kruse
               Sr., CID, CLIA
     171       Petroscience Inc.     7100-000         $0.00    $2,900.00    $2,900.00      $1,014.78
     172       Delaware Valley       7100-000         $0.00    $4,060.00        $0.00          $0.00
               Data Collection
               LLC
     173       Atlantic Flooring     7100-000         $0.00   $10,103.93   $10,103.93      $3,535.60
    1013       William T.            7400-000         $0.00        $0.00        $0.00          $0.00
               Birdsall
    1014       33 East Car Wash      7100-000         $0.00        $0.00     $151.71         $53.09
               of Ocean
    1015       50 Regent Street      7100-000         $0.00        $0.00        $0.00          $0.00
               LLC
    1016       60 Bridge Street      7100-000         $0.00        $0.00        $0.00          $0.00
               LLC
    1017       A.C. Schultes Inc.    7100-000         $0.00        $0.00   $10,590.50      $3,705.86
    1018       AC Construction       7100-000         $0.00        $0.00        $0.00          $0.00
               Group
    1019       Accurate              7100-000         $0.00        $0.00     $142.80           $0.00
               Abstracts
               Clerk, United         7100-001         $0.00        $0.00        $0.00        $49.97
               States Bankruptcy
               Court (Claim No.
               1019; Accurate
               Abstracts)
    1020       Accutest Corp.        7100-000         $0.00        $0.00   $73,666.45     $25,777.60
    1021       Adam C. Styles        7100-000         $0.00        $0.00   $18,703.79      $6,544.89
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    1022       Air Con Inc.         7100-000         $0.00       $0.00        $0.00          $0.00
    1023       Airgas Safety Inc.   7100-000         $0.00       $0.00     $334.42        $117.02
    1024       AJ's Village Deli    7100-000         $0.00       $0.00     $221.55         $77.53
    1025       Allied Meter         7100-000         $0.00       $0.00     $260.10         $91.02
               Service Inc.
    1026       Allied Outdoor       7100-000         $0.00       $0.00        $0.00          $0.00
               Advertising Inc.
    1027       ALM                  7100-000         $0.00       $0.00    $1,464.00       $512.29
    1028       Alternate Power      7100-000         $0.00       $0.00     $445.50           $0.00
               Clerk, United        7100-001         $0.00       $0.00        $0.00       $155.89
               States Bankruptcy
               Court (Claim No.
               1028; Alternate
               Power)
    1029       American             7100-000         $0.00       $0.00     $631.00        $220.80
               Concrete Institute
    1030       American Express     7100-000         $0.00       $0.00        $0.00          $0.00
    1031       American             7100-000         $0.00       $0.00        $0.00          $0.00
               Properties
    1032       AmeriSci New         7100-000         $0.00       $0.00    $8,491.00      $2,971.20
               York
    1033       Andrew M.            7100-000         $0.00       $0.00        $0.00          $0.00
               Newman Esq.
    1034       ANS Consultants      7100-000         $0.00       $0.00    $3,454.00      $1,208.63
               Inc.
    1035       Anserve Inc.         7100-000         $0.00       $0.00     $131.80         $46.12
    1036       APOLLO               7100-000         $0.00       $0.00    $2,650.00       $927.30
    1037       Applied Analytics    7100-000         $0.00       $0.00    $1,495.00       $523.14
               Inc.
    1038       ARC                  7100-000         $0.00       $0.00     $347.07        $121.45
    1039       ARC (Ridgway's)      7100-000         $0.00       $0.00     $529.98        $185.45
    1040       Arseneault           7100-000         $0.00       $0.00        $0.00          $0.00
               Whipple Fassett
               & Azzarello
    1041       ASHRAE               7100-000         $0.00       $0.00     $246.00           $0.00
               Clerk, United        7100-001         $0.00       $0.00        $0.00        $86.08
               States Bankruptcy
               Court (Claim No.
               1041; ASHRAE)
    1042       Associated           7100-000         $0.00       $0.00    $5,266.32      $1,842.81
               Consulting
               Engineers PC
    1043       ATC                  7100-000         $0.00       $0.00   $58,366.00     $20,423.61
               ASSOCIATES
               INC.
    1044       Atlantic Health      7100-000         $0.00       $0.00    $1,211.00          $0.00
               System
               Clerk, United        7100-001         $0.00       $0.00        $0.00       $423.76
               States Bankruptcy

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               Court (Claim No.
               1044; Atlantic
               Health System)
    1045       Atlantic Realty      7100-000         $0.00       $0.00        $0.00         $0.00
    1046       Atlantic             7100-000         $0.00       $0.00    $6,319.69      $2,211.41
               ResponseInc.
    1047       Atlantis Aerial      7100-000         $0.00       $0.00   $10,896.00      $3,812.76
               Survey Company
               Inc.
    1048       Atlas Messenger      7100-000         $0.00       $0.00     $461.00        $161.31
               Service
    1049       AWWA                 7100-000         $0.00       $0.00     $196.00         $68.58
    1050       B & B Press Inc.     7100-000         $0.00       $0.00    $1,862.14       $651.61
    1051       B & B Trophy         7100-000         $0.00       $0.00     $470.91        $164.78
               Co. Inc.
    1052       Barlow &             7100-000         $0.00       $0.00     $623.60        $218.21
               Associates
               Architects LLC
    1053       Bayonne Hospital     7100-000         $0.00       $0.00        $0.00         $0.00
               Center
    1054       Bayonne Hospital     7100-000         $0.00       $0.00        $0.00         $0.00
               Center
    1055       Ben Meadows          7100-000         $0.00       $0.00    $1,001.25         $0.00
               Co. Inc.
               Clerk, United        7100-001         $0.00       $0.00        $0.00       $350.36
               States Bankruptcy
               Court (Claim No.
               1055; Ben
               Meadows Co.
               Inc.)
    1056       Bernards             7100-000         $0.00       $0.00        $0.00         $0.00
               Township Board
               of Education
               Cedar Hill
    1057       Bey Lea Dairy        7100-000         $0.00       $0.00     $276.25         $96.67
    1058       Bid Source           7100-000         $0.00       $0.00     $228.72         $80.03
    1059       Blaisdel Family      7100-000         $0.00       $0.00        $0.00         $0.00
    1060       Blass Consulting     7100-000         $0.00       $0.00     $525.00        $183.71
               LLC
    1061       Blue Wave Car        7100-000         $0.00       $0.00      $13.86          $0.00
               Wash & Quick
               Lube
    1062       Borough of           7100-000         $0.00       $0.00     $400.00        $139.97
               Bradley Beach
    1063       Borough of New       7100-000         $0.00       $0.00        $0.00         $0.00
               Providence
    1064       Borough of North     7100-000         $0.00       $0.00        $0.00         $0.00
               Plainfield
    1065       Buckman's Inc.       7100-000         $0.00       $0.00     $769.01        $269.09
    1066       Capital One          7100-000         $0.00       $0.00     $716.63          $0.00
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               Commercial
               Clerk, United         7100-001         $0.00       $0.00        $0.00       $250.77
               States Bankruptcy
               Court (Claim No.
               1066; Capital One
               Commercial)
    1067       Capitol               7100-000         $0.00       $0.00    $1,617.00          $0.00
               Environmental
               Services Inc.
               Clerk, United         7100-001         $0.00       $0.00        $0.00       $565.83
               States Bankruptcy
               Court (Claim No.
               1067; Capitol
               Environmental
               Services Inc.)
    1068       Captain's Marina      7100-000         $0.00       $0.00        $0.00          $0.00
    1069       Card Services         7100-000         $0.00       $0.00        $0.00          $0.00
    1070       Cardinale             7100-000         $0.00       $0.00        $0.00          $0.00
               Enterprises
    1071       Carlin Scott &        7100-000         $0.00       $0.00        $0.00          $0.00
               Cathleen
    1072       Charles A             7100-000         $0.00       $0.00    $6,065.00      $2,122.28
               Manganaro
               Consulting
               Engineers
    1073       Chase Partners        7100-000         $0.00       $0.00        $0.00          $0.00
               LLC
    1074       Church Towers         7100-000         $0.00       $0.00        $0.00          $0.00
               Urban Renewal
    1075       City of               7100-000         $0.00       $0.00        $0.00          $0.00
               Hackensack
    1076       Cityworks             7100-000         $0.00       $0.00        $0.00          $0.00
               Westlake LLC
    1077       Clean Vapor LLC       7100-000         $0.00       $0.00        $0.00          $0.00
    1078       Coffee                7100-000         $0.00       $0.00     $109.07           $0.00
               Distributing Corp.
               Clerk, United         7100-001         $0.00       $0.00        $0.00        $38.17
               States Bankruptcy
               Court (Claim No.
               1078; Coffee
               Distributing
               Corp.)
    1079       Cohn Reznick          7100-000         $0.00       $0.00     $225.00         $78.73
               LLP
    1080       College of            7100-000         $0.00       $0.00   $45,150.00     $15,799.03
               Science &
               Mathematics
               Montclair
    1081       Comcast               7100-000         $0.00       $0.00      $78.44           $0.00
               Clerk, United         7100-001         $0.00       $0.00        $0.00        $27.45
               States Bankruptcy

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               Court (Claim No.
               1081; Comcast)
    1082       Community             7100-000         $0.00       $0.00        $0.00         $0.00
               Realty
               Management
    1083       Construction          7100-000         $0.00       $0.00        $0.00         $0.00
               Technology
               Corporation
    1084       Coyne Chemical        7100-000         $0.00       $0.00    $2,278.37       $797.25
    1085       Craig Test Boring     7100-000         $0.00       $0.00   $18,838.00      $6,591.85
               Company Inc.
    1086       CRYOFAB Inc.          7100-000         $0.00       $0.00        $0.00         $0.00
    1087       Cultural Resource     7100-000         $0.00       $0.00   $15,550.00         $0.00
               Consulting Group
               Clerk, United         7100-001         $0.00       $0.00        $0.00      $5,441.31
               States Bankruptcy
               Court (Claim No.
               1087; Cultural
               Resource
               Consulting
               Group)
    1088       Daibes                7100-000         $0.00       $0.00        $0.00         $0.00
               Enterprises
    1089       Dan Wu                7100-000         $0.00       $0.00        $0.00         $0.00
    1090       Daniel                7100-000         $0.00       $0.00        $0.00         $0.00
               Schunkewitz
    1091       Darren Haines         7100-000         $0.00       $0.00        $0.00         $0.00
    1092       Deer Park             7100-000         $0.00       $0.00     $148.13         $51.83
    1093       Deltek Systems        7100-000         $0.00       $0.00    $3,000.00      $1,049.77
               Inc.
    1094       DI Group              7100-000         $0.00       $0.00        $0.00         $0.00
               Architecture
    1095       AECOM                 7100-000         $0.00       $0.00   $25,718.42      $8,999.47
               Technical
               Services Inc.
    1096       Donald Roberts II     7100-000         $0.00       $0.00   $17,220.00      $6,025.68
               LTD
    1097       Dynamic Testing       7100-000         $0.00       $0.00    $2,125.00       $743.59
               Services
    1098       EMSL Analytical       7100-000         $0.00       $0.00    $9,149.24      $3,201.53
               Inc.
    1099       Energy Services       7100-000         $0.00       $0.00    $2,319.45       $811.63
               Group
    1100       Ensoft Inc.           7100-000         $0.00       $0.00     $360.00          $0.00
               Clerk, United         7100-001         $0.00       $0.00        $0.00       $125.97
               States Bankruptcy
               Court (Claim No.
               1100; Ensoft Inc.)
    1101       EnviRent Corp.        7100-000         $0.00       $0.00      $80.25         $28.08
    1102       Environmental         7100-000         $0.00       $0.00    $2,097.20       $733.86
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               Data Resources
    1103       Environmental          7100-000         $0.00       $0.00    $260.00          $0.00
               Research Ser. Inc.
               Clerk, United          7100-001         $0.00       $0.00      $0.00         $90.98
               States Bankruptcy
               Court (Claim No.
               1103;
               Environmental
               Research Ser.
               Inc.)
    1104       Estate of William      7100-000         $0.00       $0.00      $0.00          $0.00
               Ryback
    1105       Exit 74 LLC            7100-000         $0.00       $0.00      $0.00          $0.00
    1106       Exploration            7100-000         $0.00       $0.00    $256.00          $0.00
               Instruments LLC
               Clerk, United          7100-001         $0.00       $0.00      $0.00         $89.58
               States Bankruptcy
               Court (Claim No.
               1106; Exploration
               Instruments LLC)
    1107       Export Packaging       7100-000         $0.00       $0.00      $0.00          $0.00
               LLC
    1108       Fairway Testing        7100-000         $0.00       $0.00      $0.00          $0.00
    1109       Federal Express        7100-000         $0.00       $0.00    $120.71         $42.24
    1110       Fidelity Burglar       7100-000         $0.00       $0.00     $69.55          $0.00
               & Fire Alarm Co.
               Clerk, United          7100-001         $0.00       $0.00      $0.00         $24.34
               States Bankruptcy
               Court (Claim No.
               1110; Fidelity
               Burglar & Fire
               Alarm Co.)
    1111       Fisher Scientific      7100-000         $0.00       $0.00    $951.75        $333.04
               Company LLC
    1112       Flight Safety          7100-000         $0.00       $0.00      $0.00          $0.00
               International St.
               Louis Learning
               Center
    1113       FP Mailing             7100-000         $0.00       $0.00    $567.90        $198.72
               Solutions
    1114       Francis Cauffman       7100-000         $0.00       $0.00      $0.00          $0.00
    1115       French & Parrello      7100-000         $0.00       $0.00   $3,590.00      $1,256.22
               Associates
    1116       G. Neil Direct         7100-000         $0.00       $0.00     $59.99          $0.00
               Mail Inc.
               Clerk, United          7100-001         $0.00       $0.00      $0.00         $20.99
               States Bankruptcy
               Court (Claim No.
               1116; G. Neil
               Direct Mail Inc.)
    1117       Gann Law Books         7100-000         $0.00       $0.00    $583.15        $204.06

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    1118       Garden Homes           7100-000         $0.00       $0.00      $0.00          $0.00
               Development
    1119       Garden State           7100-000         $0.00       $0.00    $130.54          $0.00
               Propeller Inc.
               Clerk, United          7100-001         $0.00       $0.00      $0.00         $45.68
               States Bankruptcy
               Court (Claim No.
               1119; Garden
               State Propeller
               Inc.)
    1120       Gayle                  7100-000         $0.00       $0.00   $1,050.00       $367.42
               Corporation
    1121       Gensler                7100-000         $0.00       $0.00      $0.00          $0.00
    1122       George Harms           7100-000         $0.00       $0.00      $0.00          $0.00
               Construction Co.
    1123       Geo-Slope              7100-000         $0.00       $0.00   $1,800.00         $0.00
               International
               Clerk, United          7100-001         $0.00       $0.00      $0.00        $629.86
               States Bankruptcy
               Court (Claim No.
               1123; Geo-Slope
               International)
    1124       GGL Group              7100-000         $0.00       $0.00      $0.00          $0.00
    1125       Gibbons P.C.           7100-000         $0.00       $0.00      $0.00          $0.00
    1126       Gilbert Architects     7100-000         $0.00       $0.00      $0.00          $0.00
               Inc.
    1127       Grainger               7100-000         $0.00       $0.00      $0.00          $0.00
    1128       H. Ney                 7100-000         $0.00       $0.00    $789.80        $276.37
               Associates LLC
    1129       Hall Realty            7100-000         $0.00       $0.00   $1,000.00       $349.92
               Consultants LLC
    1130       Hamer Heating          7100-000         $0.00       $0.00    $200.00         $69.98
               Cooling &
               Refrigeration
    1131       Hartford               7100-000         $0.00       $0.00      $0.00          $0.00
               Financial Services
               Group Inc.
    1132       Hatteras Press         7100-000         $0.00       $0.00   $3,665.00      $1,282.47
               Inc.
    1133       Healthy Home           7100-000         $0.00       $0.00      $0.00          $0.00
               Builders LLC
    1134       Hearth at Mt.          7100-000         $0.00       $0.00      $0.00          $0.00
               Kisco LLC
    1135       Hindu Temple &         7100-000         $0.00       $0.00      $0.00          $0.00
               Cultural Society
               of USA
    1136       Hood Finishing         7100-000         $0.00       $0.00      $0.00          $0.00
               Products Inc.
    1137       Horizon Blue           7100-000         $0.00       $0.00      $0.00          $0.00
               Cross & Blue

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               Shield
    1138       Howard                7100-000         $0.00       $0.00      $0.00          $0.00
               Finkelstein
    1139       Hudson County         7100-000         $0.00       $0.00      $0.00          $0.00
               Improvement
               Authority
    1140       IH Engineers P.C.     7100-000         $0.00       $0.00   $5,271.75      $1,844.71
               Corp
    1141       Image Systems         7100-000         $0.00       $0.00   $7,890.33      $2,761.01
    1142       Independence          7100-000         $0.00       $0.00   $3,124.80      $1,093.44
               Constructors Inc.
    1143       Ingermann Group       7100-000         $0.00       $0.00      $0.00          $0.00
    1144       Insurance             7100-000         $0.00       $0.00      $0.00          $0.00
               Administrator of
               America
    1145       Insurance             7100-000         $0.00       $0.00    $907.00        $317.38
               Restoration
               Specialists Inc.
    1146       Integrys Energy       7100-000         $0.00       $0.00   $2,190.88         $0.00
               Service Inc.
               Clerk, United         7100-001         $0.00       $0.00      $0.00        $766.64
               States Bankruptcy
               Court (Claim No.
               1146; Integrys
               Energy Service
               Inc.)
    1147       Investors Savings     7100-000         $0.00       $0.00      $0.00          $0.00
               Bank
    1148       Ironstate             7100-000         $0.00       $0.00      $0.00          $0.00
               Development
    1149       James H. Murphy       7100-000         $0.00       $0.00    $750.00        $262.44
    1150       JCP&L                 7100-000         $0.00       $0.00      $0.00          $0.00
    1151       Jersey Shore          7100-000         $0.00       $0.00    $196.93         $68.91
               Courier Service
    1152       Jodie Chase           7100-000         $0.00       $0.00      $0.00          $0.00
               Ecologist
    1153       Joseph H.             7100-000         $0.00       $0.00    $262.50         $91.85
               Sullivan P.E.
    1154       Kate Gompert          7100-000         $0.00       $0.00      $0.00          $0.00
    1155       Kavanagh              7100-000         $0.00       $0.00   $1,358.20         $0.00
               Electrical
               Contractors
               Clerk, United         7100-001         $0.00       $0.00      $0.00        $475.27
               States Bankruptcy
               Court (Claim No.
               1155; Kavanagh
               Electrical
               Contractors)
    1156       Kepwel Spring         7100-000         $0.00       $0.00    $353.10        $123.56
               Water

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    1157       Kevin Byrne            7100-000         $0.00       $0.00        $0.00         $0.00
               Architects PC
    1158       Kevin                  7100-000         $0.00       $0.00        $0.00         $0.00
               Shacknofsky
    1159       KEY-TECH               7100-000         $0.00       $0.00        $0.00         $0.00
               LABORATORIE
               S
    1160       Kinder Morgan          7100-000         $0.00       $0.00        $0.00         $0.00
               Liquids Terminals
               LLC
    1161       Kirk Peters            7100-000         $0.00       $0.00        $0.00         $0.00
    1162       Krovatin               7100-000         $0.00       $0.00        $0.00         $0.00
               Klingeman LLC
    1163       KTP Consulting         7100-000         $0.00       $0.00   $16,200.00         $0.00
               LLC
               Clerk, United          7100-001         $0.00       $0.00        $0.00      $5,668.76
               States Bankruptcy
               Court (Claim No.
               1163; KTP
               Consulting LLC)
    1164       KTR                    7100-000         $0.00       $0.00   $11,640.00      $4,073.11
               ASSOCIATES
               LLC.
    1165       Kuser 130 LLC          7100-000         $0.00       $0.00        $0.00         $0.00
    1166       Lafayette General      7100-000         $0.00       $0.00     $480.00        $167.96
               Title Agency Inc.
    1167       Lakewood               7100-000         $0.00       $0.00        $0.00         $0.00
               Affordable
               Housing Corp.
    1168       Land Resource          7100-000         $0.00       $0.00        $0.00         $0.00
               Consultants Inc.
    1169       Landmark               7100-000         $0.00       $0.00        $0.00         $0.00
               Companies LLC
    1170       Large Doc              7100-000         $0.00       $0.00    $3,888.00         $0.00
               Solutions
               Clerk, United          7100-001         $0.00       $0.00        $0.00      $1,360.50
               States Bankruptcy
               Court (Claim No.
               1170; Large Doc
               Solutions)
    1171       Laser Technology       7100-000         $0.00       $0.00      $83.46         $29.20
               Systems Inc.
    1172       Law Offices of         7100-000         $0.00       $0.00        $0.00         $0.00
               Robert G. Stevens
    1173       LDS Associates         7100-000         $0.00       $0.00        $0.00         $0.00
    1174       Lester Elwell          7100-000         $0.00       $0.00        $0.00         $0.00
    1175       Levine Staller         7100-000         $0.00       $0.00        $0.00         $0.00
               Sklar Chan
               Brodsky &
               Donnelly


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    1176       LILICH                7100-000         $0.00       $0.00    $8,400.00      $2,939.35
               CORPORATION
    1177       Lincoln Park          7100-000         $0.00       $0.00        $0.00          $0.00
               Coast Cultural
               District
    1178       LinkedIn              7100-000         $0.00       $0.00    $2,500.00       $874.81
               Corporation
    1179       Lomurro Davison       7100-000         $0.00       $0.00        $0.00          $0.00
               Eastman &
               MuÃ±oz PA
    1180       Mandell               7100-000         $0.00       $0.00    $1,400.00       $489.89
               Environmental
               Consulting
    1181       Marco Albanese        7100-000         $0.00       $0.00        $0.00          $0.00
    1182       Margolis              7100-000         $0.00       $0.00        $0.00          $0.00
               Edelstein
    1183       Marina at             7100-000         $0.00       $0.00        $0.00          $0.00
               Barnegat Light
    1184       Mark McCooey          7100-000         $0.00       $0.00        $0.00          $0.00
    1185       Mary Ellen            7100-000         $0.00       $0.00        $0.00          $0.00
               Tolmic
    1186       Matrix                7100-000         $0.00       $0.00        $0.00          $0.00
               Development
               Group
    1187       Mattia Cipriano       7100-000         $0.00       $0.00        $0.00          $0.00
    1188       Maverick              7100-000         $0.00       $0.00        $0.00          $0.00
               Construction
               Management
    1189       McCarter &            7100-000         $0.00       $0.00        $0.00          $0.00
               English
    1190       McMaster-Carr         7100-000         $0.00       $0.00      $71.64         $25.07
               Supply Co.
    1191       Melillo & Bauer       7100-000         $0.00       $0.00   $74,671.02     $26,129.12
               Associates Inc.
    1192       Meridian              7100-000         $0.00       $0.00    $1,675.00       $586.12
               Occupational
               Health Attn:
               Billing Dept.
    1193       MetLifeRemittan       7100-000         $0.00       $0.00        $0.00          $0.00
               ce Service Center
    1194       Michael Graves        7100-000         $0.00       $0.00        $0.00          $0.00
               & Associates
    1195       Microbialinsights     7100-000         $0.00       $0.00     $500.00        $174.96
    1196       Microseeps            7100-000         $0.00       $0.00    $1,220.00       $426.91
    1197       Midland Auto          7100-000         $0.00       $0.00        $0.00          $0.00
               Electric 300 Main
               St.
    1198       Mingolo               7100-000         $0.00       $0.00     $500.26           $0.00
               Precision
               Products Inc.

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    1199       Miracle Chemical      7100-000         $0.00       $0.00     $78.80          $0.00
               Co.
               Clerk, United         7100-001         $0.00       $0.00      $0.00         $27.57
               States Bankruptcy
               Court (Claim No.
               1199; Miracle
               Chemical Co.)
    1200       MODC                  7100-000         $0.00       $0.00   $1,090.00       $381.42
    1201       Monmouth              7100-000         $0.00       $0.00    $170.00         $59.49
               County
               Document
               Service
    1202       Monmouth              7100-000         $0.00       $0.00      $0.00          $0.00
               County Hall of
               Records
    1203       Mountain Hill         7100-000         $0.00       $0.00      $0.00          $0.00
               Group
    1204       Mr. John Inc.         7100-000         $0.00       $0.00    $326.25        $114.16
    1205       Mumford               7100-000         $0.00       $0.00   $5,500.00      $1,924.58
               Bjorkman
               Associates Inc.
    1206       Napco Copy            7100-000         $0.00       $0.00    $684.60        $239.56
    1207       National Realty &     7100-000         $0.00       $0.00      $0.00          $0.00
               Development
               Corp.
    1208       NETTA                 7100-000         $0.00       $0.00      $0.00          $0.00
               ARCHITECTS
               LLC
    1209       New Jersey Press      7100-000         $0.00       $0.00    $686.80        $240.33
               Media
    1210       Newark Museum         7100-000         $0.00       $0.00      $0.00          $0.00
    1211       Newark Regional       7100-000         $0.00       $0.00   $2,525.00       $883.56
               Business
               Partnership
    1212       Nicholas Bellizzi     7100-000         $0.00       $0.00   $5,977.48      $2,091.66
    1213       NJ Dept. Labor &      7100-000         $0.00       $0.00      $5.00          $0.00
               Workforce
               Development
    1214       NJ Motor Vehicle      7100-000         $0.00       $0.00      $0.00          $0.00
               Commission
    1215       NJ Natural Gas        7100-000         $0.00       $0.00      $0.00          $0.00
    1216       NJ Natural Gas        7100-000         $0.00       $0.00      $0.00          $0.00
               Co.
    1217       NJDOT                 7100-000         $0.00       $0.00     $14.00          $0.00
    1218       NJNG                  7100-000         $0.00       $0.00      $0.00          $0.00
    1219       NK Architects         7100-000         $0.00       $0.00      $0.00          $0.00
    1220       NK Architects         7100-000         $0.00       $0.00      $0.00          $0.00
    1221       NSPE                  7100-000         $0.00       $0.00    $350.00        $122.47
    1222       Nuzzi & Mason         7100-000         $0.00       $0.00      $0.00          $0.00

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               LLC
    1223       Ocean County         7100-000         $0.00       $0.00        $0.00          $0.00
               Utilities
               Authority
    1224       Onvia Inc.           7100-000         $0.00       $0.00    $2,295.00          $0.00
               Clerk, United        7100-001         $0.00       $0.00        $0.00       $803.07
               States Bankruptcy
               Court (Claim No.
               1224; Onvia Inc.)
    1225       Options Real         7100-000         $0.00       $0.00        $0.00          $0.00
               Estate LLC
    1226       Oswald               7100-000         $0.00       $0.00        $0.00          $0.00
               Enterprises Inc.
    1227       PAR                  7100-000         $0.00       $0.00        $0.00          $0.00
               Development
               Group LLC
    1228       Passaic Valley       7100-000         $0.00       $0.00        $0.00          $0.00
               Water
               Commission
    1229       Pennrose             7100-000         $0.00       $0.00        $0.00          $0.00
               Properties Inc.
    1230       Perry Ciscitelli     7100-000         $0.00       $0.00        $0.00          $0.00
    1231       PlanSmart NJ         7100-000         $0.00       $0.00     $585.00           $0.00
               Clerk, United        7100-001         $0.00       $0.00        $0.00       $204.71
               States Bankruptcy
               Court (Claim No.
               1231; PlanSmart
               NJ)
    1232       Port Chester Mini    7100-000         $0.00       $0.00        $0.00          $0.00
               Mart
    1233       Port Liberte         7100-000         $0.00       $0.00        $0.00          $0.00
               Homeowners
               Assoc.
    1234       Preferred            7100-000         $0.00       $0.00        $0.00          $0.00
               Building and
               Restoration
               Group
    1235       Preferred            7100-000         $0.00       $0.00    $2,200.00       $769.83
               Construction
               Management
    1236       Print-O-Stat Inc.    7100-000         $0.00       $0.00     $578.87        $202.56
    1237       PS Accountants       7100-000         $0.00       $0.00        $0.00          $0.00
               and Consultants
               PC
    1238       PSE&G                7100-000         $0.00       $0.00     $160.00           $0.00
               Clerk, United        7100-001         $0.00       $0.00        $0.00        $55.99
               States Bankruptcy
               Court (Claim No.
               1238; PSE&G)
    1239       Pumping Services     7100-000         $0.00       $0.00   $31,052.83     $10,866.10
               Inc.

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    1240       QC Laboratories        7100-000         $0.00       $0.00    $4,698.00          $0.00
               Clerk, United          7100-001         $0.00       $0.00        $0.00      $1,643.94
               States Bankruptcy
               Court (Claim No.
               1240; QC
               Laboratories)
    1241       Ray Catena             7100-000         $0.00       $0.00        $0.00          $0.00
               Motor Car Corp.
    1242       Reliastar Life         7100-000         $0.00       $0.00        $0.00          $0.00
               Insurance co.
    1243       Reuter & Hanney        7100-000         $0.00       $0.00     $975.00        $341.18
               Inc.
    1244       Richard Grubb &        7100-000         $0.00       $0.00        $0.00          $0.00
               Associates Inc.
    1245       Richard Grubb &        7100-000         $0.00       $0.00    $2,333.00       $816.37
               Associates Inc.
    1246       Rivardo Schnitzer      7100-000         $0.00       $0.00        $0.00          $0.00
               Capazzi
    1247       River Terminal         7100-000         $0.00       $0.00        $0.00          $0.00
               Development
    1248       Robert Michael         7100-000         $0.00       $0.00        $0.00          $0.00
               Shopping Center
               Inc.
    1249       Roland Misarti         7100-000         $0.00       $0.00        $0.00          $0.00
    1250       Ryan 100               7100-000         $0.00       $0.00        $0.00          $0.00
               Holdings LLC
    1251       S & R Engineers        7100-000         $0.00       $0.00    $6,873.38          $0.00
               P.C. Corp.
               Clerk, United          7100-001         $0.00       $0.00        $0.00      $2,405.15
               States Bankruptcy
               Court (Claim No.
               1251; S & R
               Engineers P.C.
               Corp.)
    1252       S & S Subsurface       7100-000         $0.00       $0.00   $71,762.00     $25,111.19
               Investigations
               Inc.
    1253       Sansone                7100-000         $0.00       $0.00     $171.12           $0.00
               Clerk, United          7100-001         $0.00       $0.00        $0.00        $59.88
               States Bankruptcy
               Court (Claim No.
               1253; Sansone)
    1254       Saphire &              7100-000         $0.00       $0.00        $0.00          $0.00
               Albarran
               Architects LLC
    1255       Scanning               7100-000         $0.00       $0.00    $2,800.00       $979.78
               America Inc.
    1256       Sea Coast              7100-000         $0.00       $0.00     $205.27         $71.83
               Chevrolet
    1257       Sean Reynolds          7100-000         $0.00       $0.00        $0.00          $0.00


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    1258       Selective            7100-000         $0.00       $0.00      $0.00         $0.00
               Insurance Co of
               America
    1259       SESI Consulting      7100-000         $0.00       $0.00      $0.00         $0.00
               Engineers
    1260       Severn Trent         7100-000         $0.00       $0.00    $980.00         $0.00
               Laboratories Inc.
               Clerk, United        7100-001         $0.00       $0.00      $0.00       $342.92
               States Bankruptcy
               Court (Claim No.
               1260; Severn
               Trent
               Laboratories Inc.)
    1261       Smith Barney         7100-000         $0.00       $0.00      $0.00         $0.00
    1262       Somerset County      7100-000         $0.00       $0.00      $0.00         $0.00
               Vocational &
               Technical
    1263       Somerset County      7100-000         $0.00       $0.00      $0.00         $0.00
               Vocational &
               Technical
    1264       South Jersey Gas     7100-000         $0.00       $0.00    $200.00        $69.98
               Company
    1265       Sparta Board of      7100-000         $0.00       $0.00      $0.00         $0.00
               Education
               Business
               Administrator
    1266       Spiral Binding       7100-000         $0.00       $0.00    $660.72       $231.20
               Company Inc.
    1267       SSP Architectural    7100-000         $0.00       $0.00      $0.00         $0.00
               Group Inc.
    1268       SSP Architectural    7100-000         $0.00       $0.00      $0.00         $0.00
               Group Inc.
    1269       SSP Architectural    7100-000         $0.00       $0.00      $0.00         $0.00
               Group Inc.
    1270       St. Josephs          7100-000         $0.00       $0.00      $0.00         $0.00
               Healthcare
               System
    1271       St. Joseph's         7100-000         $0.00       $0.00      $0.00         $0.00
               Regional Medical
               Center
    1272       St. Michael's        7100-000         $0.00       $0.00      $0.00         $0.00
               Medical Center
               Catholic Health
               East-APSS
    1273       St. Michael's        7100-000         $0.00       $0.00      $0.00         $0.00
               Medical Center
               Catholic Health
               East-APSS
    1274       Staples              7100-000         $0.00       $0.00    $332.56       $116.37
               Advantage
    1275       Stephen Flaxman      7100-000         $0.00       $0.00      $0.00         $0.00


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    1276       Stephen Lesko          7100-000         $0.00       $0.00        $0.00          $0.00
    1277       Sterling               7100-000         $0.00       $0.00        $0.00          $0.00
               Properties
    1278       Steve Kamin            7100-000         $0.00       $0.00     $650.00        $227.45
    1279       Stevens Institute      7100-000         $0.00       $0.00    $7,500.00      $2,624.42
               of Technology
    1280       STL/CSS LLC.           7100-000         $0.00       $0.00    $4,884.00      $1,709.02
    1281       Storm Water            7100-000         $0.00       $0.00     $691.70        $242.04
               Management
               Consulting LLC
    1282       Strauss Discount       7100-000         $0.00       $0.00        $0.00          $0.00
               Auto Inc.
    1283       Suburban               7100-000         $0.00       $0.00        $0.00          $0.00
               Hospital
    1284       Summit Drilling        7100-000         $0.00       $0.00   $26,364.75      $9,225.64
               Co. Inc.
    1285       Supreme Security       7100-000         $0.00       $0.00        $0.00          $0.00
               Systems Inc.
    1286       TeamViewer             7100-000         $0.00       $0.00    $2,697.05       $943.76
               GmbH
    1287       Tekni-Plex Inc.        7100-000         $0.00       $0.00        $0.00          $0.00
    1288       Thacher Brown          7100-000         $0.00       $0.00        $0.00          $0.00
    1289       The Cooper             7100-000         $0.00       $0.00        $0.00          $0.00
               Foundation
    1290       Thomas C.              7100-000         $0.00       $0.00        $0.00          $0.00
               Merritts Land
               Surveyors
    1291       TigerDirect Inc.       7100-000         $0.00       $0.00     $199.73         $69.89
    1292       Time Well Spent        7100-000         $0.00       $0.00     $600.00        $209.95
    1293       Tinton Falls           7100-000         $0.00       $0.00        $0.00          $0.00
    1294       Tokarski               7100-000         $0.00       $0.00   $38,762.88     $13,564.03
               Millemann
               Architects
    1295       Toms River             7100-000         $0.00       $0.00        $0.00          $0.00
               Board of
               Education
    1296       Toms River             7100-000         $0.00       $0.00        $0.00          $0.00
               Municipal
               Utilities
               Authority
    1297       Tony D                 7100-000         $0.00       $0.00    $1,050.00       $367.42
               Environmental
               Permitting LLC
    1298       Torcon                 7100-000         $0.00       $0.00        $0.00          $0.00
               Incorporated
    1299       Toresco                7100-000         $0.00       $0.00        $0.00          $0.00
               Enterprises
    1300       Total Security         7100-000         $0.00       $0.00     $246.10         $86.12
               Systems

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    1301       Township of East     7100-000         $0.00       $0.00        $0.00         $0.00
               Hanover
    1302       Township of          7100-000         $0.00       $0.00        $0.00         $0.00
               Gloucester
    1303       Township of          7100-000         $0.00       $0.00        $0.00         $0.00
               Lakewood
    1304       Township of          7100-000         $0.00       $0.00        $0.00         $0.00
               South Orange
    1305       Township of          7100-000         $0.00       $0.00        $0.00         $0.00
               Woodbridge
    1306       Traffic Databank     7100-000         $0.00       $0.00    $2,150.00       $752.33
               LLC
    1307       Trident              7100-000         $0.00       $0.00    $4,540.00      $1,588.65
               Environmental
               Consultants LLC
    1308       TriNet Teledata      7100-000         $0.00       $0.00     $520.00        $181.96
               LLC
    1309       Trinitas Health      7100-000         $0.00       $0.00        $0.00         $0.00
               Foundation
    1310       Trip Consultants     7100-000         $0.00       $0.00    $2,248.00       $786.63
               Corp.
    1311       TROXLER              7100-000         $0.00       $0.00      $80.25         $28.08
               ELECTRONIC
               LABS INC.
    1312       Two Rivers           7100-000         $0.00       $0.00        $0.00         $0.00
               Water
               Reclamation
               Authority
    1313       Uline                7100-000         $0.00       $0.00     $236.98         $82.92
    1314       USA Blue Book        7100-000         $0.00       $0.00     $635.70        $222.45
    1315       USA Corporate        7100-000         $0.00       $0.00     $175.00         $61.24
               Services Inc.
    1316       USA Real Estate      7100-000         $0.00       $0.00        $0.00         $0.00
               Associates Inc.
    1317       Valenzano            7100-000         $0.00       $0.00        $0.00         $0.00
    1318       Van Cleef            7100-000         $0.00       $0.00    $8,715.00      $3,049.58
               Engineering
               Associates
    1319       VANASSE              7100-000         $0.00       $0.00   $12,000.00      $4,199.08
               HANGEN
               BRUSTLIN INC.
    1320       Verizon Wireless     7100-000         $0.00       $0.00        $0.00         $0.00
    1321       Verizon              7100-000         $0.00       $0.00        $0.00         $0.00
    1322       Warren George        7100-000         $0.00       $0.00        $0.00         $0.00
               Inc.
    1323       Waterware            7100-000         $0.00       $0.00    $4,395.00      $1,537.91
               Corporation
    1324       Winchester           7100-000         $0.00       $0.00        $0.00         $0.00
               Gardens

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    1325       Woodard &            7100-000         $0.00          $0.00      $4,999.96       $1,749.60
               Curran Inc.
    1326       Howard C.            7100-000         $0.00          $0.00          $0.00           $0.00
               Birdsall
    1327       Richard Watson       7100-000         $0.00          $0.00          $0.00           $0.00
    1328       Stanley              7100-000         $0.00          $0.00          $0.00           $0.00
               Lewandowski
               Treasurer, State     7300-000         $0.00        $280.00        $280.00         $280.00
               of New Jersey
 TOTAL GENERAL UNSECURED CLAIMS                      $0.00 $75,909,573.59   $7,306,100.98   $2,556,219.44




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                                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                            Page No:    1              Exhibit 8
                                                                                                      ASSET CASES

Case No.:                    13-16743-MBK                                                                                                                Trustee Name:                              Edwin H. Stier
Case Name:                   BIRDSALL SERVICES GROUP, INC.                                                                                               Date Filed (f) or Converted (c):           08/14/2013 (c)
For the Period Ending:       12/3/2021                                                                                                                   §341(a) Meeting Date:
                                                                                                                                                         Claims Bar Date:                           12/26/2013

                                  1                                              2                             3                                 4                        5                                          6

                        Asset Description                                     Petition/                 Estimated Net Value                   Property               Sales/Funds              Asset Fully Administered (FA)/
                         (Scheduled and                                     Unscheduled                (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                                  Value                          Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                      Less Liens, Exemptions,
                                                                                                         and Other Costs)

 Ref. #
1       Investors Savings Bank - Money Market                                   $301,486.10                                     $0.00                                   $301,486.10                                             FA
        account
2       100047 Demand Deposit-Medical Claims                                     $21,905.96                             $21,905.96                                       $20,209.72                                             FA
3       100046 RFH Bank - CD                                                    $121,695.49                            $121,695.49                                      $121,695.49                                             FA
4       100045 Short Term Invest-Premium-6664                                   $200,195.12                            $200,195.12                                      $200,195.12                                             FA
5       100022 Flex Spending Account #3070                                       $20,901.91                             $20,901.91                                       $20,901.91                                             FA
6       100001 Operating Account - BSG 9116                                   $1,564,472.08                          $1,564,472.08                                    $1,564,472.08                                             FA
7       100002 Operating Account - BEI - #5656                                       $6,665.79                           $6,665.79                                        $6,665.79                                             FA
8       100006 Operating Account - PMK #1767                                          $166.00                              $166.00                                            $166.00                                           FA
9       100007 Petty Cash Chkg - Eatown #0178                                        $1,305.74                           $1,305.74                                        $1,305.74                                             FA
10      100017 Petty Cash - Voorhees-4713                                             $643.52                              $643.52                                            $643.52                                           FA
11      100021 Operating Account - TBC #0250                                            $0.00                                   $0.00                                           $0.00                                           FA
        (100021)
12      100024 BSG - CMX Acquisition (NJ)-1958                                       $5,050.04                           $5,050.04                                        $5,050.04                                             FA
13      100055 BOA Operating Acct - LGA-8216                                     $36,674.51                             $36,674.51                                       $36,674.51                                             FA
14      100061 Petty Cash-Eatontown (BEI)                                            $2,116.42                                  $0.00                                           $0.00                                           FA
15      100068 Petty Cash - Cranford(PMK)                                             $500.00                                   $0.00                                           $0.00                                           FA
16      100069 Petty Cash - Voorhees                                                  $500.00                                   $0.00                                           $0.00                                           FA
17      100070 State of New Jersey Escrow#7261                                $1,000,000.00                          $1,000,000.00                                    $1,000,000.00                                             FA
18      Various insurance Refunds (U)                             (u)                Unknown                                     N/A                                     $95,827.37                                             FA
19      170060 Investment - Jungle Lasers, LLC                                   $42,800.00                                     $0.00                                          $39.57                                           FA
20      160005 CSV - Life Ins Policy                                          $2,864,006.49                          $2,864,006.49                                    $3,051,385.26                                             FA
21      T&M Settlement proceeds                                   (u)                Unknown                                     N/A                                  $1,520,000.00                                             FA
22      Directors & Officers Litigation Settlement - U            (u)                Unknown                                     N/A                                  $4,237,500.00                                             FA
23      Bad Debt Recoveries (U)                                   (u)                Unknown                                     N/A                                    $334,763.81                                             FA
Asset Notes:      Accounts Receivable written off by the Debtor pre-petition and recovered by the Trustee.
24      Due from Insured                                                             $6,394.52                           $6,394.52                                        $6,394.52                                             FA
25      Metropolitan Life Insurance Dividends - U                 (u)                Unknown                                     N/A                                      $1,320.00                                             FA
26      Metropolitan Life Insurance Interest - U                  (u)                Unknown                                     N/A                                            $2.46                                           FA
27      170080 Investment- MetLife Shares                                        $49,278.24                              Unknown                                         $78,378.44                                             FA
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                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                            Page No:    2              Exhibit 8
                                                                                         ASSET CASES

Case No.:                    13-16743-MBK                                                                                                   Trustee Name:                               Edwin H. Stier
Case Name:                   BIRDSALL SERVICES GROUP, INC.                                                                                  Date Filed (f) or Converted (c):            08/14/2013 (c)
For the Period Ending:       12/3/2021                                                                                                      §341(a) Meeting Date:
                                                                                                                                            Claims Bar Date:                            12/26/2013

                                 1                                2                               3                                 4                        5                                           6

                        Asset Description                       Petition/                  Estimated Net Value                   Property               Sales/Funds              Asset Fully Administered (FA)/
                         (Scheduled and                       Unscheduled                 (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                    Value                           Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                         Less Liens, Exemptions,
                                                                                            and Other Costs)

28      100150 Due from CMX, Inc.                                 $15,561.44                                       $0.00                                           $0.00                                           FA
29      Due from Stockholders-Notes and Interest                $2,473,264.10                                      $0.00           OA                              $0.00                                           FA
30      Prepaid Insurance and Expenses                           $429,103.64                              $429,103.64                                              $0.00                                           FA
31      Loans due from affiliated parties                        $114,077.15                                       $0.00                                           $0.00                                           FA
32      170065 Investment - BNE, LLC                                   $163.16                                     $0.00                                           $0.00                                           FA
33      170091 Investment - AEIC                                  $37,500.00                                       $0.00                                           $0.00                                           FA
34      Security Deposits                                        $356,269.48                                       $0.00                                           $0.00                                           FA
35      BSG PNC Petty Cash Checking-White Plans                       Unknown                                 $491.00                                            $491.00                                           FA
        (U)
36      BSG PNC - Operating Account (U)                               Unknown                             $241,166.43                                      $241,166.43                                             FA
37      BSG Contribution Receivable (U)                               Unknown                                  $86.00                                             $86.00                                           FA
38      BSG Loans & Exchanges Receivable (U)                          Unknown                                      $0.00                                           $0.00                                           FA
39      BSG Advances/Deposits (U)                                     Unknown                                      $0.00                                           $0.00                                           FA
40      BSG Dividends - (U)                                           Unknown                                       N/A                                           $36.32                                           FA
41      BSG Insurance Plan Change - refund (u)          (u)           Unknown                                       N/A                                     $43,220.40                                             FA
42      Remnant Assets                                  (u)           Unknown                                      $0.00                                     $5,000.00                                             FA
43      Interest earned                                 (u)           Unknown                                      $0.00                                     $2,072.47                                             FA
44      Voided pre-petition checks added back           (u)           Unknown                                      $0.00                                    $31,487.83                                             FA
45      Commissions received                            (u)           Unknown                                      $0.00                                     $2,039.57                                             FA
46      Refunds from vendors relating to pre-petition   (u)           Unknown                                      $0.00                                    $16,831.28                                             FA
        checks written


TOTALS (Excluding unknown value)                                                                                                                                                      Gross Value of Remaining Assets
                                                                $9,672,696.90                          $6,520,924.24                                    $12,947,508.75                                        $0.00




Initial Projected Date Of Final Report (TFR):                                    Current Projected Date Of Final Report (TFR):                                   /s/ EDWIN H. STIER
                                                                                                                                                                 EDWIN H. STIER
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                                        Trustee Name:                         Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                       Bank Name:                            Eatown
Primary Taxpayer ID #:            **-***5216                                                                                          Checking Acct #:                      ******0178
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:                        Petty Cash Chkg
For Period Beginning:             3/29/2013                                                                                           Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                           Separate bond (if applicable):

       1                2                                3                                          4                                                         5                 6                       7

   Transaction       Check /                          Paid to/              Description of Transaction                                 Uniform           Deposit          Disbursement               Balance
      Date            Ref. #                       Received From                                                                      Tran Code            $                   $


08/01/2013            (9)      Balance from Chapter 11 account                                                                         1290-000             $1,305.74                                       $1,305.74
12/23/2015                     Signature Operating Acct #9415        Account closed check# 1021258599 issued.                          9999-000                                     $2,075.74               ($770.00)
12/31/2015            (44)     Unknown                               Ck Num: JLP - Void outstanding pre-petition checks from           1290-000              $770.00                                           $0.00
                                                                     2012 written by Debtor.

                                                                                       TOTALS:                                                              $2,075.74               $2,075.74                  $0.00
                                                                                           Less: Bank transfers/CDs                                             $0.00               $2,075.74
                                                                                       Subtotal                                                             $2,075.74                   $0.00
                                                                                           Less: Payments to debtors                                            $0.00                   $0.00
                                                                                       Net                                                                  $2,075.74                   $0.00



                     For the period of 3/29/2013 to 12/3/2021                                                      For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                       $2,075.74                                   Total Compensable Receipts:                                 $2,075.74
                     Total Non-Compensable Receipts:                       $0.00                                   Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                     $2,075.74                                   Total Comp/Non Comp Receipts:                               $2,075.74
                     Total Internal/Transfer Receipts:                     $0.00                                   Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                      $0.00                                   Total Compensable Disbursements:                                $0.00
                     Total Non-Compensable Disbursements:                  $0.00                                   Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                    $0.00                                   Total Comp/Non Comp Disbursements:                              $0.00
                     Total Internal/Transfer Disbursements:            $2,075.74                                   Total Internal/Transfer Disbursements:                      $2,075.74
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          13-16743-MBK                                                                                   Trustee Name:                         Edwin H. Stier
Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                  Bank Name:
Primary Taxpayer ID #:            **-***5216                                                                                     Checking Acct #:                      ******0007
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                        Petty Cash Chkg - Eatown #0178
For Period Beginning:             3/29/2013                                                                                      Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                      Separate bond (if applicable):

      1                 2                                3                                        4                                                    5                   6                    7

  Transaction        Check /                          Paid to/            Description of Transaction                              Uniform           Deposit          Disbursement            Balance
     Date             Ref. #                       Received From                                                                 Tran Code            $                   $


                                                                                    TOTALS:                                                                $0.00                $0.00                   $0.00
                                                                                        Less: Bank transfers/CDs                                           $0.00                $0.00
                                                                                    Subtotal                                                               $0.00                $0.00
                                                                                        Less: Payments to debtors                                          $0.00                $0.00
                                                                                    Net                                                                    $0.00                $0.00



                     For the period of 3/29/2013 to 12/3/2021                                                 For the entire history of the account between 06/23/2016 to 12/3/2021

                     Total Compensable Receipts:                         $0.00                                Total Compensable Receipts:                                      $0.00
                     Total Non-Compensable Receipts:                     $0.00                                Total Non-Compensable Receipts:                                  $0.00
                     Total Comp/Non Comp Receipts:                       $0.00                                Total Comp/Non Comp Receipts:                                    $0.00
                     Total Internal/Transfer Receipts:                   $0.00                                Total Internal/Transfer Receipts:                                $0.00


                     Total Compensable Disbursements:                    $0.00                                Total Compensable Disbursements:                                 $0.00
                     Total Non-Compensable Disbursements:                $0.00                                Total Non-Compensable Disbursements:                             $0.00
                     Total Comp/Non Comp Disbursements:                  $0.00                                Total Comp/Non Comp Disbursements:                               $0.00
                     Total Internal/Transfer Disbursements:              $0.00                                Total Internal/Transfer Disbursements:                           $0.00
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                                        Trustee Name:                         Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                       Bank Name:                            TBC
Primary Taxpayer ID #:            **-***5216                                                                                          Checking Acct #:                      ******0021
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:                        Operating Account
For Period Beginning:             3/29/2013                                                                                           Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                           Separate bond (if applicable):

       1                2                                3                                           4                                                        5                 6                        7

   Transaction       Check /                          Paid to/               Description of Transaction                                Uniform           Deposit          Disbursement                Balance
      Date            Ref. #                       Received From                                                                      Tran Code            $                   $


08/01/2013            (44)     Balance from Chapter 11 account                                                                         1290-000             ($338.43)                                        ($338.43)
06/05/2014                     Bank of America                       reversal of bank fees                                             2990-000                                        ($1.00)               ($337.43)
12/23/2015                     Signature Operating Acct #9415        Account closed check# 1021258255 issued.                          9999-000                                      $906.07             ($1,243.50)
12/31/2015            (44)     Unknown                               Ck Num: JLP - Void outstanding pre-petition checks from           1290-000             $1,243.50                                           $0.00
                                                                     2010 written by Debtor.

                                                                                        TOTALS:                                                               $905.07                $905.07                    $0.00
                                                                                            Less: Bank transfers/CDs                                            $0.00                $906.07
                                                                                        Subtotal                                                              $905.07                 ($1.00)
                                                                                            Less: Payments to debtors                                           $0.00                  $0.00
                                                                                        Net                                                                   $905.07                 ($1.00)



                     For the period of 3/29/2013 to 12/3/2021                                                      For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                         $905.07                                   Total Compensable Receipts:                                      $905.07
                     Total Non-Compensable Receipts:                       $0.00                                   Total Non-Compensable Receipts:                                    $0.00
                     Total Comp/Non Comp Receipts:                       $905.07                                   Total Comp/Non Comp Receipts:                                    $905.07
                     Total Internal/Transfer Receipts:                     $0.00                                   Total Internal/Transfer Receipts:                                  $0.00


                     Total Compensable Disbursements:                     ($1.00)                                  Total Compensable Disbursements:                               ($1.00)
                     Total Non-Compensable Disbursements:                  $0.00                                   Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                   ($1.00)                                  Total Comp/Non Comp Disbursements:                             ($1.00)
                     Total Internal/Transfer Disbursements:              $906.07                                   Total Internal/Transfer Disbursements:                        $906.07
                                      Case 13-16743-MBK            Doc 1222 Filed 12/10/21
                                                                                   FORM 2 Entered 12/10/21 11:39:02                                         Desc Main
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                                        Trustee Name:                         Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                       Bank Name:                            White Plains
Primary Taxpayer ID #:            **-***5216                                                                                          Checking Acct #:                      ******0026
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:                        BSG: Petty Cash
For Period Beginning:             3/29/2013                                                                                           Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                           Separate bond (if applicable):

       1                2                                3                                          4                                                       5                   6                        7

   Transaction       Check /                          Paid to/              Description of Transaction                                 Uniform           Deposit          Disbursement                Balance
      Date            Ref. #                       Received From                                                                      Tran Code            $                   $


08/13/2013            (35)     Balance from Chapter 11 account                                                                         1290-000             $491.00                                          $491.00
12/24/2015                     Signature Operating Acct #9431        Acct closed check# 1021259018 issued                              9999-000                                      $546.00                 ($55.00)
12/31/2015                     Unknown                               Ck Num: JLP - Void outstanding pre-petition checks                8500-000                                       ($55.00)                  $0.00
                                                                     written by Debtor

                                                                                       TOTALS:                                                              $491.00                  $491.00                    $0.00
                                                                                           Less: Bank transfers/CDs                                           $0.00                  $546.00
                                                                                       Subtotal                                                             $491.00                  ($55.00)
                                                                                           Less: Payments to debtors                                          $0.00                    $0.00
                                                                                       Net                                                                  $491.00                  ($55.00)



                     For the period of 3/29/2013 to 12/3/2021                                                      For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                        $491.00                                    Total Compensable Receipts:                                      $491.00
                     Total Non-Compensable Receipts:                      $0.00                                    Total Non-Compensable Receipts:                                    $0.00
                     Total Comp/Non Comp Receipts:                      $491.00                                    Total Comp/Non Comp Receipts:                                    $491.00
                     Total Internal/Transfer Receipts:                    $0.00                                    Total Internal/Transfer Receipts:                                  $0.00


                     Total Compensable Disbursements:                   ($55.00)                                   Total Compensable Disbursements:                              ($55.00)
                     Total Non-Compensable Disbursements:                 $0.00                                    Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                 ($55.00)                                   Total Comp/Non Comp Disbursements:                            ($55.00)
                     Total Internal/Transfer Disbursements:             $546.00                                    Total Internal/Transfer Disbursements:                        $546.00
                                      Case 13-16743-MBK                  Doc 1222 Filed 12/10/21
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                                                                           CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                              Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                             Bank Name:                         Bank Of America
Primary Taxpayer ID #:             **-***5216                                                                                                Checking Acct #:                  ******0027
Co-Debtor Taxpayer ID #:                                                                                                                     Account Title:                    BSG: Operating Account
For Period Beginning:              3/29/2013                                                                                                 Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                                 Separate bond (if applicable):

       1                2                                  3                                                4                                                       5                6                       7

   Transaction       Check /                             Paid to/                  Description of Transaction                                 Uniform            Deposit      Disbursement                Balance
      Date            Ref. #                          Received From                                                                          Tran Code             $               $


08/13/2013            (36)     Balance from Chapter 11 account                                                                                1290-000          $241,166.43                                 $241,166.43
08/16/2013           1093      ADP, Inc.                                   Payroll Services                                                   2990-000                                   $3,825.49          $237,340.94
08/16/2013           1094      ADP, Inc.                                   VOID:                                                              2990-000                                                      $237,340.94
09/17/2013                     NYC Dept. of Finance                        Ck Num: Auto debit - 2012 NYS Penalties & Interest                 2820-000                                     $36.00           $237,304.94
                                                                           paid
10/02/2013           1095      ADP, Inc.                                   Payroll Services                                                   2990-000                                    $273.61           $237,031.33
10/24/2013           1096      ADP, Inc.                                   Payroll Services                                                   2990-000                                    $333.10           $236,698.23
11/08/2013           1097      US Trustee Payment Center                   U.S. quarterly Trustee Fees                                        2950-000                                    $325.00           $236,373.23
12/02/2013           1099      ADP, Inc.                                   Payroll Services                                                   2990-000                                    $275.90           $236,097.33
12/18/2013            (46)     Comptroller of New York                     2012 Corporate Franchise Tax Refund                                1290-000             $139.00                                  $236,236.33
01/07/2014            (41)     NJ Department of Labor & Workforce Dev.     Insurance Plan Change - refund                                     1290-000           $43,220.40                                 $279,456.73
02/19/2014            1100     ADP, Inc.                                   Payroll Services                                                   2990-000                                     $10.00           $279,446.73
02/26/2014            (37)     Various shareholders                        Ck Num: JLP #2 - to record deposit of Cash Contribution            1290-000              $86.00                                  $279,532.73
02/26/2014            1101     ADP, Inc.                                   Payroll Services                                                   2990-000                                   $2,127.20          $277,405.53
03/17/2014                     NYS Dept. of Finance                        2013 Extension payment                                             2820-000                                   $1,630.00          $275,775.53
03/17/2014                     NYC Dept. of Finance                        2013 Extension payment                                             2820-000                                    $748.00           $275,027.53
05/19/2014                     NJ CAR100                                   Annual report filing                                               2990-000                                     $75.00           $274,952.53
06/13/2014            1102     Mercadien, PC CPA's                         VOID:                                                              3310-000                                                      $274,952.53
06/13/2014            1103     Mercadien, PC CPA's                         Final Ch 11 Fee Application                                        6410-000                                   $4,658.00          $270,294.53
06/13/2014            1104     Mercadien, PC CPA's                         First Ch 7 Fee Application                                         3410-000                               $14,977.00             $255,317.53
07/15/2014           1098      Partner Engineering And Science, Inc.       Westchester County project 06825101000                             8500-002                                   $3,757.55          $251,559.98
09/02/2014            (40)     MetLife                                     Dividend Income                                                    1223-000              $36.32                                  $251,596.30
09/25/2014            (46)     NYC Dept. of Finance                        2013 NYC Bus/1127 Refund                                           1290-000             $804.00                                  $252,400.30
11/07/2014                     State of New York                           2013 NYS refund                                                       *                                       ($802.00)          $253,202.30
                                                                           NYS Dept. of Finance                                  $801.00      2820-000                                                      $253,202.30
                                                                           NYS Dept. of Finance                                      $1.00    2820-000                                                      $253,202.30




                                                                                                                                             SUBTOTALS          $285,452.15          $32,249.85
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                                        Trustee Name:                         Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                       Bank Name:                            Bank Of America
Primary Taxpayer ID #:            **-***5216                                                                                          Checking Acct #:                      ******0027
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:                        BSG: Operating Account
For Period Beginning:             3/29/2013                                                                                           Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                           Separate bond (if applicable):

       1                2                                3                                          4                                                       5                   6                       7

   Transaction       Check /                          Paid to/              Description of Transaction                                 Uniform           Deposit          Disbursement               Balance
      Date            Ref. #                       Received From                                                                      Tran Code            $                   $


11/07/2014                     State of New York                     2013 MTA refund                                                       *                                        ($208.00)          $253,410.30
                                                                     NYS Dept. of Finance                                 $207.00      2820-000                                                        $253,410.30
                                                                     NYS Dept. of Finance                                   $1.00      2820-000                                                        $253,410.30
01/15/2015                     NJ CAR100                             NJ Annual Report                                                  2990-000                                       $50.00           $253,360.30
05/18/2015            1105     ADP, Inc.                             Payroll Services                                                  2990-000                                       $26.15           $253,334.15
11/04/2015            1106     ADP, Inc.                             Payroll Services - invoice #462789559                             2990-000                                       $17.55           $253,316.60
11/16/2015                     NJ CAR100                             Ck Num: ELF - NJ Annual Report                                    2990-000                                       $50.00           $253,266.60
12/24/2015                     Signature Operating Acct #9431        Acct closed check# 1021258258 issued                              9999-000                                $253,275.45                     ($8.85)
12/31/2015                     Unknown                               Ck Num: JLP - Void outstanding pre-petition checks                2990-000                                       ($8.85)                  $0.00
                                                                     written by Debtor

                                                                                        TOTALS:                                                          $285,452.15           $285,452.15                     $0.00
                                                                                            Less: Bank transfers/CDs                                           $0.00           $253,275.45
                                                                                        Subtotal                                                         $285,452.15            $32,176.70
                                                                                            Less: Payments to debtors                                          $0.00                 $0.00
                                                                                        Net                                                              $285,452.15            $32,176.70



                     For the period of 3/29/2013 to 12/3/2021                                                      For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                     $285,452.15                                   Total Compensable Receipts:                               $285,452.15
                     Total Non-Compensable Receipts:                       $0.00                                   Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                   $285,452.15                                   Total Comp/Non Comp Receipts:                             $285,452.15
                     Total Internal/Transfer Receipts:                     $0.00                                   Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                 $28,419.15                                   Total Compensable Disbursements:                           $28,419.15
                     Total Non-Compensable Disbursements:              $3,757.55                                   Total Non-Compensable Disbursements:                        $3,757.55
                     Total Comp/Non Comp Disbursements:               $32,176.70                                   Total Comp/Non Comp Disbursements:                         $32,176.70
                     Total Internal/Transfer Disbursements:          $253,275.45                                   Total Internal/Transfer Disbursements:                    $253,275.45
                                       Case 13-16743-MBK              Doc 1222 Filed 12/10/21
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                             Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                            Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                               Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                    Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                                Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                Separate bond (if applicable):

       1                2                                     3                                        4                                          5                 6                       7

   Transaction       Check /                             Paid to/              Description of Transaction                    Uniform            Deposit      Disbursement                Balance
      Date            Ref. #                          Received From                                                         Tran Code             $               $


01/11/2016            (18)     Cigna-CHLIC                              cmp refund - acct closed                             1290-000           $1,699.85                                       $1,699.85
01/11/2016            (23)     Township of Stafford                     refund of escrow fees                                1221-000              $35.50                                       $1,735.35
01/11/2016                     Bank of America                          Ck Num: JLP - From BOA accts into Signature          9999-000        $3,994,184.97                               $3,995,920.32
01/19/2016                     international Sureties, LTD.             Ck Num: JLP - For CHK 1002 voided on 02/01/2016      2300-000                                   $1,737.31        $3,994,183.01
01/19/2016           1001      Public Storage                           dishonored check fee                                 2990-000                                     $25.00         $3,994,158.01
01/19/2016           1002      international Sureties, LTD.             VOID: Bond #016026385 premium payment GJE, RGJE      2300-000                                                    $3,994,158.01
                                                                        created on 02/01/2016
01/19/2016           1003      Anthony Sodono, III                      Mediator fees accrued at 12/31/15                    3721-000                                   $1,791.65        $3,992,366.36
01/25/2016           1004      Wasserman, Jurista & Stolz, PC           Legal fees                                           3210-000                               $13,297.24           $3,979,069.12
01/27/2016           1005      international Sureties, LTD.             Trustee Bond                                         2300-000                                   $1,737.31        $3,977,331.81
02/01/2016                     international Sureties, LTD.             Ck Num: JLPR - Reverse of GJE JLP -- For CHK 1002    2300-000                               ($1,737.31)          $3,979,069.12
                                                                        voided on 02/01/2016
02/13/2016           1006      Public Storage                           Rent-Storage                                         2410-000                                    $105.93         $3,978,963.19
02/15/2016            (18)     Amguard Ins.                             Insurance refund                                     1290-000             $195.00                                $3,979,158.19
03/02/2016            (19)     Jungle Lasers, LLC                       Distribution from Jungle Lasers, LLC                 1129-000              $39.57                                $3,979,197.76
03/15/2016           1007      Public Storage                           Rent-Storage                                         2410-000                                    $105.93         $3,979,091.83
03/24/2016                     Signature Payroll Acct #9423             Funds Transfer                                       9999-000                               $45,000.00           $3,934,091.83
04/15/2016           1008      Public Storage                           Rent-Storage                                         2410-000                                    $103.93         $3,933,987.90
04/20/2016           1009      ADP, Inc.                                Payroll Services                                     2990-000                                    $150.25         $3,933,837.65
04/22/2016                     ADP Inc                                                                                       2990-000                               ($1,000.00)          $3,934,837.65
04/22/2016           1010      Public Storage                           BALANCE DUE ON STORAGE FOR APRIL                     2410-000                                      $2.00         $3,934,835.65
05/17/2016           1012      ADP, Inc.                                Payroll Services                                     2990-000                                     $44.75         $3,934,790.90
05/23/2016            1011     Public Storage                                                                                2410-000                                    $105.93         $3,934,684.97
06/02/2016                     NJ Division of Taxation                  NJ CAR 100 Payment                                   2990-000                                     $50.00         $3,934,634.97
06/14/2016           1013      Public Storage                                                                                2410-000                                    $113.42         $3,934,521.55




                                                                                                                            SUBTOTALS        $3,996,154.89          $61,633.34
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                           Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                          Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                             Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                  Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                              Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                              Separate bond (if applicable):

       1                2                                3                                            4                                        5                 6                       7

   Transaction       Check /                          Paid to/              Description of Transaction                     Uniform           Deposit       Disbursement               Balance
      Date            Ref. #                       Received From                                                          Tran Code            $                $


06/24/2016           1014      Mercadien, P.C., CPAs                 $281115.30 services                                      *                                  $285,806.61          $3,648,714.94
                                                                     $1382.17 expenses
                                                                     docket 760
                                                                     Mercadien, PC CPAs                    $(73,588.19)    3410-000                                                   $3,648,714.94
                                                                     Mercadien, PC CPAs                     $(1,382.17)    3410-000                                                   $3,648,714.94
                                                                     Mercadien, PC CPAs                   $(210,836.25)    3410-000                                                   $3,648,714.94
06/24/2016           1015      Wasserman, Jurista & Stolz PC         $95410 services                                          *                                   $96,443.97          $3,552,270.97
                                                                     $1033.97 expenses
                                                                     docket 772
                                                                     Wasserman, Jurista & Stolz, PC        $(95,410.00)    3210-000                                                   $3,552,270.97
                                                                     Wasserman, Jurista & Stolz, PC         $(1,033.97)    3210-000                                                   $3,552,270.97
06/24/2016           1016      Mercadien, P.C., CPAs                                                                       3410-000                                                   $3,552,270.97
07/07/2016                     Signature Bank                        Account Analysis Fee                                  2600-000                                  $2,701.91        $3,549,569.06
07/15/2016           1017      Public Storage                                                                              2410-000                                   $113.42         $3,549,455.64
07/27/2016            (18)     Cigna-CHLIC                                                                                 1290-000             $32.19                                $3,549,487.83
07/27/2016            (18)     Cigna-CHLIC                                                                                 1290-000            $220.73                                $3,549,708.56
08/02/2016           1018      ADP Inc                               check 1018                                            2990-000                                   $134.20         $3,549,574.36
08/05/2016                     Signature Bank                        Account Analysis Fee                                  2600-000                                  $2,776.38        $3,546,797.98
08/05/2016                     ADP Inc                                                                                     2990-000                                    $10.47         $3,546,787.51
08/24/2016           1019      Public Storage                                                                              2410-000                                   $113.42         $3,546,674.09
08/30/2016            (23)     Verizon                                                                                     1221-000             $22.44                                $3,546,696.53
09/02/2016           1020      Public Storage                                                                              2410-000                                   $113.42         $3,546,583.11
09/06/2016                     Signature Bank                        Account Analysis Fee                                  2600-000                                  $2,775.84        $3,543,807.27
10/04/2016           1021      ADP Inc                                                                                     2990-000                                    $27.35         $3,543,779.92
10/05/2016                     Signature Bank                        Account Analysis Fee                                  2600-000                                  $2,686.32        $3,541,093.60
10/06/2016            (23)     Borough of Eatontown                                                                        1221-000            $200.00                                $3,541,293.60
10/13/2016           1022      Public Storage                                                                              2410-000                                   $113.42         $3,541,180.18
11/03/2016                     Signature Bank                        Account Analysis Fee                                  2600-000                                  $2,775.74        $3,538,404.44
11/12/2016           1023      ADP Inc                                                                                     2990-000                                    $53.50         $3,538,350.94
                                                                                                                          SUBTOTALS             $475.36        $396,645.97
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                            Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                           Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                              Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                               Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                               Separate bond (if applicable):

       1                2                                   3                                           4                                         5                6                       7

   Transaction       Check /                            Paid to/              Description of Transaction                    Uniform            Deposit      Disbursement                Balance
      Date            Ref. #                         Received From                                                         Tran Code             $               $


11/12/2016           1024      Public Storage                                                                               2410-000                                    $113.42         $3,538,237.52
12/05/2016                     Signature Bank                          Account Analysis Fee                                 2600-000                                   $2,686.17        $3,535,551.35
12/12/2016           1025      Public Storage                                                                               2410-000                                    $113.42         $3,535,437.93
01/03/2017           1026      International Sureties Ltd                                                                   2300-000                                   $1,136.49        $3,534,301.44
01/05/2017                     Signature Bank                          Account Analysis Fee                                 2600-000                                   $2,775.72        $3,531,525.72
01/11/2017            (21)     Wasserman Escrow Account                Final payment                                        1249-000          $120,000.00                               $3,651,525.72
01/16/2017           1027      Public Storage                                                                               2410-000                                    $113.29         $3,651,412.43
02/03/2017                     Signature Bank                          Account Analysis Fee                                 2600-000                                   $2,779.84        $3,648,632.59
02/13/2017           1028      Public Storage                                                                               2410-000                                    $113.16         $3,648,519.43
03/03/2017                     Signature Bank                          Account Analysis Fee                                 2600-000                                   $2,512.58        $3,646,006.85
03/13/2017                     State of New Jersey - CBT               2016 tax rtn                                         2820-000                                    $562.00         $3,645,444.85
03/13/2017                     State of New Jersey - CBT               2017 estimate                                        2820-000                                    $570.00         $3,644,874.85
03/13/2017           1029      Wasserman, Jurista & Stolz PC           $25315 services                                         *                                   $26,203.49           $3,618,671.36
                                                                       $888.49 expenses
                                                                       docket 801
                                                                       Wasserman, Jurista & Stolz, PC       $(25,315.00)    3210-000                                                    $3,618,671.36
                                                                       Wasserman, Jurista & Stolz, PC         $(888.49)     3210-000                                                    $3,618,671.36
03/13/2017           1030      Public Storage                                                                               2410-000                                    $113.16         $3,618,558.20
03/13/2017           1031      Mercadien, P.C., CPAs                   balance of 3rd fee app                               3410-000                               $70,279.05           $3,548,279.15
03/13/2017           1032      Mercadien, P.C., CPAs                   $72532.80 services                                      *                                   $72,917.71           $3,475,361.44
                                                                       $348.91 expenses
                                                                       docket 796
                                                                       Mercadien, PC CPAs                   $(72,532.80)    3410-000                                                    $3,475,361.44
                                                                       Mercadien, PC CPAs                     $(384.91)     3410-000                                                    $3,475,361.44
03/21/2017                     ADP, Inc.                               Refund of past fees                                  2990-000                               ($2,608.85)          $3,477,970.29
04/01/2017           1033      ADP Inc                                                                                      2990-000                                    $382.90         $3,477,587.39
04/05/2017                     Signature Bank                          Account Analysis Fee                                 2600-000                                   $2,788.90        $3,474,798.49
04/15/2017           1034      Public Storage                                                                               2410-000                                    $113.42         $3,474,685.07
04/18/2017                     State of New Jersey - CBT               2017 estimate                                        2820-000                                    $570.00         $3,474,115.07
                                                                                                                           SUBTOTALS          $120,000.00       $184,235.87
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                            Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                           Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                              Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                               Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                               Separate bond (if applicable):

       1                2                                 3                                             4                                       5                6                       7

   Transaction       Check /                            Paid to/               Description of Transaction                   Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                         Received From                                                         Tran Code            $                $


05/02/2017                     Signature Bank                          annual report fee                                    2990-000                                    $0.50         $3,474,114.57
05/02/2017                     State of New Jersey                     annual report fee                                    2990-000                                   $50.00         $3,474,064.57
05/03/2017                     Signature Bank                          Account Analysis Fee                                 2600-000                                 $2,703.54        $3,471,361.03
05/16/2017           1035      Public Storage                                                                               2410-000                                  $113.29         $3,471,247.74
06/05/2017                     Signature Bank                          Account Analysis Fee                                 2600-000                                 $2,793.63        $3,468,454.11
06/14/2017           1036      Public Storage                                                                               2410-000                                  $121.84         $3,468,332.27
07/06/2017                     Signature Bank                          Account Analysis Fee                                 2600-000                                 $2,703.51        $3,465,628.76
07/25/2017           1037      Public Storage                                                                               2410-000                                  $121.84         $3,465,506.92
08/01/2017           1038      State of New Jersey                     DOL Annual Assessment                                2820-000                                   $17.40         $3,465,489.52
08/03/2017                     Signature Bank                          Account Analysis Fee                                 2600-000                                 $2,793.62        $3,462,695.90
08/14/2017           1039      Public Storage                                                                               2410-000                                  $121.84         $3,462,574.06
09/06/2017                     Signature Bank                          Account Analysis Fee                                 2600-000                                 $2,793.64        $3,459,780.42
09/12/2017           1040      Public Storage                                                                               2410-000                                  $121.84         $3,459,658.58
09/27/2017           1041      ADP Inc                                                                                      2990-000                                   $27.35         $3,459,631.23
10/04/2017                     Signature Bank                          Account Analysis Fee                                 2600-000                                 $2,703.54        $3,456,927.69
10/17/2017           1042      Public Storage                                                                               2410-000                                  $121.84         $3,456,805.85
10/25/2017           1043      Wasserman, Jurista & Stolz PC           $25785 services                                         *                                   $27,089.03         $3,429,716.82
                                                                       $1304.03 expenses
                                                                       docket 855
                                                                       Wasserman, Jurista & Stolz, PC       $(25,785.00)    3210-000                                                  $3,429,716.82
                                                                       Wasserman, Jurista & Stolz, PC        $(1,304.03)    3210-000                                                  $3,429,716.82
11/03/2017                     Signature Bank                          Account Analysis Fee                                 2600-000                                 $2,793.67        $3,426,923.15
11/07/2017           1044      Wasserman, Jurista & Stolz PC           $17417.50 services                                      *                                   $18,879.56         $3,408,043.59
                                                                       $1462.06 expenses
                                                                       docket 821
                                                                       Wasserman, Jurista & Stolz, PC       $(17,417.50)    3210-000                                                  $3,408,043.59
                                                                       Wasserman, Jurista & Stolz, PC        $(1,462.06)    3210-000                                                  $3,408,043.59
11/13/2017           1045      Public Storage                                                                               2410-000                                  $121.84         $3,407,921.75
11/17/2017            (23)     Clara Mass Medical                                                                           1221-000          $1,985.00                               $3,409,906.75
                                                                                                                           SUBTOTALS           $1,985.00         $66,193.32
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                             Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                            Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                               Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                    Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                                Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                Separate bond (if applicable):

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   Transaction       Check /                            Paid to/              Description of Transaction                     Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                         Received From                                                          Tran Code            $                $


12/05/2017                     Signature Bank                          Account Analysis Fee                                  2600-000                                 $2,705.43        $3,407,201.32
12/08/2017           1046      ADP Inc                                                                                       2990-000                                   $27.35         $3,407,173.97
12/12/2017           1047      Public Storage                                                                                2410-000                                  $121.55         $3,407,052.42
12/31/2017                     State of New Jersey - CBT               reverse of additional payment                         2820-000                                 ($570.00)        $3,407,622.42
01/04/2018                     Signature Bank                          Account Analysis Fee                                  2600-000                                 $2,795.33        $3,404,827.09
01/08/2018           1048      International Sureties Ltd                                                                    2300-000                                 $1,088.18        $3,403,738.91
01/12/2018           1049      Public Storage                                                                                2410-000                                  $121.55         $3,403,617.36
01/29/2018           1050      Mercadien, P.C., CPAs                   $72175.90 services                                       *                                   $72,208.10         $3,331,409.26
                                                                       $32.20 expenses
                                                                       docket 873
                                                                       Mercadien, PC CPAs                    $(72,175.90)    3410-000                                                  $3,331,409.26
                                                                       Mercadien, PC CPAs                        $(32.20)    3410-000                                                  $3,331,409.26
02/05/2018                     Signature Bank                          Account Analysis Fee                                  2600-000                                 $2,795.34        $3,328,613.92
02/13/2018           1051      Public Storage                                                                                2410-000                                  $121.55         $3,328,492.37
02/13/2018           1052      ElevenX LLC                             $4125 services                                        3731-000                                 $4,125.00        $3,324,367.37
                                                                       docket 887
02/13/2018           1053      Wasserman, Jurista & Stolz PC           $8732.50 services                                        *                                     $8,772.20        $3,315,595.17
                                                                       $39.70 expenses
                                                                       docket 888
                                                                       Wasserman, Jurista & Stolz, PC         $(8,732.50)    3210-000                                                  $3,315,595.17
                                                                       Wasserman, Jurista & Stolz, PC            $(39.70)    3210-000                                                  $3,315,595.17
02/26/2018           1054      Edwin H Stier                           dockets 896 all fee no expenses                       2100-000                            $148,971.30           $3,166,623.87
03/05/2018                     Signature Bank                          Account Analysis Fee                                  2600-000                                 $2,522.01        $3,164,101.86
03/08/2018           1055      ADP Inc                                                                                       2990-000                                   $27.35         $3,164,074.51
03/12/2018           1056      Public Storage                                                                                2410-000                                  $142.07         $3,163,932.44
04/04/2018                     Signature Bank                          Account Analysis Fee                                  2600-000                                 $2,784.91        $3,161,147.53
04/16/2018           1057      Public Storage                                                                                2410-000                                  $121.55         $3,161,025.98
04/17/2018                     State of New Jersey                                                                           2820-000                                  $375.00         $3,160,650.98
05/03/2018                     Signature Bank                          Account Analysis Fee                                  2600-000                                 $2,693.25        $3,157,957.73

                                                                                                                            SUBTOTALS                $0.00       $251,949.02
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                  Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                 Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                    Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                         Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                     Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                     Separate bond (if applicable):

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   Transaction       Check /                             Paid to/              Description of Transaction         Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                          Received From                                              Tran Code            $                $


05/09/2018                     ADP Inc                                                                            2990-000                                  ($10.47)        $3,157,968.20
05/09/2018           1018      ADP Inc                                                                            2990-000                                 ($134.20)        $3,158,102.40
05/14/2018           1058      Public Storage                                                                     2410-000                                  $121.55         $3,157,980.85
05/21/2018                     State of New Jersey                      annual fee                                2990-000                                   $50.50         $3,157,930.35
06/04/2018           1059      Public Storage                                                                     2410-000                                  $133.28         $3,157,797.07
06/05/2018                     Signature Bank                           Account Analysis Fee                      2600-000                                 $2,783.00        $3,155,014.07
06/14/2018           1060      ADP Inc                                                                            2990-000                                   $27.35         $3,154,986.72
06/28/2018           1061      611 Industrial Way LLC                                                             6920-000                                 $9,879.21        $3,145,107.51
07/05/2018                     Signature Bank                           Account Analysis Fee                      2600-000                                 $2,693.22        $3,142,414.29
07/16/2018           1062      Public Storage                                                                     2410-000                                  $133.28         $3,142,281.01
08/03/2018                     Signature Bank                           Account Analysis Fee                      2600-000                                 $2,782.52        $3,139,498.49
08/16/2018           1063      Public Storage                                                                     2410-000                                  $133.28         $3,139,365.21
09/06/2018                     Signature Bank                           Account Analysis Fee                      2600-000                                 $2,782.44        $3,136,582.77
09/14/2018           1064      Public Storage                                                                     2410-000                                  $133.28         $3,136,449.49
10/03/2018                     Signature Bank                           Account Analysis Fee                      2600-000                                 $2,692.68        $3,133,756.81
10/15/2018           1065      Public Storage                                                                     2410-000                                  $133.28         $3,133,623.53
11/05/2018                     Signature Bank                           Account Analysis Fee                      2600-000                                 $2,782.47        $3,130,841.06
11/12/2018            (23)     Grainger                                                                           1221-000            $301.60                               $3,131,142.66
11/12/2018            (23)     Township of Stafford                                                               1221-000            $384.00                               $3,131,526.66
11/13/2018                     ADP Inc                                                                            2990-000                                 $1,000.00        $3,130,526.66
11/20/2018           1066      Public Storage                                                                     2410-000                                  $133.28         $3,130,393.38
12/05/2018                     Signature Bank                           Account Analysis Fee                      2600-000                                 $2,692.73        $3,127,700.65
12/13/2018           1067      Public Storage                                                                     2410-000                                  $133.28         $3,127,567.37
01/04/2019            (18)     Cigna-CHLIC                                                                        1290-000             $86.76                               $3,127,654.13
01/04/2019                     Signature Bank                           Account Analysis Fee                      2600-000                                 $2,782.49        $3,124,871.64
01/05/2019            (18)     US Specialty Insurance                                                             1290-000          $15,595.12                              $3,140,466.76
01/08/2019           1068      International Sureties Ltd                                                         2300-000                                 $1,004.91        $3,139,461.85


                                                                                                                 SUBTOTALS          $16,367.48         $34,863.36
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                            Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                           Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                              Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                               Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                               Separate bond (if applicable):

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   Transaction       Check /                            Paid to/              Description of Transaction                    Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                         Received From                                                         Tran Code            $                $


01/17/2019           1069      Public Storage                                                                               2410-000                                  $133.28         $3,139,328.57
02/05/2019                     Signature Bank                          Account Analysis Fee                                 2600-000                                 $2,783.17        $3,136,545.40
02/13/2019           1070      Public Storage                                                                               2410-000                                  $133.28         $3,136,412.12
02/28/2019                     State of New Jersey - CBT               annual report                                        2990-000                                   $50.50         $3,136,361.62
03/01/2019            (18)     Cigna-CHLIC                                                                                  1290-000          $1,217.36                               $3,137,578.98
03/01/2019           1071      BMC Group Information Management                                                             2990-000                                 $2,616.99        $3,134,961.99
03/05/2019                     Signature Bank                          Account Analysis Fee                                 2600-000                                 $2,513.96        $3,132,448.03
03/08/2019                     State of New Jersey                                                                          2820-000                                  $375.00         $3,132,073.03
03/08/2019           1072      Wasserman, Jurista & Stolz PC           $54822.50 services                                      *                                   $57,503.40         $3,074,569.63
                                                                       $2680.90 expenses
                                                                       docket 959
                                                                       Wasserman, Jurista & Stolz, PC       $(54,822.50)    3210-000                                                  $3,074,569.63
                                                                       Wasserman, Jurista & Stolz, PC        $(2,680.90)    3210-000                                                  $3,074,569.63
03/13/2019           1073      Public Storage                                                                               2410-000                                  $133.28         $3,074,436.35
03/27/2019                     ADP, Inc.                               Refund for past fees                                 2990-000                               ($1,000.00)        $3,075,436.35
04/03/2019                     Signature Bank                          Account Analysis Fee                                 2600-000                                 $2,782.29        $3,072,654.06
04/16/2019           1074      Public Storage                                                                               2410-000                                  $133.28         $3,072,520.78
04/30/2019           1075      Public Storage                                                                               2410-000                                  $133.28         $3,072,387.50
05/03/2019                     Signature Bank                          Account Analysis Fee                                 2600-000                                 $2,690.35        $3,069,697.15
05/21/2019           1076      Mercadien, P.C., CPAs                   $56323.80 services                                      *                                   $56,434.34         $3,013,262.81
                                                                       $110.54 expenses
                                                                       dockets 927
                                                                       Mercadien, PC CPAs                   $(56,323.80)    3410-000                                                  $3,013,262.81
                                                                       Mercadien, PC CPAs                     $(110.54)     3410-000                                                  $3,013,262.81
05/21/2019           1077      Public Storage                                                                               2410-000                                  $133.28         $3,013,129.53
06/05/2019                     Signature Bank                          Account Analysis Fee                                 2600-000                                 $2,780.02        $3,010,349.51




                                                                                                                           SUBTOTALS           $1,217.36        $130,329.70
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                           Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                          Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                             Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                  Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                              Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                              Separate bond (if applicable):

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   Transaction       Check /                           Paid to/              Description of Transaction                    Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                        Received From                                                         Tran Code            $                $


06/10/2019           1078      Wasserman, Jurista & Stolz PC          $32880 services                                         *                                   $36,463.05         $2,973,886.46
                                                                      $3583.05 expenses
                                                                      dockets 1077
                                                                      Wasserman, Jurista & Stolz, PC       $(32,880.00)    3210-000                                                  $2,973,886.46
                                                                      Wasserman, Jurista & Stolz, PC        $(3,583.05)    3210-000                                                  $2,973,886.46
06/13/2019           1077      Public Storage                                                                              2410-000                                 ($133.28)        $2,974,019.74
06/13/2019           1079      Public Storage                                                                              2410-000                                  $154.61         $2,973,865.13
07/03/2019                     Signature Bank                         Account Analysis Fee                                 2600-000                                 $2,690.46        $2,971,174.67
07/15/2019           1080      Public Storage                                                                              2410-000                                  $154.61         $2,971,020.06
08/05/2019                     Signature Bank                         Account Analysis Fee                                 2600-000                                 $2,778.33        $2,968,241.73
08/13/2019           1081      Public Storage                                                                              2410-000                                  $154.61         $2,968,087.12
09/04/2019                     Transfer From: #MM                     Account closed                                       9999-000          $75,762.61                              $3,043,849.73
09/05/2019                     Signature Bank                         Account Analysis Fee                                 2600-000                                 $2,778.38        $3,041,071.35
09/09/2019           1082      Public Storage                                                                              2410-000                                  $180.71         $3,040,890.64
10/03/2019                     Signature Bank                         Account Analysis Fee                                 2600-000                                 $2,692.01        $3,038,198.63
10/14/2019           1083      Public Storage                                                                              2410-000                                  $154.61         $3,038,044.02
11/05/2019                     Signature Bank                         Account Analysis Fee                                 2600-000                                 $2,782.92        $3,035,261.10
11/13/2019           1085      Public Storage                                                                              2410-000                                  $154.61         $3,035,106.49
12/04/2019                     Signature Bank                         Account Analysis Fee                                 2600-000                                 $2,693.19        $3,032,413.30
12/17/2019           1087      Daniel Gagliardo                                                                               *                                     $1,472.82        $3,030,940.48
                                                                      Gross vacation/personal               $(1,968.89)    5300-000                                                  $3,030,940.48
                                                                      withholding taxes                       $496.07      5300-000                                                  $3,030,940.48
12/17/2019           1088      Douglas Miller                                                                                 *                                     $1,509.42        $3,029,431.06
                                                                      Gross vacation/personal               $(1,811.25)    5300-000                                                  $3,029,431.06
                                                                      withholding taxes                       $301.83      5300-000                                                  $3,029,431.06
12/17/2019           1089      Ralph Rocco                                                                                    *                                       $20.17         $3,029,410.89
                                                                      Gross vacation/personal                  $(22.00)    5300-000                                                  $3,029,410.89
                                                                      withholding taxes                          $1.83     5300-000                                                  $3,029,410.89


                                                                                                                          SUBTOTALS          $75,762.61         $56,701.23
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                            Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                           Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                                              Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                                   Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                                               Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                               Separate bond (if applicable):

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   Transaction       Check /                           Paid to/              Description of Transaction                                     Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                        Received From                                                                          Tran Code            $                $


12/17/2019           1090      Pedro Faria                                                                                                     *                                       $28.65         $3,029,382.24
                                                                      Gross vacation/personal                                  $(31.25)     5300-000                                                  $3,029,382.24
                                                                      withholding taxes                                           $2.60     5300-000                                                  $3,029,382.24
12/18/2019           1091      Public Storage                                                                                               2410-000                                  $154.61         $3,029,227.63
01/06/2020                     Signature Bank                         Account Analysis Fee                                                  2600-000                                 $2,784.36        $3,026,443.27
01/13/2020           1092      Public Storage                                                                                               2410-000                                  $154.61         $3,026,288.66
01/14/2020           1093      United States Treasury                 2019 FUTA tax                                                         5800-000                                   $23.00         $3,026,265.66
01/21/2020                     STATE OF NEW JERSEY                                                                                             *                                      $188.59         $3,026,077.07
                                                                                                                                 $(0.21)    5300-000                                                  $3,026,077.07
                                                                                                                              $(121.51)     5300-000                                                  $3,026,077.07
                                                                                                                                 $(0.15)    5300-000                                                  $3,026,077.07
                                                                      NJ employer tax                                          $(66.72)     5800-000                                                  $3,026,077.07
02/03/2020           1088      VOID: Douglas Miller                                                                                            *                                   ($1,509.42)        $3,027,586.49
                                                                      Gross vacation/personal                                $1,811.25      5300-003                                                  $3,027,586.49
                                                                      withholding taxes                                       $(301.83)     5300-003                                                  $3,027,586.49
02/03/2020           1094      United States Treasury                                                                                          *                                      $973.72         $3,026,612.77
                                                                                                                                 $(2.39)    5300-000                                                  $3,026,612.77
                                                                                                                              $(374.56)     5300-000                                                  $3,026,612.77
                                                                                                                              $(301.83)     5300-000                                                  $3,026,612.77
                                                                                                                                 $(1.68)    5300-000                                                  $3,026,612.77
                                                                      Employer fica and medi taxes                            $(293.26)     5800-000                                                  $3,026,612.77
02/03/2020           1095      Douglas Miller                         Claimant lost original chk # 1088. New check issued.                     *                                     $1,509.42        $3,025,103.35
                                                                                                                             $(1,811.25)    5300-000                                                  $3,025,103.35
                                                                      Tax withheld.                                            $301.83      5300-000                                                  $3,025,103.35
02/05/2020                     Signature Bank                         Account Analysis Fee                                                  2600-000                                 $2,799.26        $3,022,304.09
02/13/2020           1096      Public Storage                                                                                               2410-000                                  $154.61         $3,022,149.48
02/19/2020           1097      Mercadien PC CPAs                                                                                               *                                   $53,326.36         $2,968,823.12
                                                                      Mercadien, PC CPAs                                $(53,189.35)        3410-000                                                  $2,968,823.12
                                                                      Mercadien, PC CPAs                                      $(137.01)     3410-000                                                  $2,968,823.12


                                                                                                                                           SUBTOTALS                $0.00        $60,587.77
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                                                                             CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                           Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                          Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                                             Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                                  Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                                              Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                              Separate bond (if applicable):

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   Transaction       Check /                            Paid to/                     Description of Transaction                            Uniform            Deposit      Disbursement              Balance
      Date            Ref. #                         Received From                                                                        Tran Code             $               $


03/02/2020           1098      International Surities Ltd                    Trustee bond 1/1/20 - 1/1/21                                  2300-000                                 $1,225.00        $2,967,598.12
03/04/2020                     Signature Bank                                Account Analysis Fee                                          2600-000                                 $2,624.26        $2,964,973.86
03/09/2020           1099      American Interntational Group, Inc.           Per Order entered in 2017.                                    6990-000                                $20,331.54        $2,944,642.32
03/12/2020            1100     Public Storage                                April                                                         2410-000                                  $154.61         $2,944,487.71
04/03/2020                     Signature Bank                                Account Analysis Fee                                          2600-000                                 $2,806.11        $2,941,681.60
04/16/2020                     STATE OF NEW JERSEY                           2019 NJ tax                                                   2820-000                                  $375.00         $2,941,306.60
04/16/2020            1101     Public Storage                                May rental                                                    2410-000                                  $154.61         $2,941,151.99
04/20/2020                     STATE OF NEW JERSEY                           Annual NJ reporting                                              *                                       $75.50         $2,941,076.49
                                                                             STATE OF NEW JERSEY                               $(50.00)    2820-000                                                  $2,941,076.49
                                                                             STATE OF NEW JERSEY                                $(0.50)    2820-000                                                  $2,941,076.49
                                                                             STATE OF NEW JERSEY                               $(25.00)    2820-000                                                  $2,941,076.49
05/05/2020                     Signature Bank                                Account Analysis Fee                                          2600-000                                 $2,715.79        $2,938,360.70
05/06/2020            (42)     Oak Point Partners                                                                                          1229-000            $5,000.00                             $2,943,360.70
05/12/2020           1099      VOID: American Interntational Group, Inc.                                                                   6990-003                             ($20,331.54)         $2,963,692.24
05/13/2020            1102     Lexington Insurance Company.                  Reissued check per Trustee                                    6990-000                                $20,331.54        $2,943,360.70
05/13/2020            1103     Public Storage                                                                                              2410-000                                  $154.61         $2,943,206.09
06/03/2020                     Signature Bank                                Account Analysis Fee                                          2600-000                                 $2,806.51        $2,940,399.58
06/19/2020            1104     Public Storage                                July 2020                                                     2410-000                                  $168.47         $2,940,231.11
07/03/2020                     Signature Bank                                Account Analysis Fee                                          2600-000                                 $2,715.32        $2,937,515.79
07/14/2020            1105     Public Storage                                For August 2020                                               2410-000                                  $168.47         $2,937,347.32
08/05/2020                     Signature Bank                                Account Analysis Fee                                          2600-000                                 $2,805.54        $2,934,541.78
08/13/2020            1106     Public Storage                                For Sept 2020                                                 2410-000                                  $168.47         $2,934,373.31
09/03/2020                     Signature Bank                                Account Analysis Fee                                          2600-000                                 $2,805.53        $2,931,567.78
09/10/2020            1107     Wasserman, Jurista & Stolz                    Approved final fee application                                3210-000                                $39,945.82        $2,891,621.96
09/10/2020            1108     Edwin H. Stier                                Approved final fee application                                2100-000                            $112,244.20           $2,779,377.76
09/10/2020            1109     Mercadien PC CPAs                             Approved Final fee application                                3410-000                                $78,822.02        $2,700,555.74
09/22/2020                     Transfer From: #******9423                    Close out account and transfer to main account.               9999-000            $8,235.24                             $2,708,790.98
09/22/2020                     Transfer From: #******9431                                                                                  9999-000          $166,349.08                             $2,875,140.06
                                                                                                                                          SUBTOTALS          $179,584.32       $273,267.38
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                        Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                       Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                                          Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                               Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                                           Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                           Separate bond (if applicable):

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   Transaction       Check /                           Paid to/                Description of Transaction                               Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                        Received From                                                                      Tran Code            $                $


09/22/2020           1090      VOID: Pedro Faria                                                                                           *                                      ($28.65)        $2,875,168.71
                                                                        Gross vacation/personal                              $31.25     5300-003                                                  $2,875,168.71
                                                                        withholding taxes                                    $(2.60)    5300-003                                                  $2,875,168.71
09/22/2020            1110     Public Storage                           October 2020 rent - last month                                  2410-000                                  $168.47         $2,875,000.24
09/24/2020            1111     Land Resource Consultants Inc.           BSG Landscaping and Engineering                                 6910-000                                 $5,055.75        $2,869,944.49
09/24/2020            1112     STATE OF NEW JERSEY                      Birdsall Service Group XX-XXXXXXX $138,329.68 and                  *                                $159,507.68           $2,710,436.81
                                                                        BSG Landscaping & Engineering XX-XXXXXXX $21,178.00
                                                                        STATE OF NEW JERSEY                            $(138,329.68)    5800-000                                                  $2,710,436.81
                                                                        STATE OF NEW JERSEY                             $(21,178.00)    2820-000                                                  $2,710,436.81
09/24/2020            1113     Koerner & Associates, LLC                                                                                   *                                     $7,928.27        $2,702,508.54
                                                                        Koerner & Associates, LLC                         $(487.50)     2990-000                                                  $2,702,508.54
                                                                        Koerner & Associates, LLC                        $(7,440.77)    7100-000                                                  $2,702,508.54
09/24/2020            1114     Land Resource Consultants Inc.           BSG Engineering                                                 6910-000                                 $5,055.75        $2,697,452.79
09/24/2020            1114     VOID: Land Resource Consultants Inc.                                                                     6910-003                               ($5,055.75)        $2,702,508.54
09/24/2020            1115     Thomas C Merritts Land Surveyors         BSG Engineering                                                 6910-000                                 $1,070.00        $2,701,438.54
09/24/2020            1116     International Dev. Corp.                                                                                 6920-000                                  $600.00         $2,700,838.54
09/24/2020            1117     Mamaroneck Avenue LLC                                                                                    6920-000                                 $8,361.75        $2,692,476.79
09/24/2020            1118     Monmouth Telecom                                                                                            *                                     $3,048.34        $2,689,428.45
                                                                                                                         $(2,258.16)    6950-000                                                  $2,689,428.45
                                                                                                                          $(790.18)     7100-000                                                  $2,689,428.45
09/24/2020            1119     National Reprographics, Inc.                                                                                *                                   $17,994.59         $2,671,433.86
                                                                                                                         $(8,446.49)    6950-000                                                  $2,671,433.86
                                                                                                                         $(9,548.10)    7100-000                                                  $2,671,433.86
09/24/2020            1120     Qdabra Software                                                                                             *                                     $2,914.62        $2,668,519.24
                                                                                                                          $(637.50)     6950-000                                                  $2,668,519.24
                                                                                                                         $(2,277.12)    7100-000                                                  $2,668,519.24
09/24/2020            1121     Timothy Rioux                                                                                            6950-000                                 $2,655.00        $2,665,864.24




                                                                                                                                       SUBTOTALS                $0.00       $209,275.82
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                                                                           CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                             Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                            Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                               Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                    Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                                Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                Separate bond (if applicable):

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   Transaction       Check /                             Paid to/                Description of Transaction                  Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                          Received From                                                         Tran Code            $                $


09/24/2020            1122     United Parcel Service                                                                            *                                     $1,132.30        $2,664,731.94
                                                                                                               $(960.19)     6950-000                                                  $2,664,731.94
                                                                                                               $(172.11)     7100-000                                                  $2,664,731.94
09/24/2020            1123     Aetna, Inc.                                                                                   6990-000                                 $4,503.62        $2,660,228.32
09/24/2020            1124     Brewer Associates                                                                                *                                     $1,987.10        $2,658,241.22
                                                                                                               $(234.92)     6990-000                                                  $2,658,241.22
                                                                                                              $(1,752.18)    7100-000                                                  $2,658,241.22
09/24/2020            1125     Hampton-Clarke/Veri tech                                                                         *                                     $7,360.77        $2,650,880.45
                                                                                                              $(2,096.00)    6990-000                                                  $2,650,880.45
                                                                                                              $(5,264.77)    7100-000                                                  $2,650,880.45
09/24/2020            1126     Department of the Treasury - Internal       BSG Engineering XX-XXXXXXX                        5800-000                               $80,776.24         $2,570,104.21
                               Revenue Serv
09/24/2020            1127     CITY OF PHILADELPHIA, LAW                   XX-XXXXXXX                                        5800-000                                 $4,698.71        $2,565,405.50
                               DEPARTMENT TAX UNIT
09/24/2020            1128     Steve Kamin - deposit                                                                            *                                     $3,077.45        $2,562,328.05
                                                                                                              $(2,850.00)    5600-000                                                  $2,562,328.05
                                                                                                               $(227.45)     7100-000                                                  $2,562,328.05
09/24/2020            1129     Marlin Leasing Corporation                                                                    7100-000                               $53,794.69         $2,508,533.36
09/24/2020            1130     Ralph J. D'Apuzzo                                                                             7100-000                            $118,933.63           $2,389,599.73
09/24/2020            1131     Joseph A. Henderson, Jr.                                                                      7100-000                            $136,569.82           $2,253,029.91
09/24/2020            1132     Joseph J. Keller                                                                              7100-000                               $43,526.75         $2,209,503.16
09/24/2020            1133     Integrated Geotechnical Solutions, Inc.                                                       7100-000                                 $5,015.76        $2,204,487.40
09/24/2020            1134     Paul P. Panzarino                                                                             7100-000                            $128,781.21           $2,075,706.19
09/24/2020            1135     New York State Dept. of                     BSG Engineering XX-XXXXXXX                        7100-000                                  $349.92         $2,075,356.27
09/24/2020            1136     Gabel Associates, Inc.                                                                        7100-000                               $26,244.24         $2,049,112.03
09/24/2020            1137     Building Evaluations, Inc.                                                                    7100-000                                 $1,154.75        $2,047,957.28
09/24/2020            1138     Remediation Specialists, Inc.                                                                 7100-000                               $17,342.19         $2,030,615.09
09/24/2020            1139     Sea Girt Center, LLC                                                                          7100-000                               $65,448.15         $1,965,166.94
09/24/2020            1140     Jennifer C. Beahm                                                                             7100-000                               $37,578.25         $1,927,588.69
                                                                                                                            SUBTOTALS                $0.00       $738,275.55
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                  Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                 Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                    Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                         Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                     Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                     Separate bond (if applicable):

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   Transaction       Check /                            Paid to/            Description of Transaction            Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                         Received From                                               Tran Code            $                $


09/24/2020            1141     Prime Environmental, Inc.                                                          7100-000                               $35,264.66         $1,892,324.03
09/24/2020            1142     Cone Tec, Inc.                                                                     7100-000                                 $2,445.96        $1,889,878.07
09/24/2020            1143     Delaware Valley Data Collection LLC                                                7100-000                                 $1,420.69        $1,888,457.38
09/24/2020            1144     Siemens Industry, Inc.                                                             7100-000                                 $2,607.35        $1,885,850.03
09/24/2020            1145     AVA Consulting, LLC                                                                7100-000                                 $3,805.41        $1,882,044.62
09/24/2020            1146     InterGEO Services                                                                  7100-000                               $13,122.12         $1,868,922.50
09/24/2020            1147     Hatch Mott MacDonald, LLC                                                          7100-000                                 $7,619.58        $1,861,302.92
09/24/2020            1148     Premier Plus                                                                       7100-000                                 $2,756.96        $1,858,545.96
09/24/2020            1149     Keystone Precision Instruments                                                     7100-000                                  $892.61         $1,857,653.35
09/24/2020            1150     Ralph R. Johnson                                                                   7100-000                            $183,771.84           $1,673,881.51
09/24/2020            1151     William Schindler                                                                  7100-000                               $16,674.97         $1,657,206.54
09/24/2020            1152     Gerald Freda                                                                       7100-000                            $259,035.35           $1,398,171.19
09/24/2020            1153     John C. Morris, Jr.                                                                7100-000                            $155,517.05           $1,242,654.14
09/24/2020            1154     TestAmerica Laboratories, Inc.                                                     7100-000                                  $414.66         $1,242,239.48
09/24/2020            1155     Waste Management                                                                   7100-000                                  $293.34         $1,241,946.14
09/24/2020            1156     611 Industrial Way LLC                                                             7100-000                               $91,270.15         $1,150,675.99
09/24/2020            1157     Avenir Publishing, Inc.                                                            7100-000                                  $699.85         $1,149,976.14
09/24/2020            1158     Amicus Energy Solutions                                                            7100-000                                 $3,479.99        $1,146,496.15
09/24/2020            1159     WW Grainger, Inc.                                                                  7100-000                                  $432.20         $1,146,063.95
09/24/2020            1160     Keystone Engineering Group, Inc.                                                   7100-000                               $24,163.62         $1,121,900.33
09/24/2020            1161     Mack-Cali Building V Associates, LLC                                               7100-000                            $177,377.82             $944,522.51
09/24/2020            1162     Aqua Pro-Tech Laboratories                                                         7100-000                               $51,752.51           $892,770.00
09/24/2020            1163     Aqua Pro-Tech Laboratories                                                         7100-000                                 $7,445.49          $885,324.51
09/24/2020            1164     New Jersey Natural Gas                                                             7100-000                                 $1,251.84          $884,072.67
09/24/2020            1165     True North Emergency Management, LLC                                               7100-000                               $49,183.24           $834,889.43
09/24/2020            1166     CHIRU Consulting, LLC                                                              7100-000                                 $6,169.08          $828,720.35
09/24/2020            1167     Conner Strong & Buckelew                                                           7100-000                                  $725.68           $827,994.67


                                                                                                                 SUBTOTALS                $0.00     $1,099,594.02
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                                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                         Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                        Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                           Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                            Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                            Separate bond (if applicable):

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   Transaction       Check /                             Paid to/                  Description of Transaction            Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                          Received From                                                     Tran Code            $                $


09/24/2020            1168     County of Middlesex                                                                       7100-000                            $139,969.26             $688,025.41
09/24/2020            1169     American International Group, Inc.                                                        7100-000                               $15,802.44           $672,222.97
09/24/2020            1170     Quaker Group Builders & Developers LP                                                     7100-000                               $59,677.42           $612,545.55
09/24/2020            1171     Morehouse Engineering Inc.                                                                7100-000                                 $6,345.65          $606,199.90
09/24/2020            1172     SignSource                                                                                7100-000                                  $725.72           $605,474.18
09/24/2020            1173     Scoles Floorshine Ind.                                                                    7100-000                                  $655.98           $604,818.20
09/24/2020            1174     Larrison Coal & Fuel                                                                      7100-000                                   $61.94           $604,756.26
09/24/2020            1175     Amy Greene Environmental Consultants                                                      7100-000                                 $3,839.78          $600,916.48
09/24/2020            1176     Hager-Richter Geoscience, Inc.                                                            7100-000                                 $6,240.88          $594,675.60
09/24/2020            1177     Harold D. Harris                                                                          7100-000                               $62,455.96           $532,219.64
09/24/2020            1178     Andrew A. Kayser, P.E.                                                                    7100-000                                 $1,084.76          $531,134.88
09/24/2020            1179     Avogadro Environmental Corp.                                                              7100-000                                 $3,471.94          $527,662.94
09/24/2020            1180     Sor Testing Laboratories, Inc.                                                            7100-000                                 $2,544.82          $525,118.12
09/24/2020            1181     Aramark                                                                                   7100-000                                  $264.91           $524,853.21
09/24/2020            1182     AWT Environmental Services, Inc.                                                          7100-000                                 $7,949.01          $516,904.20
09/24/2020            1183     Frederic Rosen, AIA                                                                       7100-000                                 $1,994.56          $514,909.64
09/24/2020            1184     Fastenal Company                                                                          7100-000                                  $331.01           $514,578.63
09/24/2020            1185     D&M Carpet Dyeing & Cleaning Co.                                                          7100-000                                 $2,101.99          $512,476.64
09/24/2020            1186     CL Solutions, LLC                                                                         7100-000                                 $3,240.17          $509,236.47
09/24/2020            1187     Pallante Design                                                                           7100-000                                 $3,497.72          $505,738.75
09/24/2020            1188     S2C2 Inc.                                                                                 7100-000                               $13,716.99           $492,021.76
09/24/2020            1189     Winning Strategies Public                                                                 7100-000                                 $6,648.54          $485,373.22
09/24/2020            1190     Brookfield Water Pollution                                                                7100-000                                 $1,749.62          $483,623.60
09/24/2020            1191     Certified Irrigation Designs Danny C. Kruse                                               7100-000                                  $594.87           $483,028.73
                               Sr., CID, CLIA
09/24/2020            1192     Petroscience Inc.                                                                         7100-000                                 $1,014.78          $482,013.95
09/24/2020            1193     33 East Car Wash of Ocean                                                                 7100-000                                   $53.09           $481,960.86


                                                                                                                        SUBTOTALS                $0.00       $346,033.81
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                 Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                   Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                        Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                    Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                    Separate bond (if applicable):

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   Transaction       Check /                           Paid to/            Description of Transaction            Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                        Received From                                               Tran Code            $                $


09/24/2020            1194     A.C. Schultes Inc.                                                                7100-000                                 $3,705.86          $478,255.00
09/24/2020            1195     Accurate Abstracts                                                                7100-000                                   $49.97           $478,205.03
09/24/2020            1196     Accutest Corp.                                                                    7100-000                               $25,777.60           $452,427.43
09/24/2020            1197     Adam C. Styles                                                                    7100-000                                 $6,544.89          $445,882.54
09/24/2020            1198     Airgas Safety Inc.                                                                7100-000                                  $117.02           $445,765.52
09/24/2020            1199     AJ's Village Deli                                                                 7100-000                                   $77.53           $445,687.99
09/24/2020           1200      Allied Meter Service Inc.                                                         7100-000                                   $91.02           $445,596.97
09/24/2020           1201      ALM                                                                               7100-000                                  $512.29           $445,084.68
09/24/2020           1202      Alternate Power                                                                   7100-000                                  $155.89           $444,928.79
09/24/2020           1203      American Concrete Institute                                                       7100-000                                  $220.80           $444,707.99
09/24/2020           1204      Anserve Inc.                                                                      7100-000                                   $46.12           $444,661.87
09/24/2020           1205      APOLLO                                                                            7100-000                                  $927.30           $443,734.57
09/24/2020           1206      Applied Analytics Inc.                                                            7100-000                                  $523.14           $443,211.43
09/24/2020           1207      ARC                                                                               7100-000                                  $121.45           $443,089.98
09/24/2020           1208      ARC (Ridgway's)                                                                   7100-000                                  $185.45           $442,904.53
09/24/2020           1209      ASHRAE                                                                            7100-000                                   $86.08           $442,818.45
09/24/2020           1210      Associated Consulting Engineers PC                                                7100-000                                 $1,842.81          $440,975.64
09/24/2020            1211     ATC ASSOCIATES INC.                                                               7100-000                               $20,423.61           $420,552.03
09/24/2020           1212      Atlantic Health System                                                            7100-000                                  $423.76           $420,128.27
09/24/2020           1213      Atlantic ResponseInc.                                                             7100-000                                 $2,211.41          $417,916.86
09/24/2020           1214      Atlantis Aerial Survey Company Inc.                                               7100-000                                 $3,812.76          $414,104.10
09/24/2020           1215      Atlas Messenger Service                                                           7100-000                                  $161.31           $413,942.79
09/24/2020           1216      AWWA                                                                              7100-000                                   $68.58           $413,874.21
09/24/2020           1217      B & B Press Inc.                                                                  7100-000                                  $651.61           $413,222.60
09/24/2020           1218      B & B Trophy Co. Inc.                                                             7100-000                                  $164.78           $413,057.82
09/24/2020           1219      Barlow & Associates Architects LLC                                                7100-000                                  $218.21           $412,839.61
09/24/2020           1220      Ben Meadows Co. Inc.                                                              7100-000                                  $350.36           $412,489.25


                                                                                                                SUBTOTALS                $0.00        $69,471.61
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                                                                              CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                        Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                       Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                          Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                               Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                           Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                           Separate bond (if applicable):

       1                2                                  3                                              4                                 5                6                       7

   Transaction       Check /                            Paid to/                  Description of Transaction            Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                         Received From                                                     Tran Code            $                $


09/24/2020           1221      Bey Lea Dairy                                                                            7100-000                                   $96.67           $412,392.58
09/24/2020           1222      Bid Source                                                                               7100-000                                   $80.03           $412,312.55
09/24/2020           1223      Blass Consulting LLC                                                                     7100-000                                  $183.71           $412,128.84
09/24/2020           1224      Borough of Bradley Beach                                                                 7100-000                                  $139.97           $411,988.87
09/24/2020           1225      Buckman's Inc.                                                                           7100-000                                  $269.09           $411,719.78
09/24/2020           1226      Capital One Commercial                                                                   7100-000                                  $250.77           $411,469.01
09/24/2020           1227      Capitol Environmental Services Inc.                                                      7100-000                                  $565.83           $410,903.18
09/24/2020           1228      Charles A Manganaro Consulting Engineers                                                 7100-000                                 $2,122.28          $408,780.90
09/24/2020           1229      Coffee Distributing Corp.                                                                7100-000                                   $38.17           $408,742.73
09/24/2020           1230      Cohn Reznick LLP                                                                         7100-000                                   $78.73           $408,664.00
09/24/2020           1231      College of Science & Mathematics Montclair                                               7100-000                               $15,799.03           $392,864.97
09/24/2020           1232      Comcast                                                                                  7100-000                                   $27.45           $392,837.52
09/24/2020           1233      Coyne Chemical                                                                           7100-000                                  $797.25           $392,040.27
09/24/2020           1234      Cultural Resource Consulting Group                                                       7100-000                                 $5,441.31          $386,598.96
09/24/2020           1235      Deer Park                                                                                7100-000                                   $51.83           $386,547.13
09/24/2020           1236      Deltek Systems Inc.                                                                      7100-000                                 $1,049.77          $385,497.36
09/24/2020           1237      AECOM Technical Services Inc.                                                            7100-000                                 $8,999.47          $376,497.89
09/24/2020           1238      Dynamic Testing Services                                                                 7100-000                                  $743.59           $375,754.30
09/24/2020           1239      EMSL Analytical Inc.                                                                     7100-000                                 $3,201.53          $372,552.77
09/24/2020           1240      Energy Services Group                                                                    7100-000                                  $811.63           $371,741.14
09/24/2020           1241      Ensoft Inc.                                                                              7100-000                                  $125.97           $371,615.17
09/24/2020           1242      EnviRent Corp.                                                                           7100-000                                   $28.08           $371,587.09
09/24/2020           1243      Environmental Data Resources                                                             7100-000                                  $733.86           $370,853.23
09/24/2020           1244      Environmental Research Ser. Inc.                                                         7100-000                                   $90.98           $370,762.25
09/24/2020           1245      Exploration Instruments LLC                                                              7100-000                                   $89.58           $370,672.67
09/24/2020           1246      Federal Express                                                                          7100-000                                   $42.24           $370,630.43
09/24/2020           1247      Fidelity Burglar & Fire Alarm Co.                                                        7100-000                                   $24.34           $370,606.09


                                                                                                                       SUBTOTALS                $0.00        $41,883.16
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                                                                          CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                    Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                   Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                      Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                           Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                       Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                       Separate bond (if applicable):

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   Transaction       Check /                             Paid to/             Description of Transaction            Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                          Received From                                                Tran Code            $                $


09/24/2020           1248      Fisher Scientific Company LLC                                                        7100-000                                  $333.04           $370,273.05
09/24/2020           1249      FP Mailing Solutions                                                                 7100-000                                  $198.72           $370,074.33
09/24/2020           1250      French & Parrello Associates                                                         7100-000                                 $1,256.22          $368,818.11
09/24/2020           1251      G. Neil Direct Mail Inc.                                                             7100-000                                   $20.99           $368,797.12
09/24/2020           1252      Gann Law Books                                                                       7100-000                                  $204.06           $368,593.06
09/24/2020           1253      Garden State Propeller Inc.                                                          7100-000                                   $45.68           $368,547.38
09/24/2020           1254      Gayle Corporation                                                                    7100-000                                  $367.42           $368,179.96
09/24/2020           1255      Geo-Slope International                                                              7100-000                                  $629.86           $367,550.10
09/24/2020           1256      H. Ney Associates LLC                                                                7100-000                                  $276.37           $367,273.73
09/24/2020           1257      Hall Realty Consultants LLC                                                          7100-000                                  $349.92           $366,923.81
09/24/2020           1258      Hamer Heating Cooling & Refrigeration                                                7100-000                                   $69.98           $366,853.83
09/24/2020           1259      Hatteras Press Inc.                                                                  7100-000                                 $1,282.47          $365,571.36
09/24/2020           1260      IH Engineers P.C. Corp                                                               7100-000                                 $1,844.71          $363,726.65
09/24/2020           1261      Independence Constructors Inc.                                                       7100-000                                 $1,093.44          $362,633.21
09/24/2020           1262      Insurance Restoration Specialists Inc.                                               7100-000                                  $317.38           $362,315.83
09/24/2020           1263      Integrys Energy Service Inc.                                                         7100-000                                  $766.64           $361,549.19
09/24/2020           1264      James H. Murphy                                                                      7100-000                                  $262.44           $361,286.75
09/24/2020           1265      Jersey Shore Courier Service                                                         7100-000                                   $68.91           $361,217.84
09/24/2020           1266      Joseph H. Sullivan P.E.                                                              7100-000                                   $91.85           $361,125.99
09/24/2020           1267      Kavanagh Electrical Contractors                                                      7100-000                                  $475.27           $360,650.72
09/24/2020           1268      Kepwel Spring Water                                                                  7100-000                                  $123.56           $360,527.16
09/24/2020           1269      KTP Consulting LLC                                                                   7100-000                                 $5,668.76          $354,858.40
09/24/2020           1270      KTR ASSOCIATES LLC.                                                                  7100-000                                 $4,073.11          $350,785.29
09/24/2020           1271      Lafayette General Title Agency Inc.                                                  7100-000                                  $167.96           $350,617.33
09/24/2020           1272      Large Doc Solutions                                                                  7100-000                                 $1,360.50          $349,256.83
09/24/2020           1273      Laser Technology Systems Inc.                                                        7100-000                                   $29.20           $349,227.63
09/24/2020           1274      LILICH CORPORATION                                                                   7100-000                                 $2,939.35          $346,288.28


                                                                                                                   SUBTOTALS                $0.00        $24,317.81
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                                                                              CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                        Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                       Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                          Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                               Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                           Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                           Separate bond (if applicable):

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   Transaction       Check /                           Paid to/                   Description of Transaction            Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                        Received From                                                      Tran Code            $                $


09/24/2020           1275      LinkedIn Corporation                                                                     7100-000                                  $874.81           $345,413.47
09/24/2020           1276      Mandell Environmental Consulting                                                         7100-000                                  $489.89           $344,923.58
09/24/2020           1277      McMaster-Carr Supply Co.                                                                 7100-000                                   $25.07           $344,898.51
09/24/2020           1278      Melillo & Bauer Associates Inc.                                                          7100-000                               $26,129.12           $318,769.39
09/24/2020           1279      Meridian Occupational Health Attn: Billing                                               7100-000                                  $586.12           $318,183.27
                               Dept.
09/24/2020           1280      Microbialinsights                                                                        7100-000                                  $174.96           $318,008.31
09/24/2020           1281      Microseeps                                                                               7100-000                                  $426.91           $317,581.40
09/24/2020           1282      Mingolo Precision Products Inc.                                                          7100-000                                  $175.05           $317,406.35
09/24/2020           1283      Miracle Chemical Co.                                                                     7100-000                                   $27.57           $317,378.78
09/24/2020           1284      MODC                                                                                     7100-000                                  $381.42           $316,997.36
09/24/2020           1285      Monmouth County Document Service                                                         7100-000                                   $59.49           $316,937.87
09/24/2020           1286      Mr. John Inc.                                                                            7100-000                                  $114.16           $316,823.71
09/24/2020           1287      Mumford Bjorkman Associates Inc.                                                         7100-000                                 $1,924.58          $314,899.13
09/24/2020           1288      Napco Copy                                                                               7100-000                                  $239.56           $314,659.57
09/24/2020           1289      New Jersey Press Media                                                                   7100-000                                  $240.33           $314,419.24
09/24/2020           1290      Newark Regional Business Partnership                                                     7100-000                                  $883.56           $313,535.68
09/24/2020           1291      Nicholas Bellizzi                                                                        7100-000                                 $2,091.66          $311,444.02
09/24/2020           1292      NSPE                                                                                     7100-000                                  $122.47           $311,321.55
09/24/2020           1293      Onvia Inc.                                                                               7100-000                                  $803.07           $310,518.48
09/24/2020           1294      PlanSmart NJ                                                                             7100-000                                  $204.71           $310,313.77
09/24/2020           1295      Preferred Construction Management                                                        7100-000                                  $769.83           $309,543.94
09/24/2020           1296      Print-O-Stat Inc.                                                                        7100-000                                  $202.56           $309,341.38
09/24/2020           1297      PSE&G                                                                                    7100-000                                   $55.99           $309,285.39
09/24/2020           1298      Pumping Services Inc.                                                                    7100-000                               $10,866.10           $298,419.29
09/24/2020           1299      QC Laboratories                                                                          7100-000                                 $1,643.94          $296,775.35
09/24/2020           1300      Reuter & Hanney Inc.                                                                     7100-000                                  $341.18           $296,434.17


                                                                                                                       SUBTOTALS                $0.00          $49,854.11
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                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                   Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                  Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                     Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                          Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                      Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                      Separate bond (if applicable):

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   Transaction       Check /                            Paid to/             Description of Transaction            Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                         Received From                                                Tran Code            $                $


09/24/2020           1301      Richard Grubb & Associates Inc.                                                     7100-000                                  $816.37           $295,617.80
09/24/2020           1302      S & R Engineers P.C. Corp.                                                          7100-000                                 $2,405.15          $293,212.65
09/24/2020           1303      S & S Subsurface Investigations Inc.                                                7100-000                               $25,111.19           $268,101.46
09/24/2020           1304      Sansone                                                                             7100-000                                   $59.88           $268,041.58
09/24/2020           1305      Sea Coast Chevrolet                                                                 7100-000                                   $71.83           $267,969.75
09/24/2020           1306      Severn Trent Laboratories Inc.                                                      7100-000                                  $342.92           $267,626.83
09/24/2020           1307      South Jersey Gas Company                                                            7100-000                                   $69.98           $267,556.85
09/24/2020           1308      Spiral Binding Company Inc.                                                         7100-000                                  $231.20           $267,325.65
09/24/2020           1309      Staples Advantage                                                                   7100-000                                  $116.37           $267,209.28
09/24/2020           1310      Stevens Institute of Technology                                                     7100-000                                 $2,624.42          $264,584.86
09/24/2020            1311     Storm Water Management Consulting LLC                                               7100-000                                  $242.04           $264,342.82
09/24/2020           1312      TeamViewer GmbH                                                                     7100-000                                  $943.76           $263,399.06
09/24/2020           1313      TigerDirect Inc.                                                                    7100-000                                   $69.89           $263,329.17
09/24/2020           1314      Time Well Spent                                                                     7100-000                                  $209.95           $263,119.22
09/24/2020           1315      Tokarski Millemann Architects                                                       7100-000                               $13,564.03           $249,555.19
09/24/2020           1316      Tony D Environmental Permitting LLC                                                 7100-000                                  $367.42           $249,187.77
09/24/2020           1317      Total Security Systems                                                              7100-000                                   $86.12           $249,101.65
09/24/2020           1318      Traffic Databank LLC                                                                7100-000                                  $752.33           $248,349.32
09/24/2020           1319      Trident Environmental Consultants LLC                                               7100-000                                 $1,588.65          $246,760.67
09/24/2020           1320      TriNet Teledata LLC                                                                 7100-000                                  $181.96           $246,578.71
09/24/2020           1321      Trip Consultants Corp.                                                              7100-000                                  $786.63           $245,792.08
09/24/2020           1322      TROXLER ELECTRONIC LABS INC.                                                        7100-000                                   $28.08           $245,764.00
09/24/2020           1323      Uline                                                                               7100-000                                   $82.92           $245,681.08
09/24/2020           1324      USA Blue Book                                                                       7100-000                                  $222.45           $245,458.63
09/24/2020           1325      USA Corporate Services Inc.                                                         7100-000                                   $61.24           $245,397.39
09/24/2020           1326      Van Cleef Engineering Associates                                                    7100-000                                 $3,049.58          $242,347.81
09/24/2020           1327      VANASSE HANGEN BRUSTLIN INC.                                                        7100-000                                 $4,199.08          $238,148.73


                                                                                                                  SUBTOTALS                $0.00        $58,285.44
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                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                                             Trustee Name:                      Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                            Bank Name:                         Signature Bank
Primary Taxpayer ID #:            **-***5216                                                                                               Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                                   Account Title:                    Operating Account
For Period Beginning:             3/29/2013                                                                                                Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                12/3/2021                                                                                                Separate bond (if applicable):

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   Transaction       Check /                          Paid to/                  Description of Transaction                                  Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                       Received From                                                                           Tran Code            $                $


09/24/2020           1328      Waterware Corporation                                                                                        7100-000                                 $1,537.91          $236,610.82
09/24/2020           1329      Woodard & Curran Inc.                                                                                        7100-000                                 $1,749.60          $234,861.22
09/24/2020           1330      Argo Partners                                                                                                   *                                $201,524.90              $33,336.32
                                                                                                                            $(22,470.33)    7100-000                                                     $33,336.32
                                                                                                                            $(14,511.31)    7100-000                                                     $33,336.32
                                                                                                                            $(25,618.05)    7100-000                                                     $33,336.32
                                                                                                                            $(37,353.94)    7100-000                                                     $33,336.32
                                                                                                                            $(11,967.37)    7100-000                                                     $33,336.32
                                                                                                                            $(24,807.83)    7100-000                                                     $33,336.32
                                                                                                                            $(10,674.86)    7100-000                                                     $33,336.32
                                                                                                                             $(6,298.62)    7100-000                                                     $33,336.32
                                                                                                                            $(10,184.51)    7100-000                                                     $33,336.32
                                                                                                                             $(2,629.67)    7100-000                                                     $33,336.32
                                                                                                                             $(3,535.60)    7100-000                                                     $33,336.32
                                                                                                                             $(2,971.20)    7100-000                                                     $33,336.32
                                                                                                                             $(1,208.63)    7100-000                                                     $33,336.32
                                                                                                                             $(6,591.85)    7100-000                                                     $33,336.32
                                                                                                                             $(6,025.68)    7100-000                                                     $33,336.32
                                                                                                                             $(2,761.01)    7100-000                                                     $33,336.32
                                                                                                                              $(979.78)     7100-000                                                     $33,336.32
                                                                                                                             $(1,709.02)    7100-000                                                     $33,336.32
                                                                                                                             $(9,225.64)    7100-000                                                     $33,336.32
10/05/2020                     Signature Bank                            Account Analysis Fee                                               2600-000                                 $2,821.10           $30,515.22
10/13/2020           1331      WASSERMAN JURISTA & STOLZ                 Matter #8043, Inv. 8545                                            3210-000                                 $9,093.30           $21,421.92
11/04/2020                     Signature Bank                            Account Analysis Fee                                               2600-000                                 $2,972.60           $18,449.32
11/24/2020            1135     VOID: New York State Dept. of             Creditor returned the check on 11/10/20. No open                   7100-003                                 ($349.92)           $18,799.24
                                                                         liabilities per letter.
11/24/2020           1282      VOID: Mingolo Precision Products Inc.     Creditor returned the check October 2020. Company no               7100-003                                 ($175.05)           $18,974.29
                                                                         longer exists; wanted check issued in a different
                                                                         non-creditor name.

                                                                                                                                           SUBTOTALS                $0.00       $219,174.44
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                           Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                          Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                                             Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                                  Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                                              Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                              Separate bond (if applicable):

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   Transaction       Check /                          Paid to/                 Description of Transaction                                  Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                       Received From                                                                          Tran Code            $                $


12/01/2020            (18)     Cigna                                                                                                       1290-000          $1,800.00                                  $20,774.29
12/01/2020            (39)     State of Vermont                       Vermont refund; check returned                                       1124-000             $50.00                                  $20,824.29
12/01/2020            (46)     AWWA                                   Creditor cashed check, then sent money back to the                   1290-000             $68.58                                  $20,892.87
                                                                      Estate - no payment due.
12/01/2020                     STATE OF NEW JERSEY                    NJ Annual fee for the BSG Landscaping LLC.                           2820-000                                   $75.50            $20,817.37
12/01/2020           1332      Titan Mobile Shredding, LLC            BSG Document shredding/destruction October 2020.                     2990-000                                  $380.00            $20,437.37
12/09/2020                     Signature Bank                         Account Analysis Fee                                                 2600-000                                 $2,876.71           $17,560.66
12/20/2020           1333      WASSERMAN JURISTA & STOLZ                                                                                   3110-003                                  $922.50            $16,638.16
12/22/2020           1333      VOID: WASSERMAN JURISTA & STOLZ                                                                             3110-003                                 ($922.50)           $17,560.66
12/22/2020           1334      WASSERMAN JURISTA & STOLZ                                                                                   3210-000                                  $922.50            $16,638.16
12/24/2020            (18)     DEP REVERSE: Cigna                                                                                          1290-000          ($1,800.00)                                $14,838.16
12/24/2020           1335      Mercadien PC CPAs                                                                                              *                                   $13,905.00                 $933.16
                                                                      Mercadien, PC CPAs                                   $(13,835.98)    3410-000                                                          $933.16
                                                                      Mercadien, PC CPAs                                       $(69.02)    3410-000                                                          $933.16
01/06/2021            (39)     State of Vermont                       Vermont refund; check returned                                       1124-000            ($50.00)                                      $883.16
01/06/2021            (18)     Cigna                                  refund                                                               1290-000            $787.03                                      $1,670.19
01/06/2021                     Signature Bank                         Account Analysis Fee                                                 2600-000                                 $2,972.60           ($1,302.41)
01/06/2021            1117     STOP PAYMENT: Mamaroneck Avenue        stale                                                                6920-004                               ($8,361.75)               $7,059.34
                               LLC
01/06/2021            1122     VOID: United Parcel Service                                                                                    *                                   ($1,132.30)               $8,191.64
                                                                                                                              $960.19      6950-003                                                         $8,191.64
                                                                                                                              $172.11      7100-003                                                         $8,191.64
01/06/2021            1123     VOID: Aetna, Inc.                                                                                           6990-003                               ($4,503.62)           $12,695.26
01/06/2021            1141     VOID: Prime Environmental, Inc.                                                                             7100-003                             ($35,264.66)            $47,959.92
01/06/2021            1179     VOID: Avogadro Environmental Corp.                                                                          7100-003                               ($3,471.94)           $51,431.86
01/06/2021            1183     VOID: Frederic Rosen, AIA                                                                                   7100-003                               ($1,994.56)           $53,426.42
01/06/2021            1187     VOID: Pallante Design                                                                                       7100-003                               ($3,497.72)           $56,924.14
01/06/2021            1195     VOID: Accurate Abstracts                                                                                    7100-003                                  ($49.97)           $56,974.11

                                                                                                                                          SUBTOTALS             $855.61        ($37,144.21)
                                      Case 13-16743-MBK                    Doc 1222 Filed 12/10/21
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                                                                             CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                          Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                         Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                            Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                             Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                             Separate bond (if applicable):

       1                2                                  3                                                  4                               5                6                       7

   Transaction       Check /                           Paid to/                      Description of Transaction           Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                        Received From                                                        Tran Code            $                $


01/06/2021           1202      VOID: Alternate Power                                                                      7100-003                                 ($155.89)           $57,130.00
01/06/2021           1209      VOID: ASHRAE                                                                               7100-003                                  ($86.08)           $57,216.08
01/06/2021           1212      VOID: Atlantic Health System                                                               7100-003                                 ($423.76)           $57,639.84
01/06/2021           1220      VOID: Ben Meadows Co. Inc.                                                                 7100-003                                 ($350.36)           $57,990.20
01/06/2021           1226      VOID: Capital One Commercial                                                               7100-003                                 ($250.77)           $58,240.97
01/06/2021           1227      VOID: Capitol Environmental Services Inc.                                                  7100-003                                 ($565.83)           $58,806.80
01/06/2021           1229      VOID: Coffee Distributing Corp.                                                            7100-003                                  ($38.17)           $58,844.97
01/06/2021           1232      VOID: Comcast                                 Creditor voluntarily returned the check.     7100-003                                  ($27.45)           $58,872.42
01/06/2021           1234      VOID: Cultural Resource Consulting Group      Undeliverable, supposedly out of business    7100-003                               ($5,441.31)           $64,313.73
01/06/2021           1241      VOID: Ensoft Inc.                                                                          7100-003                                 ($125.97)           $64,439.70
01/06/2021           1244      VOID: Environmental Research Ser. Inc.                                                     7100-003                                  ($90.98)           $64,530.68
01/06/2021           1245      VOID: Exploration Instruments LLC                                                          7100-003                                  ($89.58)           $64,620.26
01/06/2021           1247      VOID: Fidelity Burglar & Fire Alarm Co.                                                    7100-003                                  ($24.34)           $64,644.60
01/06/2021           1251      VOID: G. Neil Direct Mail Inc.                                                             7100-003                                  ($20.99)           $64,665.59
01/06/2021           1253      VOID: Garden State Propeller Inc.                                                          7100-003                                  ($45.68)           $64,711.27
01/06/2021           1255      VOID: Geo-Slope International                                                              7100-003                                 ($629.86)           $65,341.13
01/06/2021           1263      VOID: Integrys Energy Service Inc.                                                         7100-003                                 ($766.64)           $66,107.77
01/06/2021           1267      VOID: Kavanagh Electrical Contractors                                                      7100-003                                 ($475.27)           $66,583.04
01/06/2021           1269      VOID: KTP Consulting LLC                                                                   7100-003                               ($5,668.76)           $72,251.80
01/06/2021           1272      VOID: Large Doc Solutions                     Undeliverable, vacant                        7100-003                               ($1,360.50)           $73,612.30
01/06/2021           1283      VOID: Miracle Chemical Co.                                                                 7100-003                                  ($27.57)           $73,639.87
01/06/2021           1293      VOID: Onvia Inc.                                                                           7100-003                                 ($803.07)           $74,442.94
01/06/2021           1294      VOID: PlanSmart NJ                                                                         7100-003                                 ($204.71)           $74,647.65
01/06/2021           1297      VOID: PSE&G                                                                                7100-003                                  ($55.99)           $74,703.64
01/06/2021           1299      VOID: QC Laboratories                                                                      7100-003                               ($1,643.94)           $76,347.58
01/06/2021           1302      VOID: S & R Engineers P.C. Corp.              Undeliverable, supposedly out of business    7100-003                               ($2,405.15)           $78,752.73
01/06/2021           1304      VOID: Sansone                                                                              7100-003                                  ($59.88)           $78,812.61


                                                                                                                         SUBTOTALS                $0.00       ($21,838.50)
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                              Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                             Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                                Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                     Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                                 Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                 Separate bond (if applicable):

       1                2                                    3                                         4                                          5                6                       7

   Transaction       Check /                            Paid to/               Description of Transaction                     Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                         Received From                                                           Tran Code            $                $


01/06/2021           1306      VOID: Severn Trent Laboratories Inc.                                                           7100-003                                 ($342.92)           $79,155.53
01/20/2021           1336      International Sureties, Ltd              Bond # 016026385 1/1/21 - 1/1/22 Ch 7 Blanket bond    2300-000                                   $36.80            $79,118.73




                                                                                                                             SUBTOTALS                $0.00            ($306.12)
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                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                            Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                           Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                              Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                               Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                               Separate bond (if applicable):

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   Transaction       Check /                          Paid to/                  Description of Transaction                  Uniform           Deposit       Disbursement             Balance
      Date            Ref. #                       Received From                                                           Tran Code            $                $


01/20/2021           1337      Clerk, United States Bankruptcy Court     Unclaimed Funds to Court Registry                     *                                   $74,760.56               $4,358.17
                                                                         Unclaimed Funds                       $(49.97)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                      $(155.89)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                       $(86.08)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                      $(423.76)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                     $(3,471.94)    7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                      $(350.36)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                      $(250.77)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                      $(565.83)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                       $(38.17)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                       $(27.45)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                     $(5,441.31)    7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                      $(125.97)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                       $(90.98)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                       $(89.58)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                       $(24.34)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                     $(1,994.56)    7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                       $(20.99)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                       $(45.68)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                      $(629.86)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                      $(766.64)     7100-001                                                        $4,358.17
                                                                                                              $(326.24)     5300-001                                                        $4,358.17
                                                                         Unclaimed Funds                      $(475.27)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                     $(5,668.76)    7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                     $(1,360.50)    7100-001                                                        $4,358.17
                                                                         Lewis Myerson Unclaimed Funds        $(285.15)     6950-001                                                        $4,358.17
                                                                                                             $(8,361.75)    6920-001                                                        $4,358.17
                                                                         Unclaimed Funds                       $(27.57)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                      $(803.07)     7100-001                                                        $4,358.17
                                                                         Unclaimed Funds                     $(3,497.72)    7100-001                                                        $4,358.17
                                                                         Patrick Hughes Unclaimed Funds        $(37.95)     6950-001                                                        $4,358.17

                                                                                                                           SUBTOTALS                $0.00        $74,760.56
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                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                   Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                  Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                                     Checking Acct #:                  ******9415
Co-Debtor Taxpayer ID #:                                                                                                          Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                                      Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                      Separate bond (if applicable):

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   Transaction       Check /                          Paid to/                   Description of Transaction                        Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                       Received From                                                                  Tran Code            $                $


                                                                                                                       $(28.65)    5300-001                                                         $4,358.17
                                                                         Phillip Scott Unclaimed Funds               $(294.08)     6950-001                                                         $4,358.17
                                                                         Unclaimed Funds                             $(204.71)     7100-001                                                         $4,358.17
                                                                         Unclaimed Funds                           $(35,264.66)    7100-001                                                         $4,358.17
                                                                         Unclaimed Funds                               $(55.99)    7100-001                                                         $4,358.17
                                                                         Unclaimed Funds                            $(1,643.94)    7100-001                                                         $4,358.17
                                                                         Robert Toomer Unclaimed Funds               $(239.32)     6950-001                                                         $4,358.17
                                                                         Unclaimed Funds                               $(59.88)    7100-001                                                         $4,358.17
                                                                         Unclaimed Funds                             $(342.92)     7100-001                                                         $4,358.17
                                                                         Unclaimed Funds                             $(960.19)     6950-001                                                         $4,358.17
                                                                         Unclaimed Funds                             $(172.11)     7100-001                                                         $4,358.17
02/03/2021                     Signature Bank                            Account Analysis Fee                                      2600-000                                    $98.81               $4,259.36
02/10/2021                     Signature Bank                            Refund of fees per bank 2/8/21                            2600-000                               ($7,061.20)           $11,320.56
03/12/2021                     NYS Dept. of Finance                      2020 tax                                                  2820-000                                    $25.00           $11,295.56
03/12/2021                     STATE OF NEW JERSEY                       2020 tax                                                  2820-000                                  $375.00            $10,920.56
08/24/2021           1338      Clerk, United States Bankruptcy Court     Unclaimed Funds to Court - Final                             *                                     $6,908.77               $4,011.79
                                                                                                                    $(2,405.15)    7100-001                                                         $4,011.79
                                                                                                                    $(4,503.62)    6990-001                                                         $4,011.79
08/24/2021           1339      Genova Burns                              Final Fee in BSG Case # 13-16743                             *                                      $392.26                $3,619.53
                                                                         Wasserman, Jurista & Stolz, PC                $(38.38)    3210-000                                                         $3,619.53
                                                                         Wasserman, Jurista & Stolz, PC              $(353.88)     3210-000                                                         $3,619.53
08/24/2021           1340      MERCADIEN PC CPAS                         Pro-rata allocation of refund received.                   3410-000                                 $3,619.53                  $0.00




                                                                                                                                  SUBTOTALS                $0.00            $4,358.17
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          13-16743-MBK                                                                                      Trustee Name:                         Edwin H. Stier
Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                     Bank Name:                            Signature Bank
Primary Taxpayer ID #:            **-***5216                                                                                        Checking Acct #:                      ******9415
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                        Operating Account
For Period Beginning:             3/29/2013                                                                                         Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                         Separate bond (if applicable):

      1                 2                                3                                           4                                                    5                   6                    7

  Transaction        Check /                          Paid to/               Description of Transaction                              Uniform           Deposit          Disbursement            Balance
     Date             Ref. #                       Received From                                                                    Tran Code            $                   $


                                                                                       TOTALS:                                                       $4,392,402.63         $4,392,402.63                  $0.00
                                                                                           Less: Bank transfers/CDs                                  $4,244,531.90            $45,000.00
                                                                                       Subtotal                                                        $147,870.73         $4,347,402.63
                                                                                           Less: Payments to debtors                                         $0.00                 $0.00
                                                                                       Net                                                             $147,870.73         $4,347,402.63



                     For the period of 3/29/2013 to 12/3/2021                                                    For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                      $147,870.73                                Total Compensable Receipts:                               $147,870.73
                     Total Non-Compensable Receipts:                        $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                    $147,870.73                                Total Comp/Non Comp Receipts:                             $147,870.73
                     Total Internal/Transfer Receipts:              $4,244,531.90                                Total Internal/Transfer Receipts:                       $4,244,531.90


                     Total Compensable Disbursements:               $4,347,402.63                                Total Compensable Disbursements:                        $4,347,402.63
                     Total Non-Compensable Disbursements:                   $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:             $4,347,402.63                                Total Comp/Non Comp Disbursements:                      $4,347,402.63
                     Total Internal/Transfer Disbursements:            $45,000.00                                Total Internal/Transfer Disbursements:                     $45,000.00
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                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                  Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                 Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                                    Checking Acct #:                  ******9423
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                    Payroll Account
For Period Beginning:              3/29/2013                                                                                     Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                     Separate bond (if applicable):

       1                2                                   3                                            4                                             5               6                       7

   Transaction       Check /                              Paid to/              Description of Transaction                        Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                           Received From                                                             Tran Code            $                $


03/24/2016                     Signature Operating Acct #9415            Funds Transfer                                           9999-000          $45,000.00                                 $45,000.00
04/08/2016                     ADP, Inc.                                 Ck Num: MPC-2016-2 - INC. - EE Federal payroll taxes     6950-000                                  $793.58            $44,206.42
04/08/2016                     ADP, Inc.                                 Ck Num: MPC-2016-2 - LLC - EE Federal payroll taxes -    6950-000                                 $3,752.20           $40,454.22
                                                                         paid by Inc.
04/08/2016                     ADP, Inc.                                 Ck Num: MPC-2016-2 - INC. - EE State payroll taxes       6950-000                                   $93.03            $40,361.19
04/08/2016                     ADP, Inc.                                 Ck Num: MPC-2016-2 - LLC - EE State payroll taxes -      6950-000                                  $660.50            $39,700.69
                                                                         paid by Inc.
04/08/2016                     ADP, Inc.                                 Ck Num: MPC-2016-3 - To record Inc. ER payroll taxes     6950-000                                  $804.45            $38,896.24
04/08/2016                     ADP, Inc.                                 Ck Num: MPC-2016-4 - LLC ER payroll taxes - paid by      6950-000                                 $3,423.94           $35,472.30
                                                                         Inc.
04/08/2016           30000     Kimberly Wertswa                          To record post-petition vacation claim paid              6950-000                                   $28.42            $35,443.88
04/08/2016           30001     Hanif A. Johnson                          To record post-petition vacation claim paid              6950-000                                  $318.27            $35,125.61
04/08/2016           30002     Colleen Gagliano                          To record post-petition vacation claim paid              6950-000                                  $334.97            $34,790.64
04/08/2016           30003     Arlene McFeely                            To record post-petition vacation claim paid              6950-000                                  $162.15            $34,628.49
04/08/2016           30004     Christopher Wetzel                        To record post-petition vacation claim paid              6950-000                                  $150.28            $34,478.21
04/08/2016           30005     Daniel Gagliardo                          To record post-petition vacation claim paid              6950-000                                 $1,013.76           $33,464.45
04/08/2016           30006     Rochelle A. Trembly                       To record post-petition vacation claim paid              6950-000                                  $435.90            $33,028.55
04/08/2016           30007     Pedro Faria (payroll)                     To record post-petition vacation claim paid              6950-000                                  $560.16            $32,468.39
04/08/2016           30008     James O'Neill                             To record post-petition vacation claim paid              6950-000                                   $75.50            $32,392.89
04/08/2016           30009     Jose Rober Pinzon                         To record post-petition vacation claim paid              6950-000                                  $140.66            $32,252.23
04/08/2016           30010     Douglas Miller                            To record post-petition vacation claim paid              6950-000                                 $1,050.70           $31,201.53
04/08/2016           30011     Ralph Rocco                               To record post-petition vacation claim paid              6950-000                                  $356.68            $30,844.85
04/08/2016           50000     Laurie Colatrella                         To record post-petition vacation claim paid              6950-000                                    $6.61            $30,838.24
04/08/2016           50001     John W. Kendall                           To record post-petition vacation claim paid              6950-000                                  $130.98            $30,707.26
04/08/2016           50002     Debby M. De Jong                          To record post-petition vacation claim paid              6950-000                                 $1,027.31           $29,679.95
04/08/2016           50003     Patrick Hughes                            To record post-petition vacation claim paid              6950-000                                   $37.95            $29,642.00
04/08/2016           50004     Samuel Krawet                             To record post-petition vacation claim paid              6950-000                                   $20.19            $29,621.81
04/08/2016           50005     Paul Nolan                                To record post-petition vacation claim paid              6950-000                                 $1,451.26           $28,170.55

                                                                                                                                 SUBTOTALS          $45,000.00         $16,829.45
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                      Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                     Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                        Checking Acct #:                  ******9423
Co-Debtor Taxpayer ID #:                                                                                             Account Title:                    Payroll Account
For Period Beginning:              3/29/2013                                                                         Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                         Separate bond (if applicable):

       1                2                                     3                                        4                                  5                6                       7

   Transaction       Check /                            Paid to/              Description of Transaction              Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                         Received From                                                   Tran Code            $                $


04/08/2016           50006     Charles J. Holloway                     To record post-petition vacation claim paid    6950-000                                 $1,374.82           $26,795.73
04/08/2016           50007     David Testa                             To record post-petition vacation claim paid    6950-000                                 $1,056.07           $25,739.66
04/08/2016           50008     Sanyogita Chavan                        To record post-petition vacation claim paid    6950-000                                  $318.27            $25,421.39
04/08/2016           50009     Olga Kouka                              To record post-petition vacation claim paid    6950-000                                    $8.07            $25,413.32
04/08/2016           50010     Francis Miskovich                       To record post-petition vacation claim paid    6950-000                                  $200.88            $25,212.44
04/08/2016           50011     Gary Fellers                            To record post-petition vacation claim paid    6950-000                                  $605.46            $24,606.98
04/08/2016           50012     Angelica Augustyniak                    To record post-petition vacation claim paid    6950-000                                  $231.04            $24,375.94
04/08/2016           50013     Thomas Brys                             To record post-petition vacation claim paid    6950-000                                 $1,281.43           $23,094.51
04/08/2016           50014     Frederick Fastiggi (payroll)            To record post-petition vacation claim paid    6950-000                                 $1,126.09           $21,968.42
04/08/2016           50015     Jigesh R. Shah                          To record post-petition vacation claim paid    6950-000                                  $709.56            $21,258.86
04/08/2016           50016     John Dandeo                             To record post-petition vacation claim paid    6950-000                                  $312.72            $20,946.14
04/08/2016           50017     Wickam W. Dobson                        To record post-petition vacation claim paid    6950-000                                  $199.12            $20,747.02
04/08/2016           50018     Sunita Dhar                             To record post-petition vacation claim paid    6950-000                                  $721.13            $20,025.89
04/08/2016           50019     Tiffany L. Medley                       To record post-petition vacation claim paid    6950-000                                  $636.03            $19,389.86
04/08/2016           50020     Mohammed Sidhoum                        To record post-petition vacation claim paid    6950-000                                  $490.13            $18,899.73
04/08/2016           50021     Dawn Funk                               To record post-petition vacation claim paid    6950-000                                  $210.87            $18,688.86
04/08/2016           50022     Arthur J. Sorian                        To record post-petition vacation claim paid    6950-000                                  $283.83            $18,405.03
04/08/2016           50023     Phillip Scott                           To record post-petition vacation claim paid    6950-000                                  $294.08            $18,110.95
04/08/2016           50024     Mark L. Reber                           To record post-petition vacation claim paid    6950-000                                   $13.22            $18,097.73
04/08/2016           50025     Margaret DeRosa                         To record post-petition vacation claim paid    6950-000                                  $515.96            $17,581.77
04/08/2016           50026     Patrick Lorimer                         To record post-petition vacation claim paid    6950-000                                 $1,532.21           $16,049.56
04/08/2016           50027     Laszlo Matsay                           To record post-petition vacation claim paid    6950-000                                  $596.76            $15,452.80
04/08/2016           50028     Patrick Guilmette                       To record post-petition vacation claim paid    6950-000                                 $1,050.84           $14,401.96
04/08/2016           50029     Anthony Larosa                          To record post-petition vacation claim paid    6950-000                                 $1,331.11           $13,070.85
04/08/2016           50030     Robert Toomer                           To record post-petition vacation claim paid    6950-000                                  $239.32            $12,831.53
04/08/2016           50031     Kenneth Sisk                            To record post-petition vacation claim paid    6950-000                                  $689.26            $12,142.27
04/08/2016           50032     Mary Dender                             To record post-petition vacation claim paid    6950-000                                   $55.37            $12,086.90


                                                                                                                     SUBTOTALS                $0.00        $16,083.65
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                               Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                                  Checking Acct #:                  ******9423
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                    Payroll Account
For Period Beginning:              3/29/2013                                                                                   Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                   Separate bond (if applicable):

       1                2                                  3                                            4                                           5                6                        7

   Transaction       Check /                             Paid to/              Description of Transaction                       Uniform           Deposit       Disbursement               Balance
      Date            Ref. #                          Received From                                                            Tran Code            $                $


04/08/2016           50033     Denise Manson                            To record post-petition vacation claim paid             6950-000                                  $169.26             $11,917.64
04/08/2016           50034     Lewis Myerson                            To record post-petition vacation claim paid             6950-000                                  $285.15             $11,632.49
04/08/2016           50035     David Wilber                             To record post-petition vacation claim paid             6950-000                                  $522.05             $11,110.44
04/08/2016           50036     Gary Wogisch                             To record post-petition vacation claim paid             6950-000                                  $526.03             $10,584.41
04/08/2016           50037     Andrew Raichle                           To record post-petition vacation claim paid             6950-000                                 $1,602.37                $8,982.04
04/08/2016           50038     Timothy J. Rioux                         To record post-petition vacation claim paid             6950-000                                 $1,594.30                $7,387.74
04/08/2016           50039     Bei Jiang                                To record post-petition vacation claim paid             6950-000                                    $92.89                $7,294.85
04/08/2016           50040     Frank Barlowski, Jr.                     To record post-petition vacation claim paid             6950-000                                    $44.77                $7,250.08
04/08/2016           50041     Michael Soltys                           To record post-petition vacation claim paid             6950-000                                  $141.53                 $7,108.55
04/27/2016                     ADP                                      ADP refunded overage in SUTA tax.                          *                                       ($64.70)               $7,173.25
                                                                        ADP, Inc.                                     $64.69    6950-000                                                          $7,173.25
                                                                        ADP, Inc.                                      $0.01    6950-000                                                          $7,173.25
07/07/2016                     Signature Bank                           Account Analysis Fee                                    2600-000                                     $6.91                $7,166.34
07/28/2016                     ADP, Inc.                                Payroll Services                                        6950-000                                    $54.37                $7,111.97
08/05/2016                     Signature Bank                           Account Analysis Fee                                    2600-000                                     $6.86                $7,105.11
08/05/2016                     ADP, Inc.                                Tax impound                                             6950-000                                    $10.47                $7,094.64
09/06/2016                     Signature Bank                           Account Analysis Fee                                    2600-000                                     $6.83                $7,087.81
10/05/2016                     Signature Bank                           Account Analysis Fee                                    2600-000                                     $6.61                $7,081.20
11/03/2016                     Signature Bank                           Account Analysis Fee                                    2600-000                                     $6.83                $7,074.37
12/05/2016                     Signature Bank                           Account Analysis Fee                                    2600-000                                     $6.61                $7,067.76
01/05/2017                     Signature Bank                           Account Analysis Fee                                    2600-000                                     $6.83                $7,060.93
02/03/2017                     Signature Bank                           Account Analysis Fee                                    2600-000                                     $6.69                $7,054.24
03/03/2017                     Signature Bank                           Account Analysis Fee                                    2600-000                                     $5.93                $7,048.31
04/05/2017                     Signature Bank                           Account Analysis Fee                                    2600-000                                     $6.70                $7,041.61
05/03/2017                     Signature Bank                           Account Analysis Fee                                    2600-000                                     $6.64                $7,034.97
06/05/2017                     Signature Bank                           Account Analysis Fee                                    2600-000                                     $6.86                $7,028.11
07/06/2017                     Signature Bank                           Account Analysis Fee                                    2600-000                                     $6.64                $7,021.47
08/03/2017                     Signature Bank                           Account Analysis Fee                                    2600-000                                     $6.86                $7,014.61
                                                                                                                               SUBTOTALS                $0.00            $5,072.29
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                               Trustee Name:                      Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                              Bank Name:                         Signature Bank
Primary Taxpayer ID #:            **-***5216                                                                 Checking Acct #:                  ******9423
Co-Debtor Taxpayer ID #:                                                                                     Account Title:                    Payroll Account
For Period Beginning:             3/29/2013                                                                  Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                12/3/2021                                                                  Separate bond (if applicable):

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   Transaction       Check /                       Paid to/                Description of Transaction         Uniform           Deposit       Disbursement            Balance
      Date            Ref. #                    Received From                                                Tran Code            $                $


09/06/2017                     Signature Bank                       Account Analysis Fee                      2600-000                                   $6.86               $7,007.75
10/04/2017                     Signature Bank                       Account Analysis Fee                      2600-000                                   $6.64               $7,001.11
11/03/2017                     Signature Bank                       Account Analysis Fee                      2600-000                                   $6.86               $6,994.25
12/05/2017                     Signature Bank                       Account Analysis Fee                      2600-000                                   $6.69               $6,987.56
01/04/2018                     Signature Bank                       Account Analysis Fee                      2600-000                                   $6.96               $6,980.60
02/05/2018                     Signature Bank                       Account Analysis Fee                      2600-000                                   $6.96               $6,973.64
03/05/2018                     Signature Bank                       Account Analysis Fee                      2600-000                                   $6.40               $6,967.24
04/04/2018                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.37               $6,959.87
05/03/2018                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.20               $6,952.67
06/05/2018                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.44               $6,945.23
07/05/2018                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.20               $6,938.03
08/03/2018                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.46               $6,930.57
09/06/2018                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.47               $6,923.10
10/03/2018                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.23               $6,915.87
11/05/2018                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.47               $6,908.40
12/05/2018                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.23               $6,901.17
01/04/2019                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.47               $6,893.70
02/05/2019                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.44               $6,886.26
03/05/2019                     Signature Bank                       Account Analysis Fee                      2600-000                                   $6.72               $6,879.54
04/03/2019                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.48               $6,872.06
05/03/2019                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.32               $6,864.74
06/05/2019                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.57               $6,857.17
07/03/2019                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.36               $6,849.81
08/05/2019                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.80               $6,842.01
09/05/2019                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.80               $6,834.21
10/03/2019                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.42               $6,826.79
11/05/2019                     Signature Bank                       Account Analysis Fee                      2600-000                                   $7.62               $6,819.17


                                                                                                             SUBTOTALS                $0.00            $195.44
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                          Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                         Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                            Checking Acct #:                  ******9423
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:                    Payroll Account
For Period Beginning:              3/29/2013                                                                             Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                             Separate bond (if applicable):

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   Transaction       Check /                            Paid to/              Description of Transaction                  Uniform           Deposit       Disbursement               Balance
      Date            Ref. #                         Received From                                                       Tran Code            $                $


12/04/2019                     Signature Bank                          Account Analysis Fee                               2600-000                                     $7.38                $6,811.79
01/06/2020                     Signature Bank                          Account Analysis Fee                               2600-000                                     $7.63                $6,804.16
02/05/2020                     Signature Bank                          Account Analysis Fee                               2600-000                                     $7.67                $6,796.49
02/06/2020           50003     VOID: Patrick Hughes                                                                       6950-003                                   ($37.95)               $6,834.44
02/06/2020           50019     VOID: Tiffany L. Medley                                                                    6950-003                                 ($636.03)                $7,470.47
02/06/2020           50023     VOID: Phillip Scott                                                                        6950-003                                 ($294.08)                $7,764.55
02/06/2020           50030     VOID: Robert Toomer                                                                        6950-003                                 ($239.32)                $8,003.87
02/06/2020           50034     VOID: Lewis Myerson                                                                        6950-003                                 ($285.15)                $8,289.02
03/04/2020                     Signature Bank                          Account Analysis Fee                               2600-000                                     $7.20                $8,281.82
04/03/2020                     Signature Bank                          Account Analysis Fee                               2600-000                                     $7.79                $8,274.03
05/05/2020                     Signature Bank                          Account Analysis Fee                               2600-000                                     $7.59                $8,266.44
06/03/2020                     Signature Bank                          Account Analysis Fee                               2600-000                                     $7.83                $8,258.61
07/03/2020                     Signature Bank                          Account Analysis Fee                               2600-000                                     $7.61                $8,251.00
08/05/2020                     Signature Bank                          Account Analysis Fee                               2600-000                                     $7.88                $8,243.12
09/03/2020                     Signature Bank                          Account Analysis Fee                               2600-000                                     $7.88                $8,235.24
09/22/2020                     Transfer To: #******9415                Close out account and transfer to main account.    9999-000                                 $8,235.24                   $0.00




                                                                                                                         SUBTOTALS                $0.00            $6,819.17
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          13-16743-MBK                                                                                     Trustee Name:                         Edwin H. Stier
Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                    Bank Name:                            Signature Bank
Primary Taxpayer ID #:            **-***5216                                                                                       Checking Acct #:                      ******9423
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:                        Payroll Account
For Period Beginning:             3/29/2013                                                                                        Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                        Separate bond (if applicable):

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  Transaction        Check /                          Paid to/              Description of Transaction                              Uniform           Deposit          Disbursement             Balance
     Date             Ref. #                       Received From                                                                   Tran Code            $                   $


                                                                                      TOTALS:                                                            $45,000.00          $45,000.00                   $0.00
                                                                                          Less: Bank transfers/CDs                                       $45,000.00           $8,235.24
                                                                                      Subtotal                                                                $0.00          $36,764.76
                                                                                          Less: Payments to debtors                                           $0.00               $0.00
                                                                                      Net                                                                     $0.00          $36,764.76



                     For the period of 3/29/2013 to 12/3/2021                                                   For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                           $0.00                                Total Compensable Receipts:                                     $0.00
                     Total Non-Compensable Receipts:                       $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                         $0.00                                Total Comp/Non Comp Receipts:                                   $0.00
                     Total Internal/Transfer Receipts:                $45,000.00                                Total Internal/Transfer Receipts:                          $45,000.00


                     Total Compensable Disbursements:                 $36,764.76                                Total Compensable Disbursements:                           $36,764.76
                     Total Non-Compensable Disbursements:                  $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:               $36,764.76                                Total Comp/Non Comp Disbursements:                         $36,764.76
                     Total Internal/Transfer Disbursements:            $8,235.24                                Total Internal/Transfer Disbursements:                      $8,235.24
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                                        Trustee Name:                      Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                       Bank Name:                         Signature Bank
Primary Taxpayer ID #:            **-***5216                                                                                          Checking Acct #:                  ******9431
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:                    BSG
For Period Beginning:             3/29/2013                                                                                           Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                12/3/2021                                                                                           Separate bond (if applicable):

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   Transaction       Check /                            Paid to/               Description of Transaction                              Uniform            Deposit      Disbursement              Balance
      Date            Ref. #                         Received From                                                                    Tran Code             $               $


01/11/2016                                                             Ck Num: JLP - Deposited check from BOA accts into               9999-000          $253,821.45                               $253,821.45
                                                                       Signature
02/05/2016           1001      Mercadien, PC CPA's                     Prof. Fees Payable                                              3410-000                                 $9,294.41          $244,527.04
03/16/2016                     NYS Dept. of Finance                    Income tax                                                      2820-000                                  $482.00           $244,045.04
04/20/2016           1002      ADP, Inc.                               Payroll services                                                2990-000                                  $294.60           $243,750.44
04/20/2016           1003      ADP, Inc.                               VOID: Payroll services                                          2990-000                                                    $243,750.44
05/17/2016           1004      ADP, Inc.                               Payroll Services                                                2990-000                                   $44.75           $243,705.69
05/17/2016           1005      Tiffany Medley                                                                                          6950-000                                  $636.03           $243,069.66
07/07/2016                     Signature Bank                          Account Analysis Fee                                            2600-000                                  $167.89           $242,901.77
08/02/2016           1006      ADP, Inc.                                                                                               2990-000                                  $128.40           $242,773.37
08/05/2016                     Signature Bank                          Account Analysis Fee                                            2600-000                                  $189.38           $242,583.99
09/06/2016                     Signature Bank                          Account Analysis Fee                                            2600-000                                  $189.92           $242,394.07
10/04/2016           1007      ADP, Inc.                                                                                               2990-000                                   $26.15           $242,367.92
10/05/2016                     Signature Bank                          Account Analysis Fee                                            2600-000                                  $183.78           $242,184.14
10/06/2016            (46)     New York City Dept of Finance           Income tax refund                                               1290-000             $227.47                                $242,411.61
11/03/2016                     Signature Bank                          Account Analysis Fee                                            2600-000                                  $190.04           $242,221.57
12/05/2016                     Signature Bank                          Account Analysis Fee                                            2600-000                                  $183.93           $242,037.64
12/14/2016                     State of New Jersey - CBT               Annual report                                                   2990-000                                   $50.50           $241,987.14
01/05/2017                     Signature Bank                          Account Analysis Fee                                            2600-000                                  $190.05           $241,797.09
02/03/2017                     Signature Bank                          Account Analysis Fee                                            2600-000                                  $186.07           $241,611.02
03/03/2017                     Signature Bank                          Account Analysis Fee                                            2600-000                                  $166.42           $241,444.60
03/13/2017                     New York City Dept of Finance           2016 income tax                                                    *                                       $25.00           $241,419.60
                                                                       NYC Dept. of Finance                                $(24.00)    2820-000                                                    $241,419.60
                                                                       NYC Dept. of Finance                                 $(1.00)    2820-000                                                    $241,419.60
03/13/2017           1008      Mercadien, PC CPA's                     Chapter 7 fees                                                  3410-000                                $11,512.90          $229,906.70
03/13/2017           1009      Mercadien, PC CPA's                     Chapter 7 Fees                                                     *                                    $15,723.76          $214,182.94
                                                                       Mercadien, PC CPAs                              $(3,098.14)     3410-000                                                    $214,182.94
                                                                       Mercadien, PC CPAs                             $(12,625.62)     3410-000                                                    $214,182.94

                                                                                                                                      SUBTOTALS          $254,048.92        $39,865.98
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                            Trustee Name:                      Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                           Bank Name:                         Signature Bank
Primary Taxpayer ID #:            **-***5216                                                                              Checking Acct #:                  ******9431
Co-Debtor Taxpayer ID #:                                                                                                  Account Title:                    BSG
For Period Beginning:             3/29/2013                                                                               Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                12/3/2021                                                                               Separate bond (if applicable):

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   Transaction       Check /                            Paid to/               Description of Transaction                  Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                         Received From                                                        Tran Code            $                $


04/05/2017                     Signature Bank                          Account Analysis Fee                                2600-000                                  $177.00           $214,005.94
05/03/2017                     Signature Bank                          Account Analysis Fee                                2600-000                                  $166.53           $213,839.41
06/05/2017                     Signature Bank                          Account Analysis Fee                                2600-000                                  $172.10           $213,667.31
07/06/2017                     Signature Bank                          Account Analysis Fee                                2600-000                                  $166.56           $213,500.75
08/01/2017           1010      State of New Jersey - CBT               DOL annual assessment                               2820-000                                    $67.22          $213,433.53
08/03/2017                     Signature Bank                          Account Analysis Fee                                2600-000                                  $172.12           $213,261.41
09/06/2017                     Signature Bank                          Account Analysis Fee                                2600-000                                  $172.09           $213,089.32
09/27/2017            1011     ADP, Inc.                               Payroll services                                    2990-000                                    $26.15          $213,063.17
10/04/2017                     Signature Bank                          Account Analysis Fee                                2600-000                                  $166.53           $212,896.64
10/25/2017           1012      Mercadien, PC CPA's                     Chapter 7                                              *                                     $4,966.70          $207,929.94
                                                                       Mercadien, PC CPAs                   $(4,963.20)    3410-000                                                    $207,929.94
                                                                       Mercadien, PC CPAs                       $(3.50)    3410-000                                                    $207,929.94
11/03/2017                     Signature Bank                          Account Analysis Fee                                2600-000                                  $172.07           $207,757.87
12/05/2017                     Signature Bank                          Account Analysis Fee                                2600-000                                  $164.58           $207,593.29
12/08/2017           1013      ADP, Inc.                               Payroll Services                                    2990-000                                    $26.15          $207,567.14
12/22/2017                     State of New Jersey - CBT               Annual report                                       2990-000                                    $50.50          $207,516.64
01/04/2018                     Signature Bank                          Account Analysis Fee                                2600-000                                  $170.31           $207,346.33
02/05/2018                     Signature Bank                          Account Analysis Fee                                2600-000                                  $170.30           $207,176.03
03/05/2018                     Signature Bank                          Account Analysis Fee                                2600-000                                  $156.53           $207,019.50
03/08/2018           1014      ADP, Inc.                               Payroll services                                    2990-000                                    $26.15          $206,993.35
04/04/2018                     Signature Bank                          Account Analysis Fee                                2600-000                                  $180.32           $206,813.03
05/03/2018                     Signature Bank                          Account Analysis Fee                                2600-000                                  $176.26           $206,636.77
06/05/2018                     Signature Bank                          Account Analysis Fee                                2600-000                                  $182.15           $206,454.62
06/14/2018           1015      ADP, Inc.                               Payroll Services                                    2990-000                                    $26.15          $206,428.47
07/05/2018                     Signature Bank                          Account Analysis Fee                                2600-000                                  $176.29           $206,252.18
08/03/2018                     Signature Bank                          Account Analysis Fee                                2600-000                                  $182.62           $206,069.56
09/06/2018                     Signature Bank                          Account Analysis Fee                                2600-000                                  $182.69           $205,886.87
09/24/2018                     State of New Jersey - CBT               Annual Report                                       2990-000                                    $50.50          $205,836.37
                                                                                                                          SUBTOTALS                $0.00            $8,346.57
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                          Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                         Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                            Checking Acct #:                  ******9431
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:                    BSG
For Period Beginning:              3/29/2013                                                                             Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                             Separate bond (if applicable):

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   Transaction       Check /                            Paid to/              Description of Transaction                  Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                         Received From                                                       Tran Code            $                $


10/03/2018                     Signature Bank                          Account Analysis Fee                               2600-000                                  $176.80           $205,659.57
11/05/2018                     Signature Bank                          Account Analysis Fee                               2600-000                                  $182.67           $205,476.90
12/05/2018                     Signature Bank                          Account Analysis Fee                               2600-000                                  $176.76           $205,300.14
01/04/2019                     Signature Bank                          Account Analysis Fee                               2600-000                                  $182.64           $205,117.50
02/05/2019                     Signature Bank                          Account Analysis Fee                               2600-000                                  $181.99           $204,935.51
03/05/2019                     Signature Bank                          Account Analysis Fee                               2600-000                                  $164.26           $204,771.25
03/07/2019                     NYS Dept. of Finance                    2018 Tax                                           2820-000                                  $115.00           $204,656.25
04/03/2019                     Signature Bank                          Account Analysis Fee                               2600-000                                  $182.83           $204,473.42
05/03/2019                     Signature Bank                          Account Analysis Fee                               2600-000                                  $179.03           $204,294.39
05/21/2019           1016      Mercadien, PC CPA's                     Chapter 7 fees                                     3410-000                                 $4,525.80          $199,768.59
06/05/2019                     Signature Bank                          Account Analysis Fee                               2600-000                                  $185.01           $199,583.58
07/03/2019                     Signature Bank                          Account Analysis Fee                               2600-000                                  $178.90           $199,404.68
07/25/2019           1017      NYS Dept. of Finance                    Fee on 2013 sales tax                              2990-000                                    $50.00          $199,354.68
07/25/2019           1018      NYS Dept. of Finance                    Fee on 2014 sales tax                              2990-000                                    $50.00          $199,304.68
08/05/2019                     Signature Bank                          Account Analysis Fee                               2600-000                                  $186.46           $199,118.22
09/05/2019                     Signature Bank                          Account Analysis Fee                               2600-000                                  $186.42           $198,931.80
10/03/2019                     Signature Bank                          Account Analysis Fee                               2600-000                                  $177.28           $198,754.52
11/05/2019                     Signature Bank                          Account Analysis Fee                               2600-000                                  $182.06           $198,572.46
11/06/2019                     State of New Jersey - CBT               Annual report fee                                  2990-000                                    $75.50          $198,496.96
11/27/2019                     State of Vermont                        Withholding tax penalty                            2820-000                                    $50.00          $198,446.96
12/04/2019                     Signature Bank                          Account Analysis Fee                               2600-000                                  $176.14           $198,270.82
12/17/2019           1019      Thomas Brys                             Net check                                             *                                     $1,189.43          $197,081.39
                                                                       Gross vacation/personal time        $(1,478.37)    5300-000                                                    $197,081.39
                                                                       Withholding taxes on wage claim       $288.94      5300-000                                                    $197,081.39
12/17/2019           1020      Debby DeJong                            Net check                                             *                                      $275.97           $196,805.42
                                                                       Gross vacation/personal              $(327.34)     5300-000                                                    $196,805.42
                                                                       Withholding taxes on claim             $51.37      5300-000                                                    $196,805.42



                                                                                                                         SUBTOTALS                $0.00            $9,030.95
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                        Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                       Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                          Checking Acct #:                  ******9431
Co-Debtor Taxpayer ID #:                                                                                               Account Title:                    BSG
For Period Beginning:              3/29/2013                                                                           Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                           Separate bond (if applicable):

       1                2                               3                                           4                                       5                6                       7

   Transaction       Check /                          Paid to/              Description of Transaction                  Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                       Received From                                                       Tran Code            $                $


12/17/2019           1021      Margaret Derosa                       Net check                                             *                                      $417.23           $196,388.19
                                                                     Gross vacation/personal              $(506.10)     5300-000                                                    $196,388.19
                                                                     Withholding taxes                      $88.87      5300-000                                                    $196,388.19
12/17/2019           1022      Sunita Dhar                           Net check                                             *                                        $34.97          $196,353.22
                                                                     Gross vacation/personal               $(38.15)     5300-000                                                    $196,353.22
                                                                     Withholding taxes                        $3.18     5300-000                                                    $196,353.22
12/17/2019           1023      Wickam Dobson                         Net check                                             *                                      $328.22           $196,025.00
                                                                     Gross vacation/personal              $(380.12)     5300-000                                                    $196,025.00
                                                                     Withholding taxes                      $51.90      5300-000                                                    $196,025.00
12/17/2019           1024      Gary Fellers                          Net check                                             *                                      $518.77           $195,506.23
                                                                     Gross vacation/personal              $(636.81)     5300-000                                                    $195,506.23
                                                                     Withholding taxes                     $118.04      5300-000                                                    $195,506.23
12/17/2019           1025      Patrick Guilmette                     Net Check                                             *                                        $96.62          $195,409.61
                                                                     Gross vacation/personal              $(107.15)     5300-000                                                    $195,409.61
                                                                     Withholding taxes                      $10.53      5300-000                                                    $195,409.61
12/17/2019           1026      Charles Holloway                      Net Check                                             *                                      $603.01           $194,806.60
                                                                     Gross vacation/personal              $(685.69)     5300-000                                                    $194,806.60
                                                                     Withholding taxes                      $82.68      5300-000                                                    $194,806.60
12/17/2019           1027      Patrick Hughes                        Net check                                             *                                        $19.25          $194,787.35
                                                                     Gross vacation/personal               $(21.00)     5300-000                                                    $194,787.35
                                                                     Withholding taxes                        $1.75     5300-000                                                    $194,787.35
12/17/2019           1028      John Kendall                          Net check                                             *                                      $805.46           $193,981.89
                                                                     Gross vacation/personal             $(1,066.62)    5300-000                                                    $193,981.89
                                                                     Withholding taxes                     $261.16      5300-000                                                    $193,981.89
12/17/2019           1029      Patrick Lorimer                       Net check                                             *                                     $2,597.52          $191,384.37
                                                                     Gross vacation/personal             $(3,584.13)    5300-000                                                    $191,384.37
                                                                     Withholding taxes                     $986.61      5300-000                                                    $191,384.37
12/17/2019           1030      Laszlo Matsay                         Net Check                                             *                                      $181.07           $191,203.30
                                                                     Gross vacation/personal              $(216.72)     5300-000                                                    $191,203.30
                                                                     Withholding taxes                      $35.65      5300-000                                                    $191,203.30

                                                                                                                       SUBTOTALS                $0.00            $5,602.12
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                                                                    CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                        Trustee Name:                      Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                       Bank Name:                         Signature Bank
Primary Taxpayer ID #:            **-***5216                                                                          Checking Acct #:                  ******9431
Co-Debtor Taxpayer ID #:                                                                                              Account Title:                    BSG
For Period Beginning:             3/29/2013                                                                           Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                12/3/2021                                                                           Separate bond (if applicable):

       1                2                             3                                            4                                       5                6                       7

   Transaction       Check /                        Paid to/               Description of Transaction                  Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                     Received From                                                        Tran Code            $                $


12/17/2019           1031      Tiffany Medley                       Net check                                             *                                      $353.36           $190,849.94
                                                                    Gross vacation/personal              $(401.50)     5300-000                                                    $190,849.94
                                                                    Withholding taxes                      $48.14      5300-000                                                    $190,849.94
12/17/2019           1032      Frank Miskovich                      Net check                                             *                                       $11.02           $190,838.92
                                                                    Gross vacation/personal               $(12.02)     5300-000                                                    $190,838.92
                                                                    Withholding taxes                        $1.00     5300-000                                                    $190,838.92
12/17/2019           1033      Nolan, Paul                          Net Check                                             *                                      $304.91           $190,534.01
                                                                    Gross vacation/personal              $(336.54)     5300-000                                                    $190,534.01
                                                                    Withholding taxes                      $31.63      5300-000                                                    $190,534.01
12/17/2019           1034      Andrew Raichle                       Net check                                             *                                     $4,554.75          $185,979.26
                                                                    Gross vacation/personal             $(6,829.33)    5300-000                                                    $185,979.26
                                                                    Withholding taxes                   $2,274.58      5300-000                                                    $185,979.26
12/17/2019           1035      Timothy Rioux                        Net check                                             *                                     $3,657.88          $182,321.38
                                                                    Gross vacation/personal             $(5,393.75)    5300-000                                                    $182,321.38
                                                                    Withholding taxes                   $1,735.87      5300-000                                                    $182,321.38
12/17/2019           1036      Michael Sinnema                      Net check                                             *                                      $953.74           $181,367.64
                                                                    Gross vacation/personal             $(1,131.75)    5300-000                                                    $181,367.64
                                                                    Withholding taxes                     $178.01      5300-000                                                    $181,367.64
12/17/2019           1037      David Testa                          Net Check                                             *                                      $229.86           $181,137.78
                                                                    Gross vacation/personal              $(254.26)     5300-000                                                    $181,137.78
                                                                    Withholding taxes                      $24.40      5300-000                                                    $181,137.78
12/17/2019           1038      Gary Wogisch                         Net check                                             *                                      $296.85           $180,840.93
                                                                    Gross vacation/personal              $(331.88)     5300-000                                                    $180,840.93
                                                                    Withholding taxes                      $35.03      5300-000                                                    $180,840.93
12/17/2019           1039      John Woolley                         Net check                                             *                                      $326.24           $180,514.69
                                                                    Gross vacation/personal              $(401.44)     5300-000                                                    $180,514.69
                                                                    Withholding taxes                      $75.20      5300-000                                                    $180,514.69
01/06/2020                     Signature Bank                       Account Analysis Fee                               2600-000                                  $180.62           $180,334.07




                                                                                                                      SUBTOTALS                $0.00        $10,869.23
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                          Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                         Bank Name:                         Signature Bank
Primary Taxpayer ID #:             **-***5216                                                                            Checking Acct #:                  ******9431
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:                    BSG
For Period Beginning:              3/29/2013                                                                             Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                             Separate bond (if applicable):

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   Transaction       Check /                           Paid to/              Description of Transaction                   Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                        Received From                                                        Tran Code            $                $


01/14/2020                     United States Treasury                 4th Q 2019 Federal payroll taxes                       *                                     $7,059.88          $173,274.19
                                                                                                            $(246.10)     5300-000                                                    $173,274.19
                                                                                                             $(26.24)     5300-000                                                    $173,274.19
                                                                                                             $(77.26)     5300-000                                                    $173,274.19
                                                                                                               $(2.92)    5300-000                                                    $173,274.19
                                                                                                             $(43.63)     5300-000                                                    $173,274.19
                                                                                                            $(102.94)     5300-000                                                    $173,274.19
                                                                                                               $(8.20)    5300-000                                                    $173,274.19
                                                                                                             $(66.03)     5300-000                                                    $173,274.19
                                                                                                               $(1.61)    5300-000                                                    $173,274.19
                                                                                                            $(220.54)     5300-000                                                    $173,274.19
                                                                                                            $(800.18)     5300-000                                                    $173,274.19
                                                                                                             $(30.94)     5300-000                                                    $173,274.19
                                                                                                             $(39.32)     5300-000                                                    $173,274.19
                                                                                                               $(0.92)    5300-000                                                    $173,274.19
                                                                                                             $(25.75)     5300-000                                                    $173,274.19
                                                                                                           $(1,839.08)    5300-000                                                    $173,274.19
                                                                                                           $(1,389.83)    5300-000                                                    $173,274.19
                                                                                                            $(178.01)     5300-000                                                    $173,274.19
                                                                                                             $(19.45)     5300-000                                                    $173,274.19
                                                                                                             $(27.81)     5300-000                                                    $173,274.19
                                                                                                             $(66.38)     5300-000                                                    $173,274.19
                                                                      Employer tax expense Fica and Medi   $(1,846.74)    5800-000                                                    $173,274.19
01/14/2020           1040      United States Treasury                 2019 FUTA tax                                       5800-000                                  $144.84           $173,129.35




                                                                                                                         SUBTOTALS                $0.00            $7,204.72
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                        Trustee Name:                      Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                       Bank Name:                         Signature Bank
Primary Taxpayer ID #:            **-***5216                                                                          Checking Acct #:                  ******9431
Co-Debtor Taxpayer ID #:                                                                                              Account Title:                    BSG
For Period Beginning:             3/29/2013                                                                           Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                12/3/2021                                                                           Separate bond (if applicable):

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   Transaction       Check /                          Paid to/               Description of Transaction                Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                       Received From                                                      Tran Code            $                $


01/17/2020                     STATE OF NEW JERSEY                   4th Q 2019 state payroll taxes                       *                                     $1,930.72          $171,198.63
                                                                                                           $(42.83)    5300-000                                                    $171,198.63
                                                                                                           $(25.13)    5300-000                                                    $171,198.63
                                                                                                           $(11.62)    5300-000                                                    $171,198.63
                                                                                                            $(0.26)    5300-000                                                    $171,198.63
                                                                                                            $(8.27)    5300-000                                                    $171,198.63
                                                                                                            $(2.33)    5300-000                                                    $171,198.63
                                                                                                           $(16.66)    5300-000                                                    $171,198.63
                                                                                                           $(40.62)    5300-000                                                    $171,198.63
                                                                                                            $(0.14)    5300-000                                                    $171,198.63
                                                                                                          $(186.43)    5300-000                                                    $171,198.63
                                                                                                            $(4.71)    5300-000                                                    $171,198.63
                                                                                                            $(8.82)    5300-000                                                    $171,198.63
                                                                                                            $(0.08)    5300-000                                                    $171,198.63
                                                                                                            $(5.88)    5300-000                                                    $171,198.63
                                                                                                          $(435.50)    5300-000                                                    $171,198.63
                                                                                                          $(346.04)    5300-000                                                    $171,198.63
                                                                                                            $(4.95)    5300-000                                                    $171,198.63
                                                                                                            $(7.22)    5300-000                                                    $171,198.63
                                                                                                            $(8.82)    5300-000                                                    $171,198.63
                                                                     Employer NJ taxes                    $(759.31)    5800-000                                                    $171,198.63
                                                                                                           $(15.10)    5300-000                                                    $171,198.63
02/05/2020                     Signature Bank                        Account Analysis Fee                              2600-000                                  $165.67           $171,032.96
02/19/2020           1041      Mercadien PC CPAs                                                                       3410-000                                 $3,893.30          $167,139.66
03/04/2020                     Signature Bank                        Account Analysis Fee                              2600-000                                  $149.36           $166,990.30
03/09/2020                     NYS Department of Taxation                                                              2820-000                                    $25.00          $166,965.30
04/03/2020                     Signature Bank                        Account Analysis Fee                              2600-000                                  $158.70           $166,806.60
05/05/2020                     Signature Bank                        Account Analysis Fee                              2600-000                                  $153.34           $166,653.26
06/03/2020                     Signature Bank                        Account Analysis Fee                              2600-000                                  $158.26           $166,495.00
07/03/2020                     Signature Bank                        Account Analysis Fee                              2600-000                                  $153.79           $166,341.21

                                                                                                                      SUBTOTALS                $0.00            $6,788.14
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                                         Trustee Name:                         Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                        Bank Name:                            Signature Bank
Primary Taxpayer ID #:            **-***5216                                                                                           Checking Acct #:                      ******9431
Co-Debtor Taxpayer ID #:                                                                                                               Account Title:                        BSG
For Period Beginning:             3/29/2013                                                                                            Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                            Separate bond (if applicable):

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   Transaction       Check /                           Paid to/              Description of Transaction                                 Uniform           Deposit          Disbursement               Balance
      Date            Ref. #                        Received From                                                                      Tran Code            $                   $


08/05/2020                     Signature Bank                         Account Analysis Fee                                              2600-000                                     $159.18            $166,182.03
09/03/2020                     Signature Bank                         Account Analysis Fee                                              2600-000                                     $159.19            $166,022.84
09/22/2020                     Transfer To: #******9415                                                                                 9999-000                                $166,349.08                  ($326.24)
09/22/2020           1039      VOID: John Woolley                                                                                           *                                        ($326.24)                  $0.00
                                                                      Gross vacation/personal                              $401.44      5300-003                                                                $0.00
                                                                      Withholding taxes                                    $(75.20)     5300-003                                                                $0.00

                                                                                          TOTALS:                                                         $254,048.92           $254,048.92                     $0.00
                                                                                              Less: Bank transfers/CDs                                    $253,821.45           $166,349.08
                                                                                          Subtotal                                                            $227.47            $87,699.84
                                                                                              Less: Payments to debtors                                         $0.00                 $0.00
                                                                                          Net                                                                 $227.47            $87,699.84



                     For the period of 3/29/2013 to 12/3/2021                                                       For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                          $227.47                                   Total Compensable Receipts:                                   $227.47
                     Total Non-Compensable Receipts:                        $0.00                                   Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                        $227.47                                   Total Comp/Non Comp Receipts:                                 $227.47
                     Total Internal/Transfer Receipts:                $253,821.45                                   Total Internal/Transfer Receipts:                         $253,821.45


                     Total Compensable Disbursements:                  $87,699.84                                   Total Compensable Disbursements:                           $87,699.84
                     Total Non-Compensable Disbursements:                   $0.00                                   Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                $87,699.84                                   Total Comp/Non Comp Disbursements:                         $87,699.84
                     Total Internal/Transfer Disbursements:           $166,349.08                                   Total Internal/Transfer Disbursements:                    $166,349.08
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                                        Trustee Name:                         Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                       Bank Name:                            PMK
Primary Taxpayer ID #:            **-***5216                                                                                          Checking Acct #:                      ******1767
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:                        Operating Accxount
For Period Beginning:             3/29/2013                                                                                           Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                           Separate bond (if applicable):

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   Transaction       Check /                          Paid to/                Description of Transaction                               Uniform           Deposit          Disbursement            Balance
      Date            Ref. #                       Received From                                                                      Tran Code            $                   $


08/01/2013            (8)      Balance from Chapter 11 account                                                                         1290-000               $166.00                                     $166.00
01/07/2014            (46)     Verizon                               refund                                                            1290-000                   $0.20                                   $166.20
04/17/2014            (46)     Hess Corporation                      PMK Group                                                         1290-000             $5,266.70                                    $5,432.90
12/23/2015                     Signature Operating Acct #9415        Account closed check# 1021259016 issued                           9999-000                                 $21,580.36          ($16,147.46)
12/31/2015            (44)     Unknown                               Ck Num: JLP - Void outstanding pre-petition checks from           1290-000          $16,147.46                                         $0.00
                                                                     2008 - 2010 written by Debtor.

                                                                                        TOTALS:                                                             $21,580.36          $21,580.36                  $0.00
                                                                                            Less: Bank transfers/CDs                                             $0.00          $21,580.36
                                                                                        Subtotal                                                            $21,580.36               $0.00
                                                                                            Less: Payments to debtors                                            $0.00               $0.00
                                                                                        Net                                                                 $21,580.36               $0.00



                     For the period of 3/29/2013 to 12/3/2021                                                      For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                      $21,580.36                                   Total Compensable Receipts:                                $21,580.36
                     Total Non-Compensable Receipts:                       $0.00                                   Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                    $21,580.36                                   Total Comp/Non Comp Receipts:                              $21,580.36
                     Total Internal/Transfer Receipts:                     $0.00                                   Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                      $0.00                                   Total Compensable Disbursements:                                $0.00
                     Total Non-Compensable Disbursements:                  $0.00                                   Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                    $0.00                                   Total Comp/Non Comp Disbursements:                              $0.00
                     Total Internal/Transfer Disbursements:           $21,580.36                                   Total Internal/Transfer Disbursements:                     $21,580.36
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                                     Trustee Name:                         Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                    Bank Name:                            CMX Acuqistition (NJ)
Primary Taxpayer ID #:            **-***5216                                                                                       Checking Acct #:                      ******1958
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:
For Period Beginning:             3/29/2013                                                                                        Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                        Separate bond (if applicable):

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   Transaction       Check /                          Paid to/              Description of Transaction                              Uniform           Deposit          Disbursement               Balance
      Date            Ref. #                       Received From                                                                   Tran Code            $                   $


08/01/2013            (12)     Balance from Chapter 11 account                                                                      1290-000             $5,050.04                                       $5,050.04
12/23/2015                     Signature Operating Acct #9415        Account closed check# 1021259161 issued                        9999-000                                     $5,050.04                  $0.00

                                                                                      TOTALS:                                                            $5,050.04               $5,050.04                  $0.00
                                                                                          Less: Bank transfers/CDs                                           $0.00               $5,050.04
                                                                                      Subtotal                                                           $5,050.04                   $0.00
                                                                                          Less: Payments to debtors                                          $0.00                   $0.00
                                                                                      Net                                                                $5,050.04                   $0.00



                     For the period of 3/29/2013 to 12/3/2021                                                   For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                       $5,050.04                                Total Compensable Receipts:                                 $5,050.04
                     Total Non-Compensable Receipts:                       $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                     $5,050.04                                Total Comp/Non Comp Receipts:                               $5,050.04
                     Total Internal/Transfer Receipts:                     $0.00                                Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                      $0.00                                Total Compensable Disbursements:                                $0.00
                     Total Non-Compensable Disbursements:                  $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                    $0.00                                Total Comp/Non Comp Disbursements:                              $0.00
                     Total Internal/Transfer Disbursements:            $5,050.04                                Total Internal/Transfer Disbursements:                      $5,050.04
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                                     Trustee Name:                         Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                    Bank Name:                            Bank Of America
Primary Taxpayer ID #:            **-***5216                                                                                       Savings Acct #:                       ******3070
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:                        Flex Spendng Account
For Period Beginning:             3/29/2013                                                                                        Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                        Separate bond (if applicable):

       1                2                                3                                          4                                                      5                 6                     7

   Transaction       Check /                          Paid to/              Description of Transaction                              Uniform           Deposit          Disbursement             Balance
      Date            Ref. #                       Received From                                                                   Tran Code            $                   $


08/01/2013            (5)      Balance from Chapter 11 account                                                                      1290-000         $20,901.91                                    $20,901.91
12/23/2015                     Signature Operating Acct #9415        Account closed check# 1021258527 issued                        9999-000                                 $20,901.91                   $0.00

                                                                                      TOTALS:                                                            $20,901.91          $20,901.91                   $0.00
                                                                                          Less: Bank transfers/CDs                                            $0.00          $20,901.91
                                                                                      Subtotal                                                           $20,901.91               $0.00
                                                                                          Less: Payments to debtors                                           $0.00               $0.00
                                                                                      Net                                                                $20,901.91               $0.00



                     For the period of 3/29/2013 to 12/3/2021                                                   For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                      $20,901.91                                Total Compensable Receipts:                                $20,901.91
                     Total Non-Compensable Receipts:                       $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                    $20,901.91                                Total Comp/Non Comp Receipts:                              $20,901.91
                     Total Internal/Transfer Receipts:                     $0.00                                Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                      $0.00                                Total Compensable Disbursements:                                $0.00
                     Total Non-Compensable Disbursements:                  $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                    $0.00                                Total Comp/Non Comp Disbursements:                              $0.00
                     Total Internal/Transfer Disbursements:           $20,901.91                                Total Internal/Transfer Disbursements:                     $20,901.91
                                      Case 13-16743-MBK            Doc 1222 Filed 12/10/21
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                                        Trustee Name:                         Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                       Bank Name:                            Voorhees
Primary Taxpayer ID #:            **-***5216                                                                                          Checking Acct #:                      ******4713
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:                        Petty Cash
For Period Beginning:             3/29/2013                                                                                           Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                           Separate bond (if applicable):

       1                2                                3                                          4                                                       5                   6                      7

   Transaction       Check /                          Paid to/              Description of Transaction                                 Uniform           Deposit          Disbursement              Balance
      Date            Ref. #                       Received From                                                                      Tran Code            $                   $


08/01/2013            (10)     Balance from Chapter 11 account                                                                         1290-000             $643.52                                        $643.52
12/23/2015                     Signature Operating Acct #9415        Account closed check# 1021259017.                                 9999-000                                      $673.52               ($30.00)
12/31/2015            (44)     Unknown                               Ck Num: JLP - Void outstanding pre-petition check from            1290-000              $30.00                                           $0.00
                                                                     2010 written by Debtor.

                                                                                       TOTALS:                                                              $673.52                  $673.52                  $0.00
                                                                                           Less: Bank transfers/CDs                                           $0.00                  $673.52
                                                                                       Subtotal                                                             $673.52                    $0.00
                                                                                           Less: Payments to debtors                                          $0.00                    $0.00
                                                                                       Net                                                                  $673.52                    $0.00



                     For the period of 3/29/2013 to 12/3/2021                                                      For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                        $673.52                                    Total Compensable Receipts:                                      $673.52
                     Total Non-Compensable Receipts:                      $0.00                                    Total Non-Compensable Receipts:                                    $0.00
                     Total Comp/Non Comp Receipts:                      $673.52                                    Total Comp/Non Comp Receipts:                                    $673.52
                     Total Internal/Transfer Receipts:                    $0.00                                    Total Internal/Transfer Receipts:                                  $0.00


                     Total Compensable Disbursements:                     $0.00                                    Total Compensable Disbursements:                                $0.00
                     Total Non-Compensable Disbursements:                 $0.00                                    Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                   $0.00                                    Total Comp/Non Comp Disbursements:                              $0.00
                     Total Internal/Transfer Disbursements:             $673.52                                    Total Internal/Transfer Disbursements:                        $673.52
                                      Case 13-16743-MBK            Doc 1222 Filed 12/10/21
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                                        Trustee Name:                         Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                       Bank Name:                            BEI
Primary Taxpayer ID #:            **-***5216                                                                                          Checking Acct #:                      ******5656
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:                        Operating Account
For Period Beginning:             3/29/2013                                                                                           Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                           Separate bond (if applicable):

       1                2                                3                                          4                                                         5                 6                    7

   Transaction       Check /                          Paid to/              Description of Transaction                                 Uniform           Deposit          Disbursement            Balance
      Date            Ref. #                       Received From                                                                      Tran Code            $                   $


08/01/2013            (7)      Balance from Chapter 11 account                                                                         1290-000             $6,665.79                                    $6,665.79
12/23/2015                     Signature Operating Acct #9415        Account closed check# 1021259015 issued.                          9999-000                                 $12,203.66           ($5,537.87)
12/31/2015            (44)     Unknown                               Ck Num: JLP - Void outstanding pre-petition checks from           1290-000             $6,233.49                                     $695.62
                                                                     2007 - 2010 written by Debtor.
12/31/2015            (46)     Unknown                               Ck Num: JLP - Void pre-petition reconciling adjustment            1290-000              ($695.62)                                      $0.00

                                                                                       TOTALS:                                                              $12,203.66          $12,203.66                  $0.00
                                                                                           Less: Bank transfers/CDs                                              $0.00          $12,203.66
                                                                                       Subtotal                                                             $12,203.66               $0.00
                                                                                           Less: Payments to debtors                                             $0.00               $0.00
                                                                                       Net                                                                  $12,203.66               $0.00



                     For the period of 3/29/2013 to 12/3/2021                                                      For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                      $12,203.66                                   Total Compensable Receipts:                                $12,203.66
                     Total Non-Compensable Receipts:                       $0.00                                   Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                    $12,203.66                                   Total Comp/Non Comp Receipts:                              $12,203.66
                     Total Internal/Transfer Receipts:                     $0.00                                   Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                      $0.00                                   Total Compensable Disbursements:                                $0.00
                     Total Non-Compensable Disbursements:                  $0.00                                   Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                    $0.00                                   Total Comp/Non Comp Disbursements:                              $0.00
                     Total Internal/Transfer Disbursements:           $12,203.66                                   Total Internal/Transfer Disbursements:                     $12,203.66
                                      Case 13-16743-MBK            Doc 1222 Filed 12/10/21
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                Trustee Name:                      Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                               Bank Name:                         Bank Of America
Primary Taxpayer ID #:            **-***5216                                                                  Savings Acct #:                   ******6664
Co-Debtor Taxpayer ID #:                                                                                      Account Title:                    Short Term Invest-Premium
For Period Beginning:             3/29/2013                                                                   Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                12/3/2021                                                                   Separate bond (if applicable):

       1                2                                3                                              4                           5               6                       7

   Transaction       Check /                          Paid to/                  Description of Transaction     Uniform           Deposit       Disbursement             Balance
      Date            Ref. #                       Received From                                              Tran Code            $                $


08/01/2013            (4)      Balance from Chapter 11 account                                                 1290-000         $200,195.12                               $200,195.12
08/31/2013            (43)     Bank of America                       Interest                                  1270-000             $42.51                                $200,237.63
09/30/2013            (43)     Bank of America                       Interest                                  1270-000             $41.14                                $200,278.77
10/31/2013            (43)     Bank of America                       Interest                                  1270-000             $42.52                                $200,321.29
11/30/2013            (43)     Bank of America                       Interest                                  1270-000             $41.16                                $200,362.45
12/31/2013            (43)     Bank of America                       Interest                                  1270-000             $42.54                                $200,404.99
01/31/2014            (43)     Bank of America                       Interest                                  1270-000             $42.55                                $200,447.54
02/28/2014            (43)     Bank of America                       Interest                                  1270-000             $38.44                                $200,485.98
03/31/2014            (43)     Bank of America                       Interest                                  1270-000             $42.57                                $200,528.55
04/30/2014            (43)     Bank of America                       Interest                                  1270-000             $41.20                                $200,569.75
05/31/2014            (43)     Bank of America                       Interest                                  1270-000             $42.59                                $200,612.34
06/30/2014            (43)     Bank of America                       Interest                                  1270-000             $41.22                                $200,653.56
07/31/2014            (43)     Bank of America                       Interest                                  1270-000             $42.60                                $200,696.16
08/31/2014            (43)     Bank of America                       Interest                                  1270-000             $42.61                                $200,738.77
09/30/2014            (43)     Bank of America                       Interest                                  1270-000             $41.25                                $200,780.02
10/31/2014            (43)     Bank of America                       Interest                                  1270-000             $42.63                                $200,822.65
11/30/2014            (43)     Bank of America                       Interest                                  1270-000             $41.26                                $200,863.91
12/31/2014            (43)     Bank of America                       Interest                                  1270-000             $42.65                                $200,906.56
01/31/2015            (43)     Bank of America                       Interest                                  1270-000             $42.66                                $200,949.22
02/27/2015            (43)     Bank of America                       Interest                                  1270-000             $38.54                                $200,987.76
03/27/2015            (43)     Bank of America                       Interest                                  1270-000             $42.68                                $201,030.44
04/27/2015            (43)     Bank of America                       Interest                                  1270-000             $41.31                                $201,071.75
05/31/2015            (43)     Bank of America                       Interest                                  1270-000             $42.69                                $201,114.44
06/30/2015            (43)     Bank of America                       Interest                                  1270-000             $41.32                                $201,155.76
07/31/2015            (43)     Bank of America                       Interest                                  1270-000             $42.71                                $201,198.47
08/31/2015            (43)     Bank of America                       Interest                                  1270-000             $42.72                                $201,241.19
09/30/2015            (43)     Bank of America                       Interest                                  1270-000             $41.35                                $201,282.54


                                                                                                              SUBTOTALS         $201,282.54              $0.00
                                      Case 13-16743-MBK            Doc 1222 Filed 12/10/21
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                                         Trustee Name:                         Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                        Bank Name:                            Bank Of America
Primary Taxpayer ID #:            **-***5216                                                                                           Savings Acct #:                       ******6664
Co-Debtor Taxpayer ID #:                                                                                                               Account Title:                        Short Term Invest-Premium
For Period Beginning:             3/29/2013                                                                                            Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                            Separate bond (if applicable):

       1                2                                3                                              4                                                    5                   6                       7

   Transaction       Check /                          Paid to/                  Description of Transaction                              Uniform           Deposit          Disbursement             Balance
      Date            Ref. #                       Received From                                                                       Tran Code            $                   $


10/31/2015            (43)     Bank of America                       Interest                                                           1270-000              $42.74                                  $201,325.28
11/30/2015            (43)     Bank of America                       Interest                                                           1270-000              $41.37                                  $201,366.65
12/23/2015            (43)     Bank of America                       Interest                                                           1270-000              $28.96                                  $201,395.61
12/23/2015                     Signature Operating Acct #9415        Account closed check# 1021259160 issued                            9999-000                                $201,395.61                   $0.00

                                                                                          TOTALS:                                                        $201,395.61            $201,395.61                   $0.00
                                                                                              Less: Bank transfers/CDs                                         $0.00            $201,395.61
                                                                                          Subtotal                                                       $201,395.61                  $0.00
                                                                                              Less: Payments to debtors                                        $0.00                  $0.00
                                                                                          Net                                                            $201,395.61                  $0.00



                     For the period of 3/29/2013 to 12/3/2021                                                       For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                     $201,395.61                                    Total Compensable Receipts:                               $201,395.61
                     Total Non-Compensable Receipts:                       $0.00                                    Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                   $201,395.61                                    Total Comp/Non Comp Receipts:                             $201,395.61
                     Total Internal/Transfer Receipts:                     $0.00                                    Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                      $0.00                                    Total Compensable Disbursements:                                $0.00
                     Total Non-Compensable Disbursements:                  $0.00                                    Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                    $0.00                                    Total Comp/Non Comp Disbursements:                              $0.00
                     Total Internal/Transfer Disbursements:          $201,395.61                                    Total Internal/Transfer Disbursements:                    $201,395.61
                                       Case 13-16743-MBK            Doc 1222 Filed 12/10/21
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                      Trustee Name:                         Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                     Bank Name:                            Bank Of America
Primary Taxpayer ID #:             **-***5216                                                                                        Checking Acct #:                      ******7261
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:                        State of NJ Escrow
For Period Beginning:              3/29/2013                                                                                         Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                 12/3/2021                                                                                         Separate bond (if applicable):

       1                2                                     3                                       4                                                    5                   6                     7

   Transaction       Check /                           Paid to/               Description of Transaction                              Uniform            Deposit         Disbursement             Balance
      Date            Ref. #                        Received From                                                                    Tran Code             $                  $


08/01/2013            (17)     Balance from Chapter 11 account                                                                        1290-000        $1,000,000.00                               $1,000,000.00
08/26/2013                     Operating Account - BSG 9116           Funds Transfer                                                  9999-000             $200.00                                $1,000,200.00
08/31/2013                     Bank of America                        Service Charge                                                  2990-000                                      $74.00        $1,000,126.00
09/03/2013           1001      Division of Criminal Justice           Payment towards Settlement (final)                              5800-000                                $999,720.00                $406.00
09/03/2013           1002      Treasurer, State of New Jersey         Fines (VCCA, SNSF, LEOTEF)                                      7300-000                                     $280.00               $126.00
12/23/2015                     Signature Operating Acct #9415         BOA account closed check# 1021258474 issued and                 9999-000                                     $126.00                  $0.00
                                                                      deposited into new Signature Operating

                                                                                        TOTALS:                                                       $1,000,200.00         $1,000,200.00                   $0.00
                                                                                            Less: Bank transfers/CDs                                        $200.00               $126.00
                                                                                        Subtotal                                                      $1,000,000.00         $1,000,074.00
                                                                                            Less: Payments to debtors                                         $0.00                 $0.00
                                                                                        Net                                                           $1,000,000.00         $1,000,074.00



                     For the period of 3/29/2013 to 12/3/2021                                                     For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                     $1,000,000.00                                Total Compensable Receipts:                             $1,000,000.00
                     Total Non-Compensable Receipts:                         $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                   $1,000,000.00                                Total Comp/Non Comp Receipts:                           $1,000,000.00
                     Total Internal/Transfer Receipts:                     $200.00                                Total Internal/Transfer Receipts:                             $200.00


                     Total Compensable Disbursements:                $1,000,074.00                                Total Compensable Disbursements:                        $1,000,074.00
                     Total Non-Compensable Disbursements:                    $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:              $1,000,074.00                                Total Comp/Non Comp Disbursements:                      $1,000,074.00
                     Total Internal/Transfer Disbursements:                $126.00                                Total Internal/Transfer Disbursements:                        $126.00
                                         Case 13-16743-MBK         Doc 1222 Filed 12/10/21
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                Trustee Name:                       Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                               Bank Name:                          Bank Of America
Primary Taxpayer ID #:            **-***5216                                                                  Checking Acct #:                   ******8216
Co-Debtor Taxpayer ID #:                                                                                      Account Title:                     Operating Account
For Period Beginning:             3/29/2013                                                                   Blanket bond (per case limit):      $1,000,000.00
For Period Ending:                12/3/2021                                                                   Separate bond (if applicable):

       1                2                                3                                            4                             5                6                      7

   Transaction       Check /                          Paid to/                Description of Transaction       Uniform           Deposit        Disbursement             Balance
      Date            Ref. #                       Received From                                              Tran Code            $                 $


08/01/2013            (13)     Balance from Chapter 11 account                                                 1290-000          $36,674.51                                 $36,674.51
08/31/2013                     Bank of America                       Service Charge                            2990-000                                   $22.49            $36,652.02
09/30/2013                     Bank of America                       Service Charge                            2990-000                                   $22.31            $36,629.71
10/31/2013                     Bank of America                       Service Charge                            2990-000                                   $22.55            $36,607.16
11/30/2013                     Bank of America                       Service Charge                            2990-000                                   $22.31            $36,584.85
12/31/2013                     Bank of America                       Service Charge                            2990-000                                   $22.56            $36,562.29
01/07/2014            (46)     Verizon                               refund                                    1290-000                 $0.52                               $36,562.81
01/31/2014                     Bank of America                       Service Charge                            2990-000                                   $22.31            $36,540.50
02/28/2014                     Bank of America                       Service Charge                            2990-000                                   $24.98            $36,515.52
03/31/2014                     Bank of America                       Service Charge                            2990-000                                   $23.04            $36,492.48
04/30/2014                     Bank of America                       Service Charge                            2990-000                                   $22.32            $36,470.16
05/31/2014                     Bank of America                       Service Charge                            2990-000                                   $22.56            $36,447.60
06/30/2014                     Bank of America                       Service Charge                            2990-000                                   $22.32            $36,425.28
07/31/2014                     Bank of America                       Service Charge                            2990-000                                   $22.56            $36,402.72
08/31/2014                     Bank of America                       Service Charge                            2990-000                                   $22.33            $36,380.39
09/30/2014                     Bank of America                       Service Charge                            2990-000                                   $22.32            $36,358.07
10/31/2014                     Bank of America                       Service Charge                            2990-000                                   $22.57            $36,335.50
11/30/2014                     Bank of America                       Service Charge                            2990-000                                   $22.33            $36,313.17
12/31/2014                     Bank of America                       Service Charge                            2990-000                                   $22.57            $36,290.60
01/31/2015                     Bank of America                       Service Charge                            2990-000                                   $22.33            $36,268.27
02/28/2015                     Bank of America                       Service Charge                            2990-000                                   $22.33            $36,245.94
03/31/2015                     Bank of America                       Service Charge                            2990-000                                   $23.05            $36,222.89
04/30/2015                     Bank of America                       Service Charge                            2990-000                                   $22.34            $36,200.55
05/31/2015                     Bank of America                       Service Charge                            2990-000                                   $22.57            $36,177.98
06/30/2015                     Bank of America                       Service Charge                            2990-000                                   $22.34            $36,155.64
07/31/2015                     Bank of America                       Service Charge                            2990-000                                   $22.58            $36,133.06
08/31/2015                     Bank of America                       Service Charge                            2990-000                                   $22.35            $36,110.71


                                                                                                              SUBTOTALS          $36,675.03              $564.32
                                      Case 13-16743-MBK            Doc 1222 Filed 12/10/21
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                                        Trustee Name:                         Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                       Bank Name:                            Bank Of America
Primary Taxpayer ID #:            **-***5216                                                                                          Checking Acct #:                      ******8216
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:                        Operating Account
For Period Beginning:             3/29/2013                                                                                           Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                           Separate bond (if applicable):

       1                2                                3                                          4                                                         5                 6                     7

   Transaction       Check /                          Paid to/              Description of Transaction                                 Uniform           Deposit          Disbursement             Balance
      Date            Ref. #                       Received From                                                                      Tran Code            $                   $


09/30/2015                     Bank of America                       Service Charge                                                    2990-000                                     $22.34            $36,088.37
10/31/2015                     Bank of America                       Service Charge                                                    2990-000                                     $22.58            $36,065.79
11/16/2015                     Bank of America                       Service Charge                                                    2990-000                                     $22.35            $36,043.44
12/16/2015                     Bank of America                       Service Charge                                                    2990-000                                     $22.59            $36,020.85
12/23/2015                     Signature Operating Acct #9415        Account closed check# 1021258256 issued                           9999-000                                 $43,264.41            ($7,243.56)
12/31/2015            (44)     Unknown                               Ck Num: JLP - Void outstanding pre-petition checks from           1290-000             $7,243.56                                        $0.00
                                                                     2007 - 2010 written by Debtor.

                                                                                       TOTALS:                                                              $43,918.59          $43,918.59                   $0.00
                                                                                           Less: Bank transfers/CDs                                              $0.00          $43,264.41
                                                                                       Subtotal                                                             $43,918.59             $654.18
                                                                                           Less: Payments to debtors                                             $0.00               $0.00
                                                                                       Net                                                                  $43,918.59             $654.18



                     For the period of 3/29/2013 to 12/3/2021                                                      For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                      $43,918.59                                   Total Compensable Receipts:                                $43,918.59
                     Total Non-Compensable Receipts:                       $0.00                                   Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                    $43,918.59                                   Total Comp/Non Comp Receipts:                              $43,918.59
                     Total Internal/Transfer Receipts:                     $0.00                                   Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                    $654.18                                   Total Compensable Disbursements:                              $654.18
                     Total Non-Compensable Disbursements:                  $0.00                                   Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                  $654.18                                   Total Comp/Non Comp Disbursements:                            $654.18
                     Total Internal/Transfer Disbursements:           $43,264.41                                   Total Internal/Transfer Disbursements:                     $43,264.41
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                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                     Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                    Bank Name:                         Bank Of America
Primary Taxpayer ID #:             **-***5216                                                                                       Checking Acct #:                  ******9116
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                                        Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                        Separate bond (if applicable):

       1                2                                     3                                              4                                             5              6                       7

   Transaction       Check /                            Paid to/                    Description of Transaction                       Uniform            Deposit      Disbursement              Balance
      Date            Ref. #                         Received From                                                                  Tran Code             $               $


08/01/2013            (6)      Balance from Chapter 11 account                                                                       1290-000        $1,564,472.08                             $1,564,472.08
08/14/2013                     ADP, Inc.                                    Ck Num: MPC 15 - Aug 16 net paychecks                    2690-000                                 $6,602.49        $1,557,869.59
08/14/2013           254655    USI Mid Atlantic, Inc.                       Commercial lines fee - insurance                         2990-000                                 $2,037.50        $1,555,832.09
08/15/2013                     ADP, Inc.                                    Ck Num: MPC 16 - Aug 16 payroll taxes                    2690-000                                 $2,856.43        $1,552,975.66
08/16/2013           254685    State of New Jersey                          VOID: 12/2012 EIN:0-743-045-216/000 Catastrophic Ill.                                                              $1,552,975.66
                                                                            Assessment
08/16/2013           254686    Thacher Associates, LLC                      Sale of Business due diligence                           6700-000                                 $7,271.09        $1,545,704.57
08/16/2013           254687    International Development Corporation        June 2013 rent                                           6920-000                                 $1,862.00        $1,543,842.57
08/16/2013           254688    Division of Criminal Justice                 payment towards settlement amount                        5800-000                            $100,000.00           $1,443,842.57
08/16/2013           254689    COMCAST                                      Internet - Voorhees                                      6990-000                                  $170.75         $1,443,671.82
08/19/2013            (20)     Metropolitan Life Insurance Company          Cash Surrender Value of Life Ins. policies               1129-000        $3,051,385.26                             $4,495,057.08
08/19/2013                     ADP, Inc.                                    Ck Num: MPC 17 - Payroll Services                        2990-000                                $12,723.23        $4,482,333.85
08/19/2013           254690    Division of Criminal Justice                 payment towards settlement amount                        5800-000                           $1,500,000.00          $2,982,333.85
08/20/2013                     Investors Savings Bank - MM                  Funds Transfer                                           9999-000          $226,486.10                             $3,208,819.95
08/22/2013                     RFH Bank - CD                                Funds Transfer                                           9999-000          $121,769.86                             $3,330,589.81
08/22/2013           254691    Partner Assessment Corporation               purchase price adjustment                                2500-000                                $12,141.00        $3,318,448.81
08/26/2013                     State of New Jersey Escrow#7261              Funds Transfer                                           9999-000                                  $200.00         $3,318,248.81
08/28/2013            (18)     Insurance Administrator of America, Inc.     refund of COBRA premiums rec'd in July                   1290-000           $22,776.04                             $3,341,024.85
08/28/2013                     ADP, Inc.                                    Ck Num: JLP 9/1 - Aug 31 p/r                             2690-000                                 $7,238.80        $3,333,786.05
08/29/2013                     ADP, Inc.                                    Ck Num: JP 9/1 - Aug 31 p/r taxes                        2690-000                                 $3,077.09        $3,330,708.96
08/30/2013                     JP Morgan Chase                              Demand Deposit-Medical Claims                            8500-002                                $20,000.00        $3,310,708.96
08/30/2013           254684    ADP, Inc.                                    Payroll Services                                         2990-000                                 $1,565.96        $3,309,143.00
08/30/2013           254692    Granite Telecommunications                   Telephones                                               6990-000                                 $1,136.08        $3,308,006.92
08/30/2013           254693    Maco Office Source                           Office supplies                                          6990-000                                   $37.43         $3,307,969.49
08/30/2013           254694    Napco Copy                                   Print & Reproduction                                     6990-002                                  $783.11         $3,307,186.38
08/30/2013           254695    Novins, York, & Jacobus                      Pre-Trustee - professional fees for ordinary course.     3991-000                                 $1,422.00        $3,305,764.38
08/30/2013           254696    JP Morgan Chase                              VOID: Funds Transfer                                     9999-000                                                  $3,305,764.38


                                                                                                                                    SUBTOTALS        $4,986,889.34     $1,681,124.96
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                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                             Trustee Name:                       Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                            Bank Name:                          Bank Of America
Primary Taxpayer ID #:             **-***5216                                                                                               Checking Acct #:                   ******9116
Co-Debtor Taxpayer ID #:                                                                                                                    Account Title:                     Operating Account
For Period Beginning:              3/29/2013                                                                                                Blanket bond (per case limit):      $1,000,000.00
For Period Ending:                 12/3/2021                                                                                                Separate bond (if applicable):

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   Transaction       Check /                           Paid to/                      Description of Transaction                              Uniform           Deposit        Disbursement              Balance
      Date            Ref. #                        Received From                                                                           Tran Code            $                 $


08/30/2013           254700    ADP, Inc.                                    Payroll Services                                                 2990-000                                   $632.30         $3,305,132.08
08/31/2013           254703    Cigna-CHLIC                                  Medical insurance                                                2990-000                                   $857.22         $3,304,274.86
09/03/2013            (18)     Northwestern Mutual Life                     L/T disability - account closed                                  1290-000             $28.82                                $3,304,303.68
09/03/2013            (46)     Cablevision                                  Refund                                                           1290-000                 $4.39                             $3,304,308.07
09/04/2013           254697    American Express                             Credit card payment                                              6950-000                               $13,016.37          $3,291,291.70
09/10/2013            (24)     William Birdsall                             Purchased their life ins. policies from Company                  1290-000           $3,837.76                               $3,295,129.46
09/10/2013            (24)     Thomas K Rospos                              Purchased their life ins. policies from Company                  1290-000           $2,556.76                               $3,297,686.22
09/12/2013            (45)     Woodruff, LLC                                Commissions - electronic transfer in from                        1280-000             $29.51                                $3,297,715.73
09/12/2013                     ADP, Inc.                                    Ck Num: JLP 9/12 - Sept 13 p/r                                   2690-000                                  $5,983.51        $3,291,732.22
09/12/2013           254698    ADP, Inc.                                    VOID:                                                            2990-000                                                   $3,291,732.22
09/12/2013           254699    ADP, Inc.                                    Payroll Services                                                 2990-000                                  $2,219.42        $3,289,512.80
09/13/2013                     ADP, Inc.                                    Ck Num: JLP 9/13 - Sept 13 p/r taxes                             2690-000                                  $2,160.43        $3,287,352.37
09/18/2013                     Partner Engineering And Science, Inc.        Ck Num: JLP 1 - A/R from Ch 11 period belonging to               8500-002                               $43,356.22          $3,243,996.15
                                                                            buyer
09/20/2013            (18)     Insurance Administrator of America, Inc.     refund of Aug COBRA premiums rec'd                               1290-000           $6,939.68                               $3,250,935.83
09/20/2013            (46)     Howard C. Birdsall                           refund of AMEX credit balance                                    1290-000             $40.00                                $3,250,975.83
09/25/2013                     ADP, Inc.                                    Ck Num: JLP 9/25 - Sept 27 p/r                                   2690-000                                  $2,740.40        $3,248,235.43
09/26/2013                     ADP, Inc.                                    Ck Num: JLP 9/26 - Payroll Services                              2990-000                                   $656.00         $3,247,579.43
09/26/2013                     ADP, Inc.                                    Ck Num: JLP 9/27 - Sept 27 p/r                                   2690-000                                   $460.11         $3,247,119.32
09/30/2013                     Bank of America                              Bank Service Charge                                              2990-000                                   $115.09         $3,247,004.23
10/02/2013           254701    Maser Consulting P.A.                        Turn over A/R belonging to purchaser                             8500-002                               $28,307.82          $3,218,696.41
10/02/2013           254702    ADP, Inc.                                    Payroll Services                                                 2990-000                                   $297.79         $3,218,398.62
10/03/2013            (25)     MetLife                                      Dividend Income                                                  1123-000            $166.65                                $3,218,565.27
10/09/2013           254704    Pepper Hamilton, LLP                         Contingency Fee D&O case Professional fees                       3210-000                                  $2,361.34        $3,216,203.93
10/16/2013                     Prysmian Power Cable & Systems USA,          Bad Debt Recovery                                                   *              $25,654.17                               $3,241,858.10
                               LLC
                      {23}                                                                                                    $33,297.03     1221-000                                                   $3,241,858.10
                                                                            Mitnick & Malzberg PC fees                        $(7,642.86)    3210-000                                                   $3,241,858.10

                                                                                                                                            SUBTOTALS          $39,257.74         $103,164.02
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                      Trustee Name:                       Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                     Bank Name:                          Bank Of America
Primary Taxpayer ID #:             **-***5216                                                                                        Checking Acct #:                   ******9116
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:                     Operating Account
For Period Beginning:              3/29/2013                                                                                         Blanket bond (per case limit):      $1,000,000.00
For Period Ending:                 12/3/2021                                                                                         Separate bond (if applicable):

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   Transaction       Check /                          Paid to/              Description of Transaction                                Uniform           Deposit        Disbursement              Balance
      Date            Ref. #                       Received From                                                                     Tran Code            $                 $


10/16/2013                     Underground Utilities                 Bad Debt Recovery                                                   *               $4,625.00                               $3,246,483.10
                      {23}                                                                                             $6,500.00      1221-000                                                   $3,246,483.10
                                                                     Mitnick & Malzberg, PC                            $(1,875.00)    3210-000                                                   $3,246,483.10
10/16/2013            (23)     Philip Lytle LLP                      Bad Debt Recovery                                                1221-000           $3,058.78                               $3,249,541.88
10/22/2013            (25)     MetLife                               Dividend Income                                                  1123-000            $244.75                                $3,249,786.63
10/24/2013           254705    Mercadien                             Ch 11 Prof. Fees Payable                                         6410-000                             $324,029.77           $2,925,756.86
10/24/2013           254706    Public Storage                        Rent-Storage                                                     2410-000                                    $23.00         $2,925,733.86
10/24/2013           254707    ADP, Inc.                             Payroll Services                                                 2990-000                                   $404.13         $2,925,329.73
10/24/2013           254712    Gibbons P.C.                          Ch 11 Prof. Fees Payable                                         6210-000                             $187,985.01           $2,737,344.72
10/24/2013           254713    Gibbons P.C.                          Ch 11 Prof. Fees Payable                                         3210-000                               $38,584.06          $2,698,760.66
10/24/2013           254714    Walder, Hayden & Brogan, PA           Ch 11 Prof. Fees Payable                                         6210-000                               $45,417.10          $2,653,343.56
10/24/2013           254715    Walder, Hayden & Brogan, PA           Ch 11 Prof. Fees Payable                                         6210-000                             $117,673.74           $2,535,669.82
10/24/2013           254716    Brown, Moskowitz & Kallen             Ch 11 Prof. Fees Payable                                         6210-000                             $203,740.73           $2,331,929.09
10/24/2013           254717    Wasserman, Jurista & Stolz, PC        Ch 11 Prof. Fees Payable                                         6210-000                             $298,100.99           $2,033,828.10
10/24/2013           254718    Edwin H. Stier                        Ch 11 Trustee Compensation                                       6101-000                             $290,036.85           $1,743,791.25
10/25/2013           254719    Teich Groh                            Creditors Committee Ch 11 Prof. Fees Payable                     6700-000                               $20,229.13          $1,723,562.12
10/31/2013                     ADP, Inc.                             Payroll Service Fee refunded                                     2990-000                                  ($120.73)        $1,723,682.85
10/31/2013            (18)     The Hartford                          refund after audit completed                                     1290-000          $14,956.00                               $1,738,638.85
10/31/2013            (45)     Woodruff, LLC                         Commissions                                                      1280-000                 $8.58                             $1,738,647.43
10/31/2013                     Bank of America                       Bank Service Charge                                              2990-000                                    $33.97         $1,738,613.46
10/31/2013                     JAMS                                  Ck Num: To Print - VOID: Mediation Services Re:                  3721-000                                                   $1,738,613.46
                                                                     Birdsall
10/31/2013           254654    JAMS                                  Deposit for Mediation Services Re: Birdsall                      3721-000                                  $5,000.00        $1,733,613.46
11/08/2013           254708    US Trustee                            U.S. quarterly Trustee Fees- 3rd Q 2013.                         2950-000                                  $6,500.00        $1,727,113.46
11/12/2013            (45)     Woodruff, LLC                         Commissions                                                      1280-000             $36.21                                $1,727,149.67
11/18/2013           254709    Public Storage                        12/1/2013 - 12/30/2013                                           2410-000                                    $89.88         $1,727,059.79
11/18/2013           254710    England Securities, LLC               Final allowance for fees and services performed                  6700-000                             $152,318.74           $1,574,741.05
11/26/2013           254711    Bill Barron                           reimbursement for HSA account                                    2990-000                                   $600.00         $1,574,141.05

                                                                                                                                     SUBTOTALS          $22,929.32       $1,690,646.37
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                            Trustee Name:                       Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                           Bank Name:                          Bank Of America
Primary Taxpayer ID #:             **-***5216                                                                                              Checking Acct #:                   ******9116
Co-Debtor Taxpayer ID #:                                                                                                                   Account Title:                     Operating Account
For Period Beginning:              3/29/2013                                                                                               Blanket bond (per case limit):      $1,000,000.00
For Period Ending:                 12/3/2021                                                                                               Separate bond (if applicable):

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   Transaction       Check /                             Paid to/                Description of Transaction                                 Uniform           Deposit        Disbursement              Balance
      Date            Ref. #                          Received From                                                                        Tran Code            $                 $


11/27/2013            (46)     NJTA Lead Agency                         E-Zpass refunds acct: 2000002145447                                 1290-000            $334.73                                $1,574,475.78
11/27/2013           254720    Treasurer, State of New Jersey           Termination of Birdsall Services Group, PI #507647                  2990-000                                   $200.00         $1,574,275.78
12/02/2013           254721    ADP, Inc.                                Payroll Services                                                    2990-000                                   $138.13         $1,574,137.65
12/06/2013           254723    Schiller & Pittenger                     File No. 8043 - professional fees                                   6700-000                                  $5,378.40        $1,568,759.25
12/10/2013            (45)     Woodruff, LLC                            Commissions                                                         1280-000            $270.74                                $1,569,029.99
12/12/2013            (23)     Block 114 Development                    account rec. collection                                             1221-000          $24,404.36                               $1,593,434.35
12/12/2013            (46)     USA today                                cancellation of subscription                                        1290-000                 $7.61                             $1,593,441.96
12/12/2013            (46)     New Jersey Natural Gas                   Utilities refund                                                    1290-000            $939.38                                $1,594,381.34
12/12/2013                     Global Surety, LLC                       refund due on Chapter 11 bond                                          *                                   ($3,199.00)         $1,597,580.34
                                                                        international Sureties, LTD.                          $3,198.00     2300-000                                                   $1,597,580.34
                                                                        international Sureties, LTD.                              $1.00     2300-000                                                   $1,597,580.34
12/13/2013           254724    JAMS                                     Mediation Services Re: Birdsall                                     3721-000                                  $4,600.00        $1,592,980.34
12/13/2013           254725    Public Storage                           01/01/2014-01/31/2014                                               2410-000                                    $89.88         $1,592,890.46
12/17/2013           254726    Pepper Hamilton, LLP                     VOID: Legal services                                                3210-000                                                   $1,592,890.46
12/17/2013           254727    Pepper Hamilton, LLP                     Legal Services                                                      3210-000                                  $3,028.80        $1,589,861.66
12/18/2013                     Mitnick & Malzberg, PC                   the township of south orange village                                   *               $7,409.80                               $1,597,271.46
                      {23}                                              Mitnick & Malzberg, PC                               $10,271.00     1221-000                                                   $1,597,271.46
                                                                        Mitnick & Malzberg, PC                               $(2,861.20)    3210-000                                                   $1,597,271.46
12/18/2013            (46)     United States Treasury                   Refund 2012 form 941                                                1290-000            $620.46                                $1,597,891.92
12/31/2013                     Bank of America                          Service Charge                                                      2990-000                                   $122.47         $1,597,769.45
01/07/2014            (25)     MetLife                                  Dividend Income                                                     1123-000            $166.65                                $1,597,936.10
01/07/2014            (46)     Deer Park                                refund                                                              1290-000             $58.44                                $1,597,994.54
01/07/2014            (46)     Verizon                                  refund                                                              1290-000                 $8.91                             $1,598,003.45
01/13/2014           254728    Public Storage                           Rent-Storage                                                        2410-000                                    $89.88         $1,597,913.57
01/14/2014            (46)     PNC Bank                                 On Escrow Security Deposit                                          1290-000             $32.11                                $1,597,945.68
01/14/2014            (46)     Waste Management of New Jersey, Inc.     refund                                                              1290-000             $79.00                                $1,598,024.68
01/24/2014                     JP Morgan Chase                          Demand Deposit-Medical Claims                                       8500-002                                  $7,477.56        $1,590,547.12
01/24/2014           254729    Winning Strategies                       Public relations                                                    6700-000                                  $6,730.48        $1,583,816.64

                                                                                                                                           SUBTOTALS          $34,332.19          $24,656.60
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                                                                         CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                            Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                           Bank Name:                         Bank Of America
Primary Taxpayer ID #:             **-***5216                                                                                              Checking Acct #:                  ******9116
Co-Debtor Taxpayer ID #:                                                                                                                   Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                                               Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                               Separate bond (if applicable):

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   Transaction       Check /                           Paid to/                    Description of Transaction                               Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                        Received From                                                                          Tran Code            $                $


01/30/2014            (45)     Woodruff, LLC                             Commissions                                                        1280-000            $114.10                               $1,583,930.74
01/30/2014                     ADP, Inc.                                 Payroll Taxes                                                      2690-000                                  $270.00         $1,583,660.74
01/30/2014                     ADP, Inc.                                 Payroll                                                            2690-000                                  $766.80         $1,582,893.94
01/30/2014           254732    ADP, Inc.                                 Payroll Services                                                   2990-000                                   $10.00         $1,582,883.94
01/31/2014                     Bank of America                           Service Charge                                                     2990-000                                  $125.05         $1,582,758.89
02/03/2014                     Jared Eudell                              Ck Num: JLP 4R - Reverse of GJE JLP 4 -- For CHK                      *                                      ($24.25)        $1,582,783.14
                                                                         254814 voided on 02/03/2014 - Mileage
                                                                         ADP, Inc.                                                $24.24    2690-000                                                  $1,582,783.14
                                                                         ADP, Inc.                                                 $0.01    2690-000                                                  $1,582,783.14
02/14/2014            (45)     Woodruff, LLC                             Commissions                                                        1280-000             $55.20                               $1,582,838.34
02/18/2014                     JP Morgan Chase                           Demand Deposit-Medical Claims                                      8500-000                                 $1,500.00        $1,581,338.34
02/18/2014           254730    Public Storage                            Rent-Storage                                                       2410-000                                   $89.88         $1,581,248.46
02/25/2014            (18)     Danskin Insurance Agency                  refund on 401k plan bond termination                               1290-000             $50.99                               $1,581,299.45
02/25/2014            (25)     MetLife                                   Dividend Income                                                    1123-000            $244.75                               $1,581,544.20
02/25/2014           254733    Toppan Vite New York                      VOID: Printing & Reproduction                                      2990-000                                                  $1,581,544.20
02/25/2014           254734    Toppan Vite New York                      Printing & Reproduction                                            2990-000                                 $3,785.17        $1,577,759.03
02/28/2014                     ADP, Inc.                                 reversal of Rochelle Tremblys paycheck                             2690-000                               ($1,314.17)        $1,579,073.20
02/28/2014            (18)     Medco Health Solutions                    Medco Pricing guarantee                                            1290-000          $5,167.84                               $1,584,241.04
02/28/2014            (46)     Cash                                      Found in an envelope                                               1290-000                $1.00                             $1,584,242.04
02/28/2014            (46)     Misc.                                     Difference between deposit slip and detail                         1290-000             $53.11                               $1,584,295.15
02/28/2014                     Bank of America                           Service Charge                                                     2990-000                                  $287.02         $1,584,008.13
03/06/2014           254735    Partner Engineering And Science, Inc.     payment for 1,496 shares of MetLife Stock                          8500-002                               $49,278.24         $1,534,729.89
03/07/2014                     JP Morgan Chase                           Demand Deposit-Medical Claims                                      8500-000                                 $2,500.00        $1,532,229.89
03/10/2014                     Mitnick & Malzberg, PC                    Payment from buck simpers architect & assoc. less fees                *              $3,430.00                               $1,535,659.89
                      {23}                                                                                                    $5,000.00     1221-000                                                  $1,535,659.89
                                                                         Mitnick & Malzberg, PC                              $(1,570.00)    3210-000                                                  $1,535,659.89
03/14/2014            (45)     Woodruff, LLC                             Commissions                                                        1280-000            $311.50                               $1,535,971.39
03/17/2014           254736    Public Storage                            Rent-Storage                                                       2410-000                                   $89.88         $1,535,881.51

                                                                                                                                           SUBTOTALS           $9,428.49         $57,363.62
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                                                                       CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                       Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                      Bank Name:                         Bank Of America
Primary Taxpayer ID #:             **-***5216                                                                                         Checking Acct #:                  ******9116
Co-Debtor Taxpayer ID #:                                                                                                              Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                                          Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                          Separate bond (if applicable):

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   Transaction       Check /                            Paid to/               Description of Transaction                              Uniform            Deposit      Disbursement              Balance
      Date            Ref. #                         Received From                                                                    Tran Code             $               $


03/17/2014           254737    international Sureties, LTD.            Chap. & Blanket Bond NJ -Trenton Camden Vicinage                2300-000                                 $1,677.99        $1,534,203.52
                                                                       Bond # 016026385
03/18/2014            (27)     MetLife                                 Metlife stock sale                                              1129-000          $32,603.64                              $1,566,807.16
03/19/2014           254738    Teich Groh                              Ch 11 Prof. Fees Payable                                        6700-000                                 $4,170.87        $1,562,636.29
03/19/2014           254739    Edwin H. Stier                          Ch 11 Prof. Fees Payable                                        6101-000                                $59,800.15        $1,502,836.14
03/19/2014           254740    Mercadien                               Ch 11 Prof. Fees Payable                                        6410-000                                $65,998.38        $1,436,837.76
03/19/2014           254741    Wasserman, Jurista & Stolz, PC          Ch 11 Prof. Fees Payable                                        6210-000                                $58,729.91        $1,378,107.85
03/19/2014           254742    Brown, Moskowitz & Kallen               Ch 11 Prof. Fees Payable                                        6210-000                                $41,592.35        $1,336,515.50
03/19/2014           254743    Walder, Hayden & Brogan, PA             Ch 11 Prof. Fees Payable                                        6210-000                                $24,009.66        $1,312,505.84
03/19/2014           254744    Walder, Hayden & Brogan, PA             Ch 11 Prof. Fees Payable                                        6210-000                                 $9,320.78        $1,303,185.06
03/19/2014           254745    Gibbons P.C.                            Ch 11 Prof. Fees Payable                                        3210-000                                 $7,938.24        $1,295,246.82
03/19/2014           254746    Gibbons P.C.                            Ch 11 Prof. Fees Payable                                        6210-000                                $37,711.47        $1,257,535.35
03/20/2014                     Mitnick & Malzberg, PC                  town of Phillipsburg payment                                       *               $4,760.82                              $1,262,296.17
                      {23}                                                                                                $6,681.10    1221-000                                                  $1,262,296.17
                                                                       Mitnick & Malzberg, PC                         $(1,920.28)      3210-000                                                  $1,262,296.17
03/20/2014            (25)     MetLife                                 Dividend Income                                                 1123-000             $166.65                              $1,262,462.82
03/21/2014            (2)      JP Morgan Chase                         Demand Deposit-Medical Claims                                   1129-000          $12,842.48                              $1,275,305.30
03/24/2014           254747    Winning Strategies                      Marketing Business Development                                  6990-000                                 $2,884.49        $1,272,420.81
03/31/2014                     Bank of America                         Service Charge                                                  2990-000                                  $301.54         $1,272,119.27
04/03/2014                     Mitnick & Malzberg, PC                  County of Middlesex payment less fees                              *              $26,940.71                              $1,299,059.98
                      {23}                                                                                            $35,000.00       1221-000                                                  $1,299,059.98
                                                                       Mitnick & Malzberg, PC                         $(8,059.29)      3210-000                                                  $1,299,059.98
04/10/2014            (27)     MetLife                                 Sale proceeds                                                   1129-000          $23,319.60                              $1,322,379.58
04/11/2014            (22)     Insurance Company                       D&O Settlement                                                  1249-000        $3,937,500.00                             $5,259,879.58
04/11/2014            (45)     Woodruff, LLC                           Commissions - electronic transfer in from                       1280-000             $745.41                              $5,260,624.99
04/14/2014            (23)     NJIT                                    Old Accounts Receivable                                         1221-000           $2,520.00                              $5,263,144.99
04/15/2014           254749    Public Storage                          Rent-Storage                                                    2410-000                                   $89.88         $5,263,055.11
04/16/2014                     State of New Jersey                     Ck Num: echeck - 2013 extension                                 2820-000                                 $2,000.00        $5,261,055.11

                                                                                                                                      SUBTOTALS        $4,041,399.31       $316,225.71
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                                                                        CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                     Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                    Bank Name:                         Bank Of America
Primary Taxpayer ID #:             **-***5216                                                                       Checking Acct #:                  ******9116
Co-Debtor Taxpayer ID #:                                                                                            Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                        Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                        Separate bond (if applicable):

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   Transaction       Check /                             Paid to/               Description of Transaction           Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                          Received From                                                 Tran Code            $                $


04/16/2014                     PA Department of Revenue                 Ck Num: echeck - 2013 extension              2820-000                                  $427.00         $5,260,628.11
04/17/2014            (25)     MetLife                                  Dividend Income                              1123-000            $244.75                               $5,260,872.86
04/17/2014            (46)     American Express                         Savings at work rebate                       1290-000             $12.02                               $5,260,884.88
04/17/2014            (46)     JP Morgan Chase                          FSA refund                                   1290-000           $2,063.43                              $5,262,948.31
04/24/2014            (27)     MetLife                                  Stock sale                                   1129-000          $12,679.20                              $5,275,627.51
04/30/2014                     Bank of America                          Service Charge                               2990-000                                  $291.00         $5,275,336.51
05/06/2014                     JP Morgan Chase                          Demand Deposit-Medical Claims                8500-000                                 $1,500.00        $5,273,836.51
05/06/2014           254748    City of Philadelphia                     City Acct # 9397084                          2820-000                                 $2,417.00        $5,271,419.51
05/14/2014            (45)     Woodruff, LLC                            Commissions - electronic transfer in from    1280-000            $378.11                               $5,271,797.62
05/15/2014           254750    Public Storage                           acct 18059717 - Rent-Storage                 2410-000                                  $109.88         $5,271,687.74
05/21/2014            (27)     MetLife                                  Stock sale                                   1129-000           $9,068.74                              $5,280,756.48
05/21/2014            (46)     First Energy                             refund on account                            1290-000           $1,033.34                              $5,281,789.82
05/22/2014                     NJ Division of Taxation                  annual report filing fees                    2990-000                                  $125.00         $5,281,664.82
05/23/2014           254754    ADP, Inc.                                Payroll Services                             2990-000                                 $2,587.10        $5,279,077.72
06/05/2014            (18)     Delta Dental                             return 1414 - dental insurance               1290-000             $73.92                               $5,279,151.64
06/05/2014           254753    international Sureties, LTD.             BOND # 016052325                             2300-000                               $13,290.00         $5,265,861.64
06/13/2014            (45)     Woodruff, LLC                            Commissions - electronic transfer in from    1280-000             $68.57                               $5,265,930.21
06/13/2014           254755    Walder, Hayden & Brogan, PA              6/5/14 Fee Application                       3210-000                               $17,960.12         $5,247,970.09
06/13/2014           254756    Brown, Moskowitz & Kallen                6/5/14 Fee Application                       3210-000                                 $6,263.24        $5,241,706.85
06/13/2014           254757    Wasserman, Jurista & Stolz, PC           6/5/14 Fee Application                       3210-000                            $284,180.51           $4,957,526.34
06/13/2014           254758    Mercadien                                6/5/14 Fee Application                       3410-000                            $390,359.33           $4,567,167.01
06/13/2014           254759    Edwin H. Stier                           6/5/14 Fee Application                       2100-000                            $150,398.98           $4,416,768.03
06/13/2014           254760    Pepper Hamilton, LLP                     6/5/14 Fee Application                       3210-000                            $900,000.00           $3,516,768.03
06/13/2014           254761    Public Storage                           Rent-Storage                                 2410-000                                   $98.44         $3,516,669.59
06/17/2014            (46)     Siemens Real Estate                      Automatic deposit                            1290-000           $2,232.50                              $3,518,902.09
06/18/2014           254762    Wasserman, Jurista & Stolz, PC           VOID: Invoice # 40302 Job # 78933            3110-000                                                  $3,518,902.09
06/18/2014           254763    Toppan Vite New York                     Printing & Reproduction                      2990-000                                 $2,064.54        $3,516,837.55


                                                                                                                    SUBTOTALS          $27,854.58      $1,772,072.14
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                                                                           CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                         Trustee Name:                       Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                        Bank Name:                          Bank Of America
Primary Taxpayer ID #:             **-***5216                                                                                           Checking Acct #:                   ******9116
Co-Debtor Taxpayer ID #:                                                                                                                Account Title:                     Operating Account
For Period Beginning:              3/29/2013                                                                                            Blanket bond (per case limit):      $1,000,000.00
For Period Ending:                 12/3/2021                                                                                            Separate bond (if applicable):

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   Transaction       Check /                             Paid to/                   Description of Transaction                           Uniform           Deposit        Disbursement             Balance
      Date            Ref. #                          Received From                                                                     Tran Code            $                 $


06/24/2014            (46)     Gibbons P.C.                                Pre-petition retainer from October 2008                       1290-000           $3,500.00                              $3,520,337.55
07/04/2014                     Mitnick & Malzberg, PC                      Bad Debt Recovery                                                *              $35,938.77                              $3,556,276.32
                      {23}                                                                                               $50,614.00      1221-000                                                  $3,556,276.32
                                                                           Mitnick & Malzberg, PC                        $(14,675.23)    3210-000                                                  $3,556,276.32
07/14/2014           254751    Public Storage                              Rent-Storage                                                  2410-000                                   $98.44         $3,556,177.88
07/17/2014            (45)     Woodruff, LLC                               Commissions - electronic transfer in from                     1280-000             $21.64                               $3,556,199.52
07/29/2014           254764    United States Treasury                      XX-XXXXXXX - Form 720 - QTR ended 6/30/13                     2810-000                                  $738.00         $3,555,461.52
08/05/2014                     ADP, Inc.                                   NY mandatory assessment pd via ADP                            2820-000                                   $68.91         $3,555,392.61
08/05/2014                     ADP, Inc.                                   NY mandatory for LLC paid via ADP                             2820-000                                   $25.69         $3,555,366.92
08/08/2014                     Law Offices of Mitchell J. Malzberg LLC     vs The Barbieri Group Settlement                                 *              $13,500.25                              $3,568,867.17
                      {23}                                                                                               $18,000.00      1221-000                                                  $3,568,867.17
                                                                           Law Offices of Mitchell J. Malzberg LLC        $(4,499.75)    3210-000                                                  $3,568,867.17
08/08/2014            (18)     Northwestern Mutual Life                    refund                                                        1290-000             $14.87                               $3,568,882.04
08/08/2014            (25)     State of New Jersey                         Unclaimed MetLife                                             1290-000             $85.80                               $3,568,967.84
08/08/2014            (26)     State of New Jersey                         Unclaimed MetLife                                             1290-000                 $2.46                            $3,568,970.30
08/08/2014            (27)     State of New Jersey                         unclaimed prop or OMB Claim #400029028                        1290-000            $707.26                               $3,569,677.56
08/18/2014           254765    Public Storage                              Rent-Storage                                                  2410-000                                   $98.44         $3,569,579.12
09/04/2014            (2)      JP Morgan Chase                             Demand Deposit-Medical Claims                                 1129-000           $7,367.24                              $3,576,946.36
09/10/2014           254766    City of Philadelphia                        VOID: est 2014 taxes #9397084                                                                                           $3,576,946.36
09/16/2014           254767    Public Storage                              Rent-Storage                                                  2410-000                                   $98.44         $3,576,847.92
09/19/2014           254768    Law Offices of Mitchell J. Malzberg LLC     Inv. #267, 268                                                3210-000                                   $70.00         $3,576,777.92
10/13/2014           254769    Public Storage                              Rent-Storage                                                  2410-000                                   $98.44         $3,576,679.48
10/22/2014            (23)     Saint Peter's University                    Pro Svc Thru 1/30/13                                          1221-000            $350.00                               $3,577,029.48
10/22/2014            (23)     wells Fargo                                 general disbursement                                          1221-000             $59.31                               $3,577,088.79
11/06/2014           254770    JAMS, Inc.                                  Ref #1450003292, Inv #8282,2002,7773,7774 -                   3721-000                               $10,762.50         $3,566,326.29
                                                                           Mediation
11/07/2014            (18)     Cigna-CHLIC                                 CMP Claim Refund                                              1290-000            $452.26                               $3,566,778.55
11/07/2014            (18)     Cigna-CHLIC                                 CMP Claim Refund                                              1290-000            $141.13                               $3,566,919.68

                                                                                                                                        SUBTOTALS          $62,140.99          $12,058.86
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                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                               Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                              Bank Name:                         Bank Of America
Primary Taxpayer ID #:             **-***5216                                                                                                 Checking Acct #:                  ******9116
Co-Debtor Taxpayer ID #:                                                                                                                      Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                                                  Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                                  Separate bond (if applicable):

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   Transaction       Check /                           Paid to/                     Description of Transaction                                 Uniform            Deposit      Disbursement               Balance
      Date            Ref. #                        Received From                                                                             Tran Code             $               $


11/13/2014           254771    Public Storage                               Rent-Storage                                                       2410-000                                  $118.44          $3,566,801.24
11/18/2014           254829    Quaker Commercial Properties-One, LP         VOID:                                                              6920-000                                                   $3,566,801.24
11/18/2014           254830    Quaker Commercial Properties-One, LP         “Per Court Order Dated November 12, 2014”                          6920-000                                 $2,004.14         $3,564,797.10
11/18/2014           254830    Quaker Commercial Properties-One, LP         “Per Court Order Dated November 12, 2014”                          6920-000                                $72,985.88         $3,491,811.22
11/18/2014           254830    Quaker Commercial Properties-One, LP         Court order entered 11/12/14 “Per Court Order Dated                6920-000                                     $1.00         $3,491,810.22
                                                                            November 12, 2014”
11/18/2014           254830    Quaker Commercial Properties-One, LP         VOID: “Per Court Order Dated November 12, 2014”                    6920-000                                                   $3,491,810.22
11/21/2014           254772    Partner Engineering and Science, Incorp.     Refund from Woodroff Energy Procurement                            8500-002                                 $2,062.53         $3,489,747.69
12/08/2014                     Law Offices of Mitchell J. Malzberg LLC      NBG Group Inc. & Scara-Mix, Inc.                                      *                $1,750.00                              $3,491,497.69
                      {23}                                                                                                        $2,500.00    1221-000                                                   $3,491,497.69
                                                                            Law Offices of Mitchell J. Malzberg LLC               $(750.00)    3210-000                                                   $3,491,497.69
12/16/2014           254773    Public Storage                               Rent-Storage                                                       2410-000                                   $98.44          $3,491,399.25
12/31/2014            (18)     Cigna-CHLIC                                  CMP Claim Refund 122114                                            1290-000             $175.93                               $3,491,575.18
01/13/2015           254774    Public Storage                               Rent-Storage                                                       2410-000                                   $98.44          $3,491,476.74
01/14/2015           254775    international Sureties, LTD.                 Trustee Bond Fees                                                  2300-000                                 $3,086.30         $3,488,390.44
02/05/2015           254776    Wasserman, Jurista & Stolz, PC               Order Granting 2nd interim allowance of fees                       3210-000                                $76,824.66         $3,411,565.78
02/14/2015           254777    Public Storage                               Rent-Storage                                                       2410-000                                   $98.44          $3,411,467.34
02/19/2015           254778    Wilentz Goldman & Spitzer                    Order granting allowance of fees                                   6210-000                                $60,000.00         $3,351,467.34
03/13/2015           254779    Public Storage                               Rent-Storage                                                       2410-000                                   $98.44          $3,351,368.90
03/23/2015                     Global Surety, LLC                           Trustee bond # 016026385; premium adjust                              *                                    ($1,157.36)        $3,352,526.26
                                                                            international Sureties, LTD.                          $1,157.35    2300-000                                                   $3,352,526.26
                                                                            international Sureties, LTD.                             $0.01     2300-000                                                   $3,352,526.26
03/26/2015            (21)     Insurance Company                            T&M Settlement proceeds                                            1249-000          $150,000.00                              $3,502,526.26
03/26/2015            (21)     Insurance Company                            T&M Settlement proceeds                                            1249-000        $1,250,000.00                              $4,752,526.26
03/30/2015           254780    Partner Engineering and Science, Incorp.     VOID: T&M Settlement Proceeds                                      1280-000                                                   $4,752,526.26
03/30/2015           254781    Partner Assessment Corporation               VOID: Initial payment T&M settlement                               1280-000                                                   $4,752,526.26
03/31/2015                     Bank of America                              Service Charge                                                     2990-000                                   $17.02          $4,752,509.24
04/08/2015           254782    State of New Jersey - CBT                    743-045-216/000 1st Q 2015 Estimated tax payment                   2820-000                                 $1,500.00         $4,751,009.24

                                                                                                                                              SUBTOTALS        $1,401,925.93       $217,836.37
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                                                                            CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                          Trustee Name:                      Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                         Bank Name:                         Bank Of America
Primary Taxpayer ID #:             **-***5216                                                                                            Checking Acct #:                  ******9116
Co-Debtor Taxpayer ID #:                                                                                                                 Account Title:                    Operating Account
For Period Beginning:              3/29/2013                                                                                             Blanket bond (per case limit):     $1,000,000.00
For Period Ending:                 12/3/2021                                                                                             Separate bond (if applicable):

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   Transaction       Check /                            Paid to/                   Description of Transaction                             Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                         Received From                                                                       Tran Code            $                $


04/14/2015           254783    Public Storage                               May Storage Fees                                              2410-000                                   $98.44         $4,750,910.80
04/15/2015                     NJ CBT                                       CBT Pymt                                                      2820-000                                 $1,000.00        $4,749,910.80
04/27/2015                     NJ Division of Taxation                      CAR100 Pmt - Annual report fee                                2990-000                                   $50.00         $4,749,860.80
04/28/2015                     Law Offices of Mitchell J. Malzberg LLC      Herbert Glatt                                                    *               $3,940.71                              $4,753,801.51
                      {23}                                                                                                  $6,000.00     1221-000                                                  $4,753,801.51
                                                                            Law Offices of Mitchell J. Malzberg LLC        $(2,059.29)    3210-000                                                  $4,753,801.51
04/28/2015                     Law Offices of Mitchell J. Malzberg LLC      Edgewood Properties                                              *               $6,107.00                              $4,759,908.51
                      {23}                                                                                                 $10,000.00     1221-000                                                  $4,759,908.51
                                                                            Law Offices of Mitchell J. Malzberg LLC        $(3,893.00)    3210-000                                                  $4,759,908.51
04/30/2015           254784    Wasserman, Jurista & Stolz, PC               Distribution of T&M Settlement Funds                          3210-000                            $175,000.00           $4,584,908.51
04/30/2015           254785    Mercadien                                    Distribution of T&M Settlement Funds                          3410-000                               $26,231.72         $4,558,676.79
04/30/2015           254786    Brown, Moskowitz & Kallen                    Distribution of T&M Settlement Funds                          3210-000                            $127,429.57           $4,431,247.22
04/30/2015           254787    Partner Engineering and Science, Incorp.     Distribution of Settlement Funds                              8500-002                            $758,911.47           $3,672,335.75
05/18/2015           254792    Public Storage                               Rent-Storage                                                  2410-000                                   $98.44         $3,672,237.31
05/27/2015            (23)     Lower Makefield                              W/D 159973-July 2010 Escrow                                   1221-000            $210.00                               $3,672,447.31
05/27/2015            (23)     Hudson Healthcare Inc.                       Distribution - GUC                                            1221-000            $209.50                               $3,672,656.81
05/27/2015            (44)     LexisNexis                                   12-24-12 payment                                              1290-000            $158.25                               $3,672,815.06
05/27/2015           254793    TSG Reporting, Inc.                          Inv 040215-434977 - court reporting                           2990-000                                  $947.45         $3,671,867.61
06/09/2015           254788    Peter Broege                                 Fee Application                                               3721-000                                 $1,855.00        $3,670,012.61
06/09/2015           254789    Glenn Bergenfield, P.C.                      Fee Application                                               3210-000                               $24,000.00         $3,646,012.61
06/15/2015           254790    Public Storage                               Rent-Storage                                                  2410-000                                  $105.93         $3,645,906.68
07/13/2015                     Law Offices of Mitchell J. Malzberg LLC      T. Fiore Demolition Inc.                                         *               $1,008.83                              $3,646,915.51
                      {23}                                                                                                  $1,491.19     1221-000                                                  $3,646,915.51
                                                                            Law Offices of Mitchell J. Malzberg LLC         $(482.36)     3210-000                                                  $3,646,915.51
07/13/2015           254791    Public Storage                               Rent-Storage                                                  2410-000                                  $105.93         $3,646,809.58
07/14/2015            (18)     Express Scripts Holding Co.(Medco)           Claim Refund                                                  1290-000          $25,139.60                              $3,671,949.18
07/14/2015           254794    InfoStore                                    Rent-Storage - Ch 11 portion per court order                  6920-000                               $23,559.92         $3,648,389.26
07/14/2015           254794    InfoStore                                    Rent-Storage - Ch 7 portion per court order                   2410-000                               $44,538.12         $3,603,851.14

                                                                                                                                         SUBTOTALS          $36,773.89      $1,183,931.99
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                                                                           CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                          13-16743-MBK                                                                                              Trustee Name:                        Edwin H. Stier
 Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                             Bank Name:                           Bank Of America
Primary Taxpayer ID #:             **-***5216                                                                                                Checking Acct #:                    ******9116
Co-Debtor Taxpayer ID #:                                                                                                                     Account Title:                      Operating Account
For Period Beginning:              3/29/2013                                                                                                 Blanket bond (per case limit):       $1,000,000.00
For Period Ending:                 12/3/2021                                                                                                 Separate bond (if applicable):

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   Transaction       Check /                             Paid to/                 Description of Transaction                                  Uniform            Deposit        Disbursement              Balance
      Date            Ref. #                          Received From                                                                          Tran Code             $                 $


07/17/2015           254795    Mercadien                                   Fee application                                                    3410-000                              $221,298.23           $3,382,552.91
07/27/2015           254796    Nagel Rice                                  Retainer                                                           3210-000                                $10,000.00          $3,372,552.91
08/07/2015                     Law Offices of Mitchell J. Malzberg LLC     Twp of Berkley                                                        *               $71,940.31                               $3,444,493.22
                      {23}                                                                                                     $80,000.00     1221-000                                                    $3,444,493.22
                                                                           Law Offices of Mitchell J. Malzberg LLC             $(8,059.69)    3210-000                                                    $3,444,493.22
08/07/2015                     Law Offices of Mitchell J. Malzberg LLC     Twp of Ewing                                                          *               $17,940.71                               $3,462,433.93
                      {23}                                                                                                     $35,000.00     1221-000                                                    $3,462,433.93
                                                                           Law Offices of Mitchell J. Malzberg LLC            $(17,059.29)    3210-000                                                    $3,462,433.93
08/17/2015           254797    Public Storage                              Rent-Storage                                                       2410-000                                   $105.93          $3,462,328.00
09/09/2015            (23)     Township of Stafford                        Remaining deposit returned                                         1221-000             $669.00                                $3,462,997.00
09/14/2015           254798    Public Storage                              Rent-Storage                                                       2410-000                                   $105.93          $3,462,891.07
09/23/2015            (18)     Cigna-CHLIC                                 CMP Claim Refund Closed account refund                             1290-000              $70.15                                $3,462,961.22
10/13/2015           254799    Public Storage                              Rent-Storage                                                       2410-000                                   $105.93          $3,462,855.29
10/28/2015            (22)     Nagel Rice                                  Chubb Group of InsCo. settlement of insured's claim for            1249-000          $300,000.00                               $3,762,855.29
                                                                           loss
10/29/2015           254831    Nagel Rice                                  Per settlement agreement, contingency fee                             *                                    $76,705.21          $3,686,150.08
                                                                           Nagel Rice                                         $(15,703.87)    3210-000                                                    $3,686,150.08
                                                                           Nagel Rice                                         $(61,001.34)    3210-000                                                    $3,686,150.08
10/30/2015            (18)     Cigna-CHLIC                                 account closed-CMP Claim Refund 102215                             1290-000                  $6.10                             $3,686,156.18
11/04/2015       25254834 ADP, Inc.                                        client #73270 inv#462788345 - Payroll services                     2990-000                                     $18.35         $3,686,137.83
11/17/2015           254832    Public Storage                              Rent-Storage                                                       2410-000                                   $105.93          $3,686,031.90
12/14/2015                     Public Storage                              Ck Num: JLP - For CHK 254833 voided on 01/19/2016                  2410-000                                   $211.86          $3,685,820.04
12/14/2015           254833    Public Storage                              VOID: 2 months rent GJE, RGJE created on 01/19/2016                2410-000                                                    $3,685,820.04
12/29/2015                     Signature Operating Acct #9415              Account closed check# 1021259416 issued.                           9999-000                             $3,686,007.65                 ($187.61)
12/31/2015                     Public Storage                              Ck Num: JLPR - Reverse of GJE JLP -- For CHK                       2410-000                                   ($211.86)                 $24.25
                                                                           254833 voided on 01/19/2016
12/31/2015                     Unknown                                     Ck Num: JLP - reverse previous journal entry                       8500-000                                     $24.25                   $0.00




                                                                                                                                             SUBTOTALS          $390,626.27       $3,994,477.41
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                                                                      CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                          13-16743-MBK                                                                                      Trustee Name:                         Edwin H. Stier
Case Name:                        BIRDSALL SERVICES GROUP, INC.                                                                     Bank Name:                            Bank Of America
Primary Taxpayer ID #:            **-***5216                                                                                        Checking Acct #:                      ******9116
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:                        Operating Account
For Period Beginning:             3/29/2013                                                                                         Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                         Separate bond (if applicable):

      1                 2                                3                                           4                                                     5                  6                     7

  Transaction        Check /                          Paid to/               Description of Transaction                              Uniform            Deposit         Disbursement             Balance
     Date             Ref. #                       Received From                                                                    Tran Code             $                  $


                                                                                       TOTALS:                                                       $11,053,558.05       $11,053,558.05                   $0.00
                                                                                           Less: Bank transfers/CDs                                     $348,255.96        $3,686,207.65
                                                                                       Subtotal                                                      $10,705,302.09        $7,367,350.40
                                                                                           Less: Payments to debtors                                          $0.00                $0.00
                                                                                       Net                                                           $10,705,302.09        $7,367,350.40



                     For the period of 3/29/2013 to 12/3/2021                                                    For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                   $10,780,709.33                                Total Compensable Receipts:                            $10,780,709.33
                     Total Non-Compensable Receipts:                        $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                 $10,780,709.33                                Total Comp/Non Comp Receipts:                          $10,780,709.33
                     Total Internal/Transfer Receipts:                $348,255.96                                Total Internal/Transfer Receipts:                         $348,255.96


                     Total Compensable Disbursements:               $6,532,580.69                                Total Compensable Disbursements:                        $6,532,580.69
                     Total Non-Compensable Disbursements:             $910,176.95                                Total Non-Compensable Disbursements:                      $910,176.95
                     Total Comp/Non Comp Disbursements:             $7,442,757.64                                Total Comp/Non Comp Disbursements:                      $7,442,757.64
                     Total Internal/Transfer Disbursements:         $3,686,207.65                                Total Internal/Transfer Disbursements:                  $3,686,207.65
                                      Case 13-16743-MBK            Doc 1222 Filed 12/10/21
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                                     Trustee Name:                         Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                    Bank Name:                            RFH Bank
Primary Taxpayer ID #:            **-***5216                                                                                       Certificate of Deposits Acct #:       ******CD
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:
For Period Beginning:             3/29/2013                                                                                        Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                        Separate bond (if applicable):

       1                2                                3                                          4                                                    5                   6                    7

   Transaction       Check /                          Paid to/              Description of Transaction                              Uniform           Deposit          Disbursement            Balance
      Date            Ref. #                       Received From                                                                   Tran Code            $                   $


08/01/2013            (3)      Balance from Chapter 11 account                                                                      1290-000        $121,695.49                                  $121,695.49
08/22/2013            (43)     Rumson Fair-Haven Bank                Ck Num: MPC 14 - Interest Income                               1270-000              $74.37                                 $121,769.86
08/22/2013                     Operating Account - BSG 9116          Funds Transfer                                                 9999-000                                $121,769.86                  $0.00

                                                                                      TOTALS:                                                        $121,769.86            $121,769.86                  $0.00
                                                                                          Less: Bank transfers/CDs                                         $0.00            $121,769.86
                                                                                      Subtotal                                                       $121,769.86                  $0.00
                                                                                          Less: Payments to debtors                                        $0.00                  $0.00
                                                                                      Net                                                            $121,769.86                  $0.00



                     For the period of 3/29/2013 to 12/3/2021                                                   For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                     $121,769.86                                Total Compensable Receipts:                               $121,769.86
                     Total Non-Compensable Receipts:                       $0.00                                Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                   $121,769.86                                Total Comp/Non Comp Receipts:                             $121,769.86
                     Total Internal/Transfer Receipts:                     $0.00                                Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                      $0.00                                Total Compensable Disbursements:                                $0.00
                     Total Non-Compensable Disbursements:                  $0.00                                Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                    $0.00                                Total Comp/Non Comp Disbursements:                              $0.00
                     Total Internal/Transfer Disbursements:          $121,769.86                                Total Internal/Transfer Disbursements:                    $121,769.86
                                      Case 13-16743-MBK            Doc 1222 Filed 12/10/21
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         13-16743-MBK                                                                                         Trustee Name:                         Edwin H. Stier
 Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                        Bank Name:                            Investors Savings Bank
Primary Taxpayer ID #:            **-***5216                                                                                           Money Market Acct #:                  ******MM
Co-Debtor Taxpayer ID #:                                                                                                               Account Title:                        Investors Savings Bank - MM
For Period Beginning:             3/29/2013                                                                                            Blanket bond (per case limit):        $1,000,000.00
For Period Ending:                12/3/2021                                                                                            Separate bond (if applicable):

       1                2                                 3                                             4                                                    5                   6                      7

   Transaction       Check /                          Paid to/                  Description of Transaction                              Uniform           Deposit          Disbursement               Balance
      Date            Ref. #                       Received From                                                                       Tran Code            $                   $


08/01/2013            (1)      Balance form Chapter 11 account                                                                          1290-010        $301,486.10                                    $301,486.10
08/20/2013                     Operating Account - BSG 9116          Funds Transfer                                                     9999-000                                $226,486.10             $75,000.00
08/31/2013            (43)     Investors Savings Bank                Interest                                                           1270-000              $35.58                                    $75,035.58
08/31/2013                     Investors Savings Bank                Service Charge                                                     2990-000                                     $35.00             $75,000.58
09/30/2013            (43)     Investors Savings Bank                Interest                                                           1270-000              $12.29                                    $75,012.87
10/31/2013            (43)     Investors Savings Bank                Interest                                                           1270-000              $12.92                                    $75,025.79
11/30/2013            (43)     Investors Savings Bank                Interest                                                           1270-000              $12.51                                    $75,038.30
12/31/2013            (43)     Investors Savings Bank                Interest                                                           1270-000              $12.92                                    $75,051.22
01/31/2014            (43)     Investors Savings Bank                Interest                                                           1270-000              $12.93                                    $75,064.15
09/04/2019            (43)     Investors Bank                                                                                           1270-000             $698.46                                    $75,762.61
09/04/2019                     Transfer To: #******9415              Account closed                                                     9999-000                                 $75,762.61                     $0.00

                                                                                          TOTALS:                                                        $302,283.71            $302,283.71                     $0.00
                                                                                              Less: Bank transfers/CDs                                         $0.00            $302,248.71
                                                                                          Subtotal                                                       $302,283.71                 $35.00
                                                                                              Less: Payments to debtors                                        $0.00                  $0.00
                                                                                          Net                                                            $302,283.71                 $35.00



                     For the period of 3/29/2013 to 12/3/2021                                                       For the entire history of the account between 06/07/2016 to 12/3/2021

                     Total Compensable Receipts:                     $302,283.71                                    Total Compensable Receipts:                               $302,283.71
                     Total Non-Compensable Receipts:                       $0.00                                    Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                   $302,283.71                                    Total Comp/Non Comp Receipts:                             $302,283.71
                     Total Internal/Transfer Receipts:                     $0.00                                    Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:                     $35.00                                    Total Compensable Disbursements:                               $35.00
                     Total Non-Compensable Disbursements:                  $0.00                                    Total Non-Compensable Disbursements:                            $0.00
                     Total Comp/Non Comp Disbursements:                   $35.00                                    Total Comp/Non Comp Disbursements:                             $35.00
                     Total Internal/Transfer Disbursements:          $302,248.71                                    Total Internal/Transfer Disbursements:                    $302,248.71
                                     Case 13-16743-MBK            Doc 1222 Filed 12/10/21
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                                                                     CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         13-16743-MBK                                                                                  Trustee Name:                         Edwin H. Stier
Case Name:                       BIRDSALL SERVICES GROUP, INC.                                                                 Bank Name:                            Investors Savings Bank
Primary Taxpayer ID #:           **-***5216                                                                                    Money Market Acct #:                  ******MM
Co-Debtor Taxpayer ID #:                                                                                                       Account Title:                        Investors Savings Bank - MM
For Period Beginning:            3/29/2013                                                                                     Blanket bond (per case limit):        $1,000,000.00
For Period Ending:               12/3/2021                                                                                     Separate bond (if applicable):

      1                 2                                3                                         4                                                 5                   6                      7

  Transaction        Check /                         Paid to/              Description of Transaction                           Uniform           Deposit          Disbursement               Balance
     Date             Ref. #                      Received From                                                                Tran Code            $                   $




                                                                                                                                                                             NET                ACCOUNT
                                                                                     TOTAL - ALL ACCOUNTS                               NET DEPOSITS                    DISBURSE               BALANCES

                                                                                                                                            $12,872,101.51         $12,872,101.51                       $0.00




                     For the period of 3/29/2013 to 12/3/2021                                               For the entire history of the case between 08/14/2013 to 12/3/2021

                     Total Compensable Receipts:                  $12,947,508.75                            Total Compensable Receipts:                            $12,947,508.75
                     Total Non-Compensable Receipts:                       $0.00                            Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                $12,947,508.75                            Total Comp/Non Comp Receipts:                          $12,947,508.75
                     Total Internal/Transfer Receipts:             $4,891,809.31                            Total Internal/Transfer Receipts:                       $4,891,809.31


                     Total Compensable Disbursements:             $12,033,574.25                            Total Compensable Disbursements:                       $12,033,574.25
                     Total Non-Compensable Disbursements:            $913,934.50                            Total Non-Compensable Disbursements:                      $913,934.50
                     Total Comp/Non Comp Disbursements:           $12,947,508.75                            Total Comp/Non Comp Disbursements:                     $12,947,508.75
                     Total Internal/Transfer Disbursements:        $4,891,809.31                            Total Internal/Transfer Disbursements:                  $4,891,809.31




                                                                                                                            /s/ EDWIN H. STIER
                                                                                                                            EDWIN H. STIER
